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         EXHIBIT 3
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November 10, 2021



Via Hand Delivery

Dr. Jane Gates
Connecticut State Colleges & Universities
61 Woodland Street
Hartford, CT 06105

Dear Dr. Gates,
       My employment with CSCU should not be terminated for cause.
        The question before you is limited to whether CSCU has demonstrated that I engaged in
conduct which satisfies the stringent requirements set forth in the HR Manual for terminating my
employment for cause. CSCU, which has the burden of proving that I engaged in conduct which
meets the criteria for termination for cause, has failed to sustain its burden. In fact, CSCU has
not only failed to demonstrate that I committed misconduct justifying termination for cause, but
the position statement shared by CSCU on October 26, 2021 entitled “Employer’s Reasons for
Terminating Dr. Nicole Esposito’s Employment” (hereinafter “Position Statement”) actually
represents more proof that CSCU is attempting to terminate my employment for unlawful and
retaliatory reasons. While it is not your role to decide whether CSCU is engaging in unlawful
discrimination or retaliation, it is important that you understand that CSCU is requesting that you
decide to terminate my employment for unlawful reasons. Furthermore, evidence that CSCU is
unlawfully retaliating against me undermines CSCU’s claim that I engaged in any conduct which
warrants my immediate termination for cause.
       1. Positive Performance as Campus CEO
        Before addressing each of the alleged reasons identified by CSCU in its Position
Statement, it is appropriate to recognize some of the positive accomplishments that I achieved in
just one year as Campus CEO of MCC which refute the claim that there is a basis to terminate
my employment for cause. While this is not an exhaustive list or accounting of my positive
performance and accomplishments, this information helps to demonstrates that I performed my
job well under difficult circumstances and should not be terminated for cause.
        When I started in my role in July 2020 as the new CEO of MCC, I faced a significant
budget crisis, steep enrollment declines, vacant leadership positions (or folks brand new to their
positions, with the exception of Jim McDowell) a state-wide hiring freeze, a global pandemic,
poor campus morale, and a very disorganized and controversial consolidation of the CT
Community Colleges. In addition, MCC was up for a 10-year re-accreditation visit from NECHE
set for April 2022. This is something that typically takes years to develop and write in
preparation for the NECHE visit. However, upon my arrival at MCC, I learned that a significant
amount of work still needed to be accomplished to prepare for our 10-year self-study and re-



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accreditation. I was tasked with pulling together teams and to motivate the NECHE leads, and
workgroups, to accomplish an enormous amount of work in a very short window of time. I met
with the NECHE leads every two weeks to monitor progress and, to my knowledge, we were on
track to have an initial draft of the 10-year self-study by late summer/early fall. However, I was
suspended from my CEO position just prior to the draft being completed and I have not seen the
draft self-study report.
       I am not aware of any other CEO/President before me that faced all of these challenges,
especially at the same time. However, in my first year, I was able to deliver a balanced budget,
successfully pivoted the college to remote operations, made some improvements in morale,
kicked-off and made significant progress with our 10-year self-study, successfully handled
various crises (such as the student tragedy before graduation), developed strong internal and
external relationships, improved the working relationship with the MCC Foundation, improved
processes in the Advancement office, hired new leadership, focused efforts on Diversity, Equity
and Inclusion, successfully managed the institution during a global pandemic, and was
recognized in CT Magazine, in addition to other accomplishments.
        In my first year as CEO, I helped to deliver a balanced budget for MCC. As CSCU’s
own finance documents show, MCC’s budgetary performance was more positive than any other
college in the system for the 2020-2021 academic year. The document attached as Exhibit 1,
which was presented at a June 2021 BoR meeting, shows that MCC had more than a balanced
budget for my first year as Campus CEO. In contrast, other community colleges in the system
had budget deficits of millions of dollars for the same time period. Some examples of how I
focused on balancing the budget (for both current and future fiscal years) include: (1) tasking the
Interim Dean of AA and SA with reviewing every faculty course release, chair release, overload
etc., which had impact on our part-time lecturer budget as well; and (2) holding back certain
vacancies when folks retired and, when able, would add job duties to existing positions that
supported enrollment efforts and did not require hiring a new position.
         I also helped to improve campus communication, transparency, and morale. This is
evident by reviewing some of the comments in the climate survey from 2020, and comparing
those comments to the comments from the previous climate survey from 2019. For instance, in
the July 2019 survey, from a time period before I began my tenure as Campus CEO, there were
multiple comments indicating that the morale on campus is low and multiple respondents
claimed that the previous leadership at MCC at the time was “vindictive.” (Esposito – FOI 2 –
10/3/21 – 000429-000438, included in Exhibit 2.) In contrast, in the December 2020 survey
results, after only one semester of my leadership as Campus CEO, there are no comments in the
survey claiming that leadership at MCC was vindictive. Furthermore, multiple respondents
made positive comments about the CEO and initiatives that I instituted, such as chats and coffee
hours. (Esposito –FOI 2 – 10/3/21 – 000397-000428, including in Exhibit 3.)
         I gained support from external stakeholders, including local legislators. This is evidenced
by the public statement released by Representative Luxenburg in June 2021 in opposition to the
initial effort to recommend to the BoR to non-continue my employment. (Exhibit 4.)


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        I developed relationships and strong support from internal constituents. This is reflected
by two supporting petitions (one that was state-wide and the other from MCC faculty and staff),
as well as by the letter sent directly to Terrence Cheng from MCC Academic Senate Chair,
Professor Angelo Messore, the e-mail sent from longstanding MCC CFO Jim McDowell to Alice
Pritchard, and the letter sent to Terrence Cheng by Professor Burcin Calafiore. (Exhibit 5.)
(Esposito FOI 1 – 8/5/21 – 000180, 000188-000189, 000200-000202, 000205-000216, 000222-
000224, Doc. No. 27-2, pp. 44-46, included in Exhibit 5.)
        I initiated, led, and/or supported several events and activities that brought awareness to
issues of Diversity, Equity and Inclusion (among college personnel and the student experience).
This is evidenced by the ATD Capacity Café virtual event where we reviewed the data collected
related to these issues. We held a successful BLM virtual event, I put out a campus-wide survey
to gain anonymous input from faculty and staff, and I launched the CEO Coffee Hours to open
dialogue for the difficult conversations that needed to occur. Additionally, I approved holding a
DEI workshop in lieu of opening day events this fall 2021 and made this mandatory for all
faculty and staff. In November 2020, I asked if we could use a Diversity & Inclusion Awareness
Training (CSCU 10/26/21 Position 000430) and the System Office responded with a different
resource that CSCU already used, and I used that information and developed and advanced the
idea of a DEI workshop in lieu of opening day for fall 2021.
        I worked effectively with the MCC Foundation and was able to raise funds in a virtual
setting. For example, the virtual “Bid to Give” event successfully raised a significant amount of
funds in a few weeks. I also successfully hired a new Dean of Advancement that was tasked
with completing a full audit of Foundation dollars that resulted in the discovery of unused funds
and also the development of new policies and procedures to increase the efficiency of the
advancement office. Some of the unused funds were then utilized as additional financial aid for
students identified as having a tuition balance. I was able to gain immediate approval by the
Foundation board for up to $100,000 for this purpose. I had such a positive working relationship
with the Foundation’s leadership that they were willing to expedite the release of $100,000
without going through full Board approval. This $100,000 was part of more than $800,000 that
I was able to get the Foundation to use for MCC student scholarships. Also, please see the letter
drafted in my support by the President of the MCC Foundation, Peter Grose. This letter of
support is also attached to the BOR minutes. (Exhibit 6.)
        I also motivated, coached, and developed a number of faculty, staff and administrators at
MCC. For example, I selected three tenured faculty to serve as Division Coordinators. This
served two purposes….1) It provided an opportunity for faculty to step into this role to gain
leadership and coordinating experience for succession planning and 2) I did this because faculty
expressed frustration over the lack of leadership at the Division level since previous
administration eliminated the Division Director positions a few years prior to my return to MCC.
        I hired a Female, first-generation Immigrant from Egypt as my Interim Dual Dean of AA
and SA. This created additional diversity within leadership, and was clearly a way to develop
internal faculty and staff. (She was a Dept. Chair at MCC.) I hired this person over objection
from Rob Steinmetz, and she exhibited outstanding performance in her role.

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        I held bi-weekly Leadership meetings and one on one meetings with my Deans on a
regular basis. However, I was in contact with my leadership team as frequently as my schedule
would allow. I was more often in direct contact with my CFO due to the many budget challenges
the college was facing.
        I consistently analyzed and implemented solutions across the campus to identify and
eliminate waste, reduce cost, promote academic excellence, and improve student experience.
Some examples include, the restructuring of Student Affairs at MCC. This was done because the
SA areas were operating in silos that did not enhance communication and efficiency. Bringing
them together under one structure ensured they were collaborating across the departments. This
change also helped to advance the goal of the future one college. I understood that the EMSA
areas would eventually change reporting lines to the system office and would need to work
collaboratively across these specific departments in preparation for the change in reporting lines.
This was part of a larger overall effort to ensure that MCC continued to be aligned with the
future One College and my support for that initiative. Additionally, there was a hiring freeze
across the state so I needed to maximize the efficiency of staff already employed. Another
example of this is when I added, “Outreach” to the job description of an existing employee to
capture more enrollment. This was a cost saving measure, did not require a new hire, increased
focus on pulling in enrollment, and provided the employee with an opportunity to diversify his
experience because his role as “Director of Student Activities” was limited by the pandemic.
         There is also evidence that I am an effective leader with strong interpersonal skills. This
is evident in the support I have gained across the state. It is also evident in the CT Magazine “40
under 40” most influential leaders in the state. I demonstrate a deep commitment to student
access and success. For example, I asked legislators (in my legislative breakfast) to help provide
funding and pass laws that support student mental health needs and wraparound services. I also
held open forums with students and worked with SGA and the honor society for research
proposals and projects to support student interest. One example of this is Zeph Farmby, the BLM
artist the students were working with to purchase artwork for MCC. I successfully gained
agreement from the MCC Foundation to match the money raised by MCC students to show the
support from the college for this initiative. I told the MCC students that I worked with the
Foundation to match the money that the students raised on their own to provide additional
motivation and incentive to the students.
        I am a critical thinker, have the ability to understand complex processes, and I am clearly
willing to ask the tough questions. For example, I asked about the SLA agreements and offered
ways to improve them, I asked about the future use of Federal Financial Aid money and how a
non-accredited future college would receive federal funding prior to being accredited. In
preparation for the submission of the substantive change proposal, I also brought attention to the
potential challenges we could face with NECHE accreditation. Specifically, I suggested some
areas of improvement related to NECHE standard 3 and brought attention to potential concerns
with Standard 7. I also asked about the use of Federal COVID relief funding and ensuring that
the money was properly used. For example, I expressed concern about using the COVID money
to fund the Guided Pathways consolidation initiative. My understanding was the federal money


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could not be used for supplanting and the Guided Pathways initiative was planned out long
before COVID. Therefore, using the money for this purpose could be viewed as supplanting. I
also questioned the use of the COVID money for construction/renovation and hiring personnel
that would remain on our payroll. I learned that I was correct; COVID money could NOT be
used for construction/renovations (the system office did originally intend to use some of the
money for this reason).
        I have significant experience in a highly unionized environment and have worked very
effectively with union representatives. Meg Finley is an example of this. I also know the CBA
very well and have even made suggestions to Andy Kripp along the way to avoid violating the
CBA. One example is when I recommended to Andy Kripp that he avoid using the word
“closed” in his email communication to the faculty and staff regarding snow day closures
because the CBA has very clear expectation when administration used the word “closed.” I
recommended that if he intended to ask folks to telework, then he should consider using the
phrase “shift to remote operations”. He was very condescending when he responded to my
suggestion in an open meeting. He stated something to effect of, Nicole, you don’t need to worry
about the Unions. I will handle the unions, ok?---- However, my understanding is that the union
objected. Following the union’s objection, Andy Kripp changed the language and avoided using
the word “closed.” He ultimately did shift to using “remote operations.”
        I have proven myself as having high ethical standards, and have a strong ability to gain
agreement on necessary change. I have a long history of supporting the system prior to serving
at the CEO of MCC. The most compelling evidence of this is my service as the FIRC
representative. I served as the elected FIRC (Framework and Implementation Review
Committee) This committee was charged with aligning the curriculum across every community
college in the state and then overseeing the TAP process (Transfer and Articulation Program) so
students could seamlessly transfer from a 2-year to a 4-year college in the state. This was a major
step in the consolidation process and a very controversial position to hold. I was one of the
longest standing members of this committee as a faculty member. This position was met with so
much adversity that many decided to remove themselves from the committee. However, I
ensured this was successful at MCC.
       Some other notable examples of my accomplishments include:

              I pulled together the Accessibility and Inclusion Think Tank and immediately
               began implementing the suggestions they offered to improve inclusivity on
               campus;
              I helped the institution shift to remote operations due to the pandemic and worked
               with my Dean of Administration to develop a COVID re-opening plan;
              I developed an innovative way to hold commencement this year that incorporated
               a variety of on campus and virtual events. This was very well received and I
               developed and managed the project from concept to completion. This was also
               accomplished at no additional cost to the college because I effectively utilized
               internal resources and talent.


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              At the very end of the year our community suffered a significant tragedy. One of
               our candidates for graduation went missing and her body was found only a few
               weeks before graduation. It was determined that she was murdered. This event
               deeply impacted our MCC, and larger, community. I took the initiative to meet
               with her family privately. I then held a private evening ceremony that allowed
               Jessica Edwards sister to receive her degree on her behalf. The event was
               recorded (with family permission) and the recorded ceremony was added to the
               commencement video, along with additional photos submitted by her family, to
               honor her academic achievement. I also attended her services to show support
               from the MCC community.
              Placed emphasis on enrollment initiatives.

       2. CSCU Never Moved To Discipline for Cause Until After Federal Court Lawsuit
        In the original version of the agreement presented to me by CSCU in June 2021, I would
not be terminated for cause. Rather, CSCU was offering me a different job regarding an
important mental health initiative intended to directly help students. (June 2021 stipulated
agreement, Exhibit 7.) Before the alternative position was offered to me, Andrew Kripp
acknowledged that they were discussing a role that he thought would be “potentially actually
valuable.” (Esposito FOI 1 – 8/5/21 – 000167-000173, Exhibit 8.) On June 17, 2021, Ernestine
Weaver informed me that I needed to notify her by June 23, 2021, four business days later, if I
would be accepting their proposed agreement. On June 21, 2021, Rob Steinmetz shared a
communications plan with Kathleen Czarnota which outlined various scenarios – depending on
whether I signed the agreement or failed to sign. (Esposito FOI 1 – 8/5/21 – 000185 – 000187,
included in Exhibit 9.) As of June 21, 2021, even if I failed to sign the agreement, Rob
Steinmetz indicated that the communication to the MCC community may still include language
about an ongoing position at the system office. (Esposito FOI 1 – 8/5/21 – 000187, included in
Exhibit 9.)
        On August 18, 2021, Andrew Kripp presented me with another proposed agreement
under which CSCU would continue my employment for another year, until August 2022,
working on special projects under the direction of Alice Pritchard. In Andrew Kripp’s cover e-
mail on August 18, 2021, he communicated that if I did not sign the proposed agreement, CSCU
would move to non-continue my employment as previously communicated. (August 18, 2021 e-
mail from Kripp, CSCU 10/26/21 Position 00035-00036, included as Exhibit 10.) Therefore,
even as of August 18, 2021, CSCU did not intend to terminate my employment for cause.
        On August 24, 2021, CSCU suspended me when I failed to sign CSCU’s illegal and
retaliatory release agreement by the deadline. (See September 16, 2021 memo of law in support
of preliminary injunction previously provided to you.)
        On August 27, 2021, three days after CSCU suspended me, I filed my lawsuit in federal
court and requested a hearing under Article 8.5 of the CSCU HR Manual relating to my
suspension.


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       On September 16, 2021, I filed my motion for preliminary injunction in federal court.
        The next day, September 17, 2021, CSCU notified me for the first time that it was
attempting to terminate my employment for cause, but it failed to specify the factual basis for the
allegations against me.
        It was not until October 26, 2021 that CSCU provided additional details regarding its
claims against me. However, as this response demonstrates, CSCU is desperately trying to
distort and mischaracterize issues in order to claim that events which occurred months (and in
some cases more than a year) ago now constitute cause to terminate my employment when
CSCU never claimed that those actions constituted misconduct at the time, and CSCU never
claimed that those actions constituted misconduct warranting termination for cause before I filed
my federal court lawsuit.
         The fact that CSCU never considered any of these issues as a basis to terminate my
employment for cause before I filed my federal court lawsuit demonstrates that my conduct did
not actually satisfy the criteria for immediate termination for cause in the HR Manual. If my
conduct met the requirements for a termination for cause under the HR Manual, then presumably
CSCU would have attempted to discipline me for my actions when they occurred. CSCU’s
failure to act as though my conduct warranted discipline for cause when the events transpired,
when there was no federal lawsuit pending, reveals that none of my actions actually warranted
termination for cause.
       3.      Discussions to non-continue appointment as CEO in June 2021
        In their Position Statement, CSCU asserts that “[d]iscussions to end the employment
relationship were fully underway in June 2021,” and cited to CSCU’s Exhibit B. (Esposito
Discipline Position Statement 1.) However, none of those discussions included as part of Exhibit
B demonstrate that I engaged in any misconduct which satisfies the requirements to terminate my
employment for cause under the HR Manual. Instead, the communications included in Exhibit B
support the opposite conclusion.
        Those e-mails included as part of CSCU’s Exhibit B (attached hereto as CSCU 10/26/21
Position 00012 – CSCU 10/26/21 Position 00042), demonstrate that there was no discussion by
CSCU of terminating my employment for cause before I filed my federal court lawsuit. Instead,
Rob Steinmetz and Alice Pritchard were recommending that the Board of Regents non-continue
my appointment as Campus CEO without cause, and CSCU intended to continue my
employment in another position. Since only the Board of Regents has the authority to non-
continue my appointment as Campus CEO at the end of my term under Article 8.1 of the HR
Manual, Rob Steinmetz, Alice Pritchard, and Andrew Kripp, could only make a recommendation
to the Board of Regents. To my knowledge, the Board of Regents, the only entity which had the
authority to non-continue my appointment as Campus CEO at the end of my term on June 30,
2021, did not take any action against me in June 2021.
       The e-mails included as part of CSCU’s Exhibit B (attached hereto as CSCU 10/26/21
Position 00012 – CSCU 10/26/21 Position 00042), also demonstrate that CSCU was offering me

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other employment for another year regarding a mental health initiative for students, which is an
incredibly important issue. Presumably, if CSCU actually believed that I had engaged in
misconduct warranting immediate termination for cause under the HR Manual, it would not have
been offering me continued employment for at least another year on such an important issue as
the mental health of our students.
         When Rob Steinmetz and Ernestine Weaver met with me on June 17, 2021, they also did
not communicate to me that CSCU was recommending that the Board of Regents non-continue
my appointment as Campus CEO because of any deficiencies in my performance. Presumably,
if I had engaged in misconduct warranting termination for cause, CSCU would have acted as if I
had engaged in such misconduct, notified me that I had engaged in misconduct, and attempted to
discipline me for engaging in misconduct - - instead of offering me continued employment for at
least another year addressing an important issue impacting the health of our students. Also,
because they had no basis to terminate my employment for cause, CSCU tried to pressure me
into accepting their agreement in June 2021 to voluntarily resign against my wishes.
       It is also appropriate to understand that CSCU’s attempted action against me in June 2021
represented CSCU’s first opportunity to follow through on the threat that Rob Steinmetz
previously communicated to me in July 2020 when I objected to his sexist and discriminatory
comments. In July 2020, I complained directly to Rob Steinmetz when he made sexist
comments about me and another woman. Steinmetz responded immediately by threatening my
continued employment and telling me that I would not last. I then complained to Alice Pritchard
about Rob Steinmetz’s sexist comments, and the fact that he was treating me differently than
male Campus CEO’s who reported to him. I previously provided you with documentation
regarding those issues, including the affidavits that I signed under oath for filing in federal court
and with the CHRO. Rob Steinmetz, Alice Pritchard, and CSCU only waited until June 2021 to
carry out the threat that Steinmetz conveyed in July 2020 because of necessity. The first year of
my term as Campus CEO ended on June 30, 2021. Since CSCU had no basis to terminate my
employment for cause before the end of my term, they moved to non-continue my employment
without cause in June 2021 at their first opportunity to do so.
       4.      Findings of Investigation Do Not Demonstrate Cause for Termination
        In their Position Statement, CSCU also references the investigation which concluded on
August 15, 2021 and claims that it “did not substantiate any of her allegations.” (Esposito
Discipline Position Statement 1.) I have previously provided you with correspondence from my
attorney dated August 24, 2021, which outlined the numerous deficiencies in that investigation
report. Importantly, even though my attorney’s August 24, 2021 letter offered to provide
additional information to demonstrate the numerous deficiencies in the investigation report,
including additional evidence of discrimination and retaliation that the investigator apparently
did not rely upon, CSCU never responded to that offer and never demonstrated any interest in
receiving any of the additional information that my attorney expressed a willingness to share in
the August 24, 2021 letter. By not responding to my attorney’s August 24, 2021 letter, and then
continuing to take additional disciplinary and retaliatory actions against me following August 24,


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2021, CSCU demonstrated that they had no interest in receiving any additional information
which would show discrimination or retaliation by CSCU’s leadership.
      Regardless, nothing in the investigation report demonstrates that I engaged in any
conduct which warrants immediate termination for cause.
       5.      Suspension on August 24, 2021 in violation of HR Manual
        In their Position Statement, CSCU stated that I was placed on administrative leave with
pay effective August 24, 2021 and CSCU claims that “Administrative leave is allowable under
Article 8.4 of the Connecticut State Colleges and Universities Human Resources Policies for
Management & Confidential Professional Personnel (“HR Manual”) attached hereto as Exhibit
D.” (Esposito Discipline Position Statement 1.)
        Article 8.4 of the HR Manual addresses “Suspension,” not “Administrative leave.”
Article 8.4 of the HR Manual, which is what CSCU invoked as the authority for the action taken
against me on August 24, 2021, does not grant CSCU the authority to place an employee on
administrative leave, indefinitely, and without any due process. In fact, it is my understanding
that when Mary Ellen Jukoski expressed concerns to you about retaliation and discrimination by
Rob Steinmetz and requested that CSCU place Rob Steinmetz on administrative leave during the
pendency of the investigation, you responded to Mary Ellen with words to the effect that “we
don’t just put people on administrative leave.”
         When CSCU suspended me on August 24, 2021, they did so without providing me with
any notice or due process and in violation of Article 8.2, 8.4, and 8.5 of the HR Manual. When
Andrew Kripp called me on August 24, 2021 and indicated that I was being placed on
administrative leave and communicated that I was being placed under certain restrictions, he did
not provide me with any explanation for why those actions were being taken other than the fact
that I did not sign CSCU’s proposed agreement by the deadline of 12:00 noon on August 24,
2021. Suspending me, or placing me on administrative leave, because I refused to sign away my
rights to file claims of discrimination and retaliation in federal court and with the EEOC and
CHRO, is illegal. (See September 16, 2021 motion for preliminary injunction and supporting
legal memorandum and supporting exhibits.) On August 27, 2021, I filed an appeal of my
suspension to the Board of Regents under Article 8.5, but the Chair of the Board of Regents
failed to appoint a committee of three to hear my appeal, and the committee of three failed to
hold a hearing on my appeal within 30 days. There is no authority under Article 8 of the HR
Manual for CSCU to suspend a Campus CEO, indefinitely, without due process, and while
refusing to give the Campus CEO a hearing to challenge the suspension within 30 days of the
appeal. Article 8.2 of the HR Manual defines suspension as a form of discipline and mandates
that no form of discipline, including suspension, shall be imposed except for cause. Article 8.5
requires that its processes be followed for all forms of discipline as defined by Article 8.2, which
includes suspensions.
        As my attorney explained in the attached letter dated October 28, 2021, CSCU is
violating the HR Manual by suspending me indefinitely and without due process. (October 28,
2021 letter, attached as Exhibit 11.) CSCU’s blatant violation of my rights under the HR

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Manual provides additional support for the conclusion that I am being subjected to retaliation
and that CSCU’s current claims that I should be terminated for cause, made for the first time
after I filed my federal lawsuit, should be rejected.
       6.      Alleged Poor Performance Does not Demonstrate Cause for Termination
         In their Position Statement, CSCU claims that “Over the course of her employment, Dr.
Esposito’s performance has been unacceptable, as evidenced by the attached exhibits.” (Esposito
Discipline Position Statement 2.) This statement is not accurate or supported by the exhibits that
CSCU has offered. In addition, “poor performance” is not a basis for termination for cause as
defined in the HR Manual. Each of the reasons identified by CSCU in the Position Statement
with any specificity will be rebutted in this response. Through the responses to the specific
examples identified in CSCU’s Position Statement, I will show that my performance was not
unacceptable or poor. But, in addition to the specific explanations provided for each issue, the
fact that CSCU never claimed that any of these examples constituted a basis to terminate my
employment for cause until after I filed my federal court lawsuit, and the fact that CSCU was
willing to continue my employment for at least another year under the agreements that they
proposed to me in June 2021 and August 2021 before I filed my federal court lawsuit confirms
that I did not actually engage in any misconduct satisfying the definition of cause.
         In their Position Statement, CSCU charges in a summary fashion and without specifics or
citation to examples or evidence that “Dr. Esposito has been offensive toward her superior,
insubordinate, and has engaged in activity detrimental to the Board of Regents for Higher
Education.” (Esposito Discipline Position Statement 2.) Despite the serious nature of the
allegations, CSCU does not provide any specific examples or cite to any evidence to support that
sentence. Even though CSCU failed to provide any specific examples or evidence to support that
particular sentence, it is still important to remember that CSCU never made these allegations
until after I filed my federal court lawsuit and these allegations are inconsistent with CSCU
offering me continued employment for at least another year in both June 2021 and August 2021.
If I had actually engaged in serious misconduct satisfying the definition of cause in the HR
Manual, and engaged in offensive behavior towards my superior, insubordination, and activity
detrimental to the Board of Regents, CSCU would presumably have not offered me other
employment for at least another year in both June 2021 and August 2021 and CSCU would have
disciplined me at the time that I engaged in serious misconduct.
        In June 2021 and August 2021, CSCU was willing to continue employing me for at least
another year and not subject me to any discipline if I agreed to not file claims against CSCU in
court and agreed to not file claims with the CHRO and EEOC. After I filed my lawsuit in federal
court and filed claims with the CHRO and EEOC, CSCU acted for the first time to terminate my
employment for cause, contrary to their previous offers to continue my employment for at least
another year. CSCU’s actions represent obvious acts of retaliation and they would not be
moving to terminate me for cause if I agreed to not file claims in federal court and with the
CHRO and EEOC.




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       7.      I Have Not Failed to be Supportive of the Merger
        In their Position Statement, CSCU falsely asserts that I have “consistently failed to be
supportive of the CT State Community College Merger. See, for example. Exhibit E.”
(Esposito Discipline Position Statement 2.) The documents cited by CSCU in Exhibit E,
attached hereto as CSCU 10/26/21 Position 000102 – 000107, certainly do not show that I have
consistently failed to be supportive of the merger. In the e-mail chain included as Exhibit E,
Steve Minkler, a male Campus CEO, raises certain issues regarding whether the payments by the
colleges to the shared services budget can be cut because the shared services budget and
expected expenditures are being reduced. (CSCU 10/26/21 Position 000104.) In response to
Steve Minkler’s questions, I wrote that “This makes sense to me as well. I agree that we need to
take a look at the cost of shared services and the impact on the college budgets in general.”
(CSCU 10/26/21 Position 000103.) Indicating that questions raised by another male Campus
CEO make sense and expressing that we should take a look at the cost of shared services and the
impact on the college budgets in general” does not constitute serious misconduct that warrants
immediate termination for cause. Furthermore, this single e-mail does not demonstrate that I
have “consistently” failed to support the merger. This e-mail does not even prove that I was not
supportive of the merger in this particular example, much less that I was “consistently” not
supportive of the merger.
        Following my e-mail, another Campus CEO, Mary Ellen Jukoski, wrote “I also agree,
Steve. I think this along with eliminating the regional structure could significantly reduce cost to
the system.” (CSCU 10/26/21 Position 000103.) In her e-mail, Mary Ellen Jukoski not only
agreed with Steve Minkler’s questions, but she went further than anything that Mr. Minkler or I
wrote and expressed that the system could significantly reduce costs by eliminating the regional
structure. (CSCU 10/26/21 Position 000103.)
       This e-mail chain was shared in May 2021 with CSCU’s senior leaders, including Rob
Steinmetz, Alice Pritchard, and David Levinson. At the time of the e-mails in question, CSCU
never claimed that my comments in this e-mail chain constituted serious misconduct which
warranted immediate termination for cause, and CSCU failed to take any action to discipline me
for my comments in this e-mail at the time. CSCU’s claim that my comments in this e-mail
chain constitute misconduct which warrants termination for cause is absurd on its face.
         After not taking any action against me for my comments in this e-mail chain at the time,
after I filed my federal court lawsuit and filed claims with CHRO and EEOC, CSCU claimed for
the first time that my comments in this e-mail chain warranted my immediate termination for
cause. The timing of CSCU’s use of this e-mail and the absurd claim that my comments in this
e-mail warrant termination for cause expose that CSCU is retaliating against me, but this e-mail
does not support terminating my employment for cause.
        CSCU’s decision to use this e-mail to terminate my employment for cause, while not
attempting to terminate Steve Minkler or Mary Ellen Jukoski for their comments in this e-mail
chain, also reveal that CSCU’s action against me are retaliatory and that my comments in this e-



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mail chain do not constitute evidence supporting a decision to terminate my employment for
cause. Steve Minkler wrote more extensive comments and questions in this e-mail chain than I
did, and I was simply indicating that Mr. Minkler’s comments made sense that we should take a
look at the cost of shared services and the impact on the college budgets in general. Yet CSCU
is only attempting to terminate my employment for cause, and is not attempting to terminate Mr.
Minkler’s employment for cause. Mary Ellen Jukoski not only agreed with Mr. Minkler’s
comments and questions, but she went much further in this e-mail and expressed that eliminating
the regional structure entirely would significantly reduce cost to the system. Yet, CSCU is not
attempting to terminate Mary Ellen Jukoski’s employment; it is only attempting to terminate me
for cause. By treating me differently than other people, CSCU is exposing that I did not actually
engage in misconduct that warrants termination for cause, but that CSCU is simply retaliating
against me.
        The charge that I have consistently failed to be supportive of the merger is not only not
supported by Exhibit E, but it is also false. Dating back to my time as a faculty member at MCC,
I have taken actions that supported the consolidation. As a faculty member, I served as the
elected FIRC (Framework and Implementation Review Committee). This committee was
charged with aligning the curriculum across every community college in the state and then
overseeing the TAP process (Transfer and Articulation Program) so students could seamlessly
transfer from a 2-year to a 4-year college in the state. This was a major step in the consolidation
process and a very controversial position to hold. I was one of the longest standing members of
this committee as a faculty member. This position was met with so much adversity that many
decided to remove themselves from the committee. However, I ensured this was successful at
MCC. As Campus CEO at MCC, I have asked important questions relating to the merger, but I
have done so from the perspective that those questions should be addressed in order to make the
merger successful. Asking important questions so that an initiative can be more successful does
not prove that I have not been supportive of that initiative. I have also requested that I be
permitted to be more involved in issues relating to the merger, which is inconsistent with the
claim that I am have consistently failed to be supportive of the merger. For instance, I have
attached one example of an e-mail that I exchanged with David Levinson when I requested an
opportunity for myself and the other CEOs to be more involved in Students First planning. (E-
mail with Levinson attached as Exhibit 12.)
        In this same paragraph of the Position Statement, CSCU asserts that “Dr. Esposito’s
actions over the course of the past year in support of the merger have been absent.” (Esposito
Discipline Position Statement 2.) CSCU provides no specific examples to support that statement
and also fails to cite to any evidence or exhibits to support that assertion. This statement is not
correct, but it is difficult to respond more specifically without CSCU offering any specifics to
support the allegation against me. That unsupported sentence does not demonstrate that I have
engaged in any misconduct which warrants immediate termination for cause.
        In this same paragraph of the Position Statement, CSCU asserts that “Her approach is
often disruptive and combative as evidenced by many of the attached exhibits.” (Esposito
Discipline Position Statement 2.) But CSCU provides no specific examples to support that




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statement and also fails to cite to any evidence or exhibits to support that assertion. This
statement is not correct, but it is difficult to respond more specifically without CSCU offering
any specifics to support the allegation against me. That unsupported sentence does not
demonstrate that I have engaged in any misconduct which warrants immediate termination for
cause. Other individuals who have experience working with me can also refute this claim. In
fact, I have actually worked consistently to foster collaboration and an inclusive decision-making
process at MCC. To the extent that CSCU falsely characterizes me as “disruptive or combative”
and relies on that false characterization as a basis to fire me for cause when CSCU fails to use
similar characterizations to describe a man in a leadership position who behaved similarly, I
believe that this is further evidence of gender stereotyping and sex discrimination. For instance,
in July 2020, when Rob Steinmetz took issue with my tone and called me off-putting but failed
to take issue with the content of my communications, and objected to me hiring a highly
qualified female candidate in part because she talked too much during her interview, I objected
to his statements and told him that I believed that he was being sexist. Falsely characterizing me
as “combative” and trying to use that false label as a basis to terminate me for cause when CSCU
fails to label and discipline men in leadership positions in that same fashion constitutes further
evidence of sex discrimination.
         CSCU’s contention in that same paragraph that “While Dr. Esposito has been open with
her criticism, she has not been forthcoming with suggestions or solutions to assist in moving the
process forward, something required of a CEO. See, for example, Exhibit G” is also not accurate
and is not even supported by the evidence cited in Exhibit G by CSCU. Exhibit G is a January
26, 2021 e-mail where I stated, “in my humble opinion” and only speaking for myself, that I did
not believe that the draft communication was accurate in its assertion that CEO’s were a part of
developing or creating this plan. I explained that, “in my humble opinion, I do not believe I was
part of developing or creating this plan. I believe we were informed of the plan and offered our
input/feedback about it after it was drafted by the CT State Community College leadership.”
(CSCU 10/26/21 Position 000125.) I also added “with that being said, I will do all I can to help
my campus understand these changes.”
         There is nothing in this e-mail which constitutes misconduct that satisfies the definition
of cause in the HR Manual and which warrants immediate termination. The fact that senior
leadership of CSCU, including Alice Pritchard, David Levinson, Andrew Kripp, and Jane Gates,
all received my e-mail in January 2021 and none of them attempted to discipline me for this e-
mail at the time refutes CSCU’s current claim, made for the first time after I filed my lawsuit,
that this e-mail constitutes misconduct and provides a basis to terminate my employment for
cause.
        CSCU’s claim that my January 26, 2021 e-mail included as Exhibit G constitutes a basis
to terminate my employment for cause is absurd. I wrote my January 26, 2021 e-mail in
response to Alison Buckley’s e-mail which indicated that Ms. Buckley was sharing a draft of the
communication for review and Ms. Buckley specifically expressed that she welcomed my
feedback on all aspects of the draft communication. (CSCU 10/26/21 Position 000125-000126.)
In reviewing the e-mail, I noticed a statement that I believed was not factually accurate and I




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expressed my own personal view that the statement was not factually correct. Yet, I did so in a
way that was still respectful, including by phrasing my comments as “my humble opinion” and
making clear that I was only speaking for myself. Also, importantly, despite my concerns with
the factual accuracy relating to that statement, I still made clear that I would do all I can to help
my campus understand these changes - - which I did.
         CSCU’s contention in this paragraph that I was not “forthcoming with suggestions or
solutions in moving the process forward” is also not supported by Exhibit G. In the January 26,
2021 e-mail included as Exhibit G, I specifically wrote that we “offered our input/feedback about
it after it was drafted by the CT State Community College leadership” and made clear that I
would do all that I could to help my campus understand the changes. I have consistently
communicated a desire to be able to participate in the development of plans for the structure of
the future consolidated Connecticut Community College. One example of this is an e-mail that I
sent to David Levinson expressing a desire for the CEO’s to be able to contribute more to the
Students First planning. (Email correspondence with David Levinson attached as Exhibit 12.)
       8.      CSCU Relies on July 2020 E-mail Opposing Discrimination As Basis to
               Terminate
        In the following paragraph of the Position Statement, CSCU cites the e-mails included as
Exhibit H, which include CSCU 10/26/21 Position 000128 – 000141, as reasons why I should
be terminated for cause. (Esposito Discipline Position Statement 2.) CSCU included in Exhibit
H, and identified as part of its reason for why I should be terminated for cause, my e-mail to
Alice Pritchard on July 18, 2020 in which I expressed objections to sexism by Rob Steinmetz
and complained that Rob Steinmetz was treating me differently than other male CEO’s who
reported to him. (CSCU 10/26/21 Position 000136 – 000139.) In that July 18, 2020 e-mail, I
complained that Rob Steinmetz was acting in ways that belittled and undermined me and that
Rob Steinmetz criticized my “tone” and my “delivery” and that my “delivery is very off-
putting.” I explained that I took issue with his conduct “as a professional woman.” I also
expressed concern with Rob Steinmetz’s opposition to hiring a strong, brilliant, Muslim woman
who had a strong commitment to diversity in part because he was concerned that she “talked
quite a bit and was concerned that she might not be able to pick up on context clues.” (CSCU
10/26/21 Position 000137.) Combined with his repeated comments criticizing my “tone” and my
“delivery” and his opposition to hiring a brilliant qualified woman in part because he felt that she
talked too much during her interview, I felt that he was being sexist and I pointed out in my e-
mail that Rob Steinmetz was not treating Steve Minkler or Duncan Harris that way - - two male
CEOs who reported to Rob Steinmetz. (CSCU 10/26/21 Position 000138.) Complaining about
different treatment compared to other male CEOs who report to Rob Steinmetz is also a
complaint opposing sex discrimination. Amazingly, CSCU included my July 18, 2020 e-mail to
Alice Pritchard opposing sex discrimination by Rob Steinmetz as one of the reasons why it is
seeking to terminate my employment for cause. (CSCU 10/26/21 Position 000136 – 000139.)
This confirms that CSCU attempting to terminate me for retaliatory reasons, and not because I
engaged in misconduct which warrants termination for cause.




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        All of the e-mails included in Exhibit H were sent to either Rob Steinmetz or Alice
Pritchard in June 2020 or July 2020 - - more than a year ago. CSCU never claimed at the time
that any of my communications included as Exhibit H constituted a basis for terminating my
employment for cause at the time that I sent them. CSCU’s current claim that I should be
terminated for cause because of my July 18, 2020 e-mail to Alice Pritchard is also directly
contrary to how Alice Pritchard responded to my e-mail at the time. (CSCU 10/26/21 Position
000140 – 000141.) CSCU did not identify these communications as a reason why it was seeking
to terminate my employment for cause until after I filed my federal court lawsuit and after I filed
complaints of discrimination and retaliation with the CHRO and EEOC.
        CSCU’s characterization of the issue regarding the office space at MCC in its Position
Statement is also a distortion, and it is not supported by the e-mails cited in Exhibit H. For
additional context and understanding, I am sharing some additional information regarding this
issue. After I sent my initial e-mail to Rob Steinmetz in June 2020 regarding the issue, he
indicated that we would discuss the issue at a later date, which we did. We engaged in a
discussion about what his needs/wants were for office space. Based on his requests, my Dean of
Administration and I felt that we had a suite that would accommodate all of his requests and
would require much less moving for other staff (there were two other people that were housed in
the Presidents Suite at the time and technology that would have needed to be moved etc…).
Given pending retirements, campus location, and use of office space, we asked Rob if he and his
team would like to use the suite dedicated to finance. He toured the suite and did not express any
concern about the space. We had it refreshed, repainted, carpets cleaned, signage update was
requested etc… We provided him with a parking space and keys for every member of his
regional team as well. The suite was beautifully updated and Rob never expressed concern about
this new space. We did all of this during the global pandemic and while folks were off campus.
This was not easy, especially since many people were still teleworking. However, we still
accommodated Rob Steinmetz. This history shows that CSCU’s current claim that I should be
terminated for cause relating to this issue is simply ridiculous, and obviously retaliatory.
       9.      I Was Not Insubordinate Relating to Reply All E-mail
        In their Position Statement, CSCU claims that I should be terminated for cause because I
was allegedly “insubordinate” more than a year ago in July 2020 relating to how to handle an e-
mail communication. (Esposito Discipline Position Statement 2-3.) In support of this false
claim, CSCU only provides a single e-mail communication from July 17, 2020, which it attached
as Exhibit I. (CSCU 10/26/21 Position 000142 – 000145.) CSCU’s attempt to terminate me for
cause based on alleged “insubordination” demonstrated by the e-mail communication included as
Exhibit I demonstrates a complete misunderstanding of the e-mail included as Exhibit I and a
lack of understanding of what actually constitutes insubordination. In the example identified by
CSCU in Exhibit I, there was no insubordination because I did not intentionally refuse to obey a
lawful and reasonable direct order from Robert Steinmetz. This fact is evident from the July 17,
2020 e-mail from Robert Steinmetz that CSCU chose to include as part of Exhibit I. (CSCU
10/26/21 Position 000143.) In his July 17, 2020 e-mail to Alice Pritchard, Rob Steinmetz wrote
“I asked Nicole to think about correcting people in private instead of correcting in an all-campus




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e-mail as she did below.” (CSCU 10/26/21 Position 000143.) If Rob Steinmetz “asked” me to
“think about” handling an issue differently, and I did “think about” what he asked, but still
maintained that my approach was correct, then there was no insubordination. CSCU has not
identified any example in which Rob Steinmetz issued me a lawful and reasonable direct order to
handle an issue in a certain way and I intentionally and directly disobeyed his lawful and
reasonable direct order.
        I had valid reasons for maintaining that my original approach to the issue was correct.
There had been issues at MCC with people using reply all to send campus e-mails which
sometimes resulted in conflict and negativity. The head of IT at the time (Barry) sent repeated
emails to remind folks to not “reply all” and if you needed help changing your email settings that
he could assist. As I explained in my July 18, 2020 e-mail to Alice Pritchard, I acted to reinforce
the message from Barry and to avoid any repeated issues resulting from wide broadcast e-mails.
(CSCU 10/26/21 Position 000137 – 000138.) One reason that I replied all was because I was
attempting to reinforce the message to the entire MCC community, and I was not focused on
correcting any individual employee. The employee in question, Charlene Tappan, apologized
and there was no further issue. (CSCU 10/26/21 Position 000138.)
        When Rob Steinmetz spoke to me again about the issue, he once again addressed my
“tone” in a way that I felt was sexist and I spoke up regarding my concerns. As I expressed to
Alice Pritchard regarding that exchange with Rob Steinmetz in July 2020, “I will continue to
remain professional and am happy to accept direction. However, I am beginning to believe that
is not what is happening here. I am told that this is not happening to Steve Minkler or Duncan
Harris. Given Robs comment about my role as the CEO of MCC might not work out, I am now
deeply concerned that he threatened my job. It is true that I spoke up for myself yesterday and I
was clearly offended by his comments. This was not well received by Rob.” (CSCU 10/26/21
Position 000138.) Accordingly, it appears that Rob Steinmetz sent the July 17, 2020 e-mail to
Alice Pritchard that CSCU identified as Exhibit I and claimed was proof of “insubordination”
directly in response to me openly and directly challenging Rob Steinmetz regarding his sexist
comments criticizing my “tone” without any basis. This is just more proof of retaliation and
sexism.
        In addition, contrary to CSCU’s contention in their Position Statement that I
“categorically rejected the guidance” that Rob Steinmetz provided to me, the July 18, 2020 e-
mail that I sent to Alice Pritchard actually includes one example where I followed Rob
Steinmetz’s direction and guidance regarding a personnel decision. In that e-mail to Alice
Pritchard, I wrote “I understand that he feels strongly about being involved in decisions for
MCC. I respected his wishes and have accepted his guidance in the process. For example, when
I brought up the possibility of having Angelo Simoni serve in the role to help me clean up SA,
Rob expressed his concerns stating that he has ‘concerns about Angelo because Angelo has a
reputation for being too harsh with employees and he doesn’t think that he would be a good fit.’
I know Rob has more experience with Angelo so I listened and took his guidance.” (CSCU
10/26/21 Position 000137.)




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        There is simply no factual basis to the charge that I engaged in insubordination. The
claims made by CSCU in support of that claim are without any factual support, and also shows
an obvious misunderstanding of what actually constitutes insubordination. CSCU has not
demonstrated that I engaged in any misconduct which warrants the immediate termination of my
employment for cause under the HR Manual. Neither Rob Steinmetz nor Alice Pritchard
attempted to terminate my employment for cause in July 2020 when the incident now relied upon
by CSCU occurred. Instead, CSCU is only seeking to terminate my employment for cause based
on this issue more than a year later after I filed my federal court lawsuit and filed complaints of
discrimination and retaliation with the CHRO and EEOC. It is obvious that this example does
not meet the high standard for a termination for cause under the HR Manual.
       10.     Leadership Coach Does Not Demonstrate Cause for Termination
        In their Position Statement, CSCU asserts that I and other CEOs were provided with an
independent leadership coach but that my performance “continued to be unacceptable despite
this additional coaching support.” (Esposito Discipline Position Statement 3.) In support of that
claim, CSCU cites to Exhibit J. (CSCU 10/26/21 Position 000146 – 000151.) However, the e-
mails provided as part of Exhibit J do not contain any evidence that my performance was
unacceptable. This issue does not provide any support for the conclusion that I engaged in any
conduct which satisfies the definition of a termination for cause under the HR Manual.
         However, since CSCU invoked the leadership coach, you should have some knowledge
regarding what the leadership coach retained by CSCU actually communicated to me regarding
Rob Steinmetz during our coaching sessions. The coach at Giombetti Associates with whom I
met made strongly negative statements to me about Rob Steinmetz. The coach from Giombetti
Associates acknowledged that I was clearly being bullied and that Rob Steinmetz needed to
reflect on his own behavior but that he lacks the ability to do so. The coach from Giombetti
Associates also shared with me that Rob Steinmetz requested to have his own personality
assessment completed. However, when the coach attempted to review the assessment with Rob
Steinmetz, he realized that he would not get anywhere with Rob so he asked his consulting
partner to work with Rob instead. In my last session with the coach from Giombetti Associates,
he indicated that he would be willing to give me a recommendation for a position at another
institution. There is absolutely nothing about my discussions with the coach from Giombetti
Associates which supports the conclusion that I engaged in any misconduct which would support
a decision to terminate my employment for cause under the HR Manual.
       11.     CSCU Retaliation Because I Communicated Concerns and Raised Questions
               Regarding Legality of Federal Financial Aid Issues
       CSCU is also retaliating against me in violation of federal and state law by seeking to
terminate my employment because I communicated reasonable concerns, and raised questions,
regarding whether CSCU was doing something illegal relating to federal financial aid issues.
(Esposito Discipline Position Statement 3-4.)
     Federal law, including 41 U.S.C. 4712, prohibits recipients of federal funds, such as
CSCU and the Board of Regents, from discriminating or retaliating against me because I



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disclosed information that I reasonably believe is evidence of gross mismanagement of a Federal
contract or grant, a gross waste of Federal funds, an abuse of authority relating to a Federal
contract or grant, a substantial and specific danger to public health or safety, or a violation of
law, rule, or regulation related to a Federal contract (including the competition for or negotiation
of a contract) or grant” to “a management official or other employee of the contractor,
subcontractor, grantee, or subgrantee who has the responsibility to investigate, discover, or
address misconduct.” The Office of the Inspector General for the U.S. Department of Education
confirms that the protections of 41 U.S.C. 4712 apply to recipients of federal funds from the
Department of Education. https://www2.ed.gov/about/offices/list/oig/hotlinewbnonfed.html
        Connecticut law, including Section 4-61dd, makes it illegal for CSCU to retaliate against
me because I raise concerns relating to various issues, including compliance with laws, unethical
practices, abuse of authority, and mismanagement. That Connecticut law empowers me to
provide information to the Auditors of Public Accounts, and also prohibits state officers and
employees from retaliating against me because I have disclosed any information covered by the
law to any employee of the state agency where I am employed. Connecticut statute 31-51m also
prohibits CSCU from retaliating against me because I have reported a violation or a suspected
violation of law to a public body, which includes CSCU.
         Through their Position Statement and the e-mails included as part of Exhibit L that
CSCU referenced in their Position Statement (CSCU 10/26/21 Position 000198 – 000245),
CSCU confirms that it is seeking to terminate my employment for cause because I raised serious
questions and/or concerns regarding whether CSCU was properly managing issues relating to
federal financial aid and whether CSCU was acting legally with respect to federal financial aid. I
raised these questions and concerns in the e-mails provided by CSCU in Exhibit L which CSCU
is relying upon as one of the reasons for its decision to seek the termination of my employment.
I also raised these questions and concerns verbally. By seeking to terminate my employment
because I raised these important questions regarding mismanagement and compliance with legal
rules regarding federal financial aid, CSCU is not offering proof that I engaged in misconduct
that warrants terminating my employment for cause. Rather, CSCU is confirming that it is
retaliating against me in violation of federal and state law.
        While CSCU has provided additional evidence that it is retaliating against me in violation
of federal and state law, CSCU has not provided any evidence in its Position Statement or in the
e-mails contained in Exhibit L to support its statements that I somehow engaged in misconduct
which meets the definition for termination for cause because I did not sign the federal financial
aid forms until after some unspecified deadline. It is my recollection that I received the federal
financial aid forms on April 1, 2021, and CSCU has not provided any evidence that I received
the federal financial aid forms before April 1st. On the morning of April 1, 2021, the same day
that I believe I first received the federal financial aid documents, I expressed serious concerns
about the federal financial aid documents and requested that Rob Steinmetz and Jennifer Gray
provide me direction regarding my concerns. (CSCU 10/26/21 Position 000200 – 000201.) Rob
Steinmetz did not respond to me until April 6, 2021, five days later. (CSCU 10/26/21 Position
000204 – 000205.) Notably, in his April 6th response, Rob Steinmetz did not give me an order or




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a directive to sign the documents. Instead, Rob Steinmetz suggested that we have a meeting if
my concerns continued. (CSCU 10/26/21 Position 205.) Later on that same day, April 6, 2021, I
responded to Rob Steinmetz and provided additional information regarding my concerns
regarding mismanagement and legal compliance with federal financial aid rules. Regarding Rob
Steinmetz’s suggestion for a meeting, CSCU falsely states in its Position Statement that “He then
set up a meeting with financial aid leaders to address her concerns and she stated that she would
not attend the meeting because she expected that additional CEOs should be invited.” (Esposito
Discipline Position Statement 3.) I never stated that I would not attend a meeting with financial
aid leaders that Rob Steinmetz set up and CSCU has not provided any evidence to support that
accusation. When Rob Steinmetz suggested that we have a meeting if I still had concerns, I
suggested that the meeting should be open to all CEOs who had similar questions because I knew
that other CEOs had similar concerns during this same time period – but I never stated that I
would not attend a meeting that Rob Steinmetz had set up regarding this issue. (CSCU 10/26/21
Position 000208.) To illustrate that other CEOs had similar concerns at the same time, Campus
CEO Lisa Dresdner wrote to James Lombella expressing some of the same concerns that I was
expressing. I have attached an e-mail from CEO Lisa Dresdner on April 8, 2021 as Exhibit 13.
I was simply suggesting that if we were going to have a meeting, it should be open to all CEOs
who had similar concerns so that everyone’s concerns could be addressed at the same time.
        Also on April 6, 2021, I wrote to Ernestine Weaver to get some assistance regarding my
concerns regarding the legal issues relating to federal financial aid. CSCU failed to disclose my
April 6, 2021 e-mail to Ernestine Weaver, but I have included it here as Exhibit 14. I do not
believe that Ernestine Weaver ever responded to my e-mail to provide me with guidance or
assistance regarding the issues that I expressed. Ernestine Weaver’s failure to respond to my
April 6, 2021 e-mail and her failure to provide legal assurances regarding this issue could have
potentially facilitated a faster resolution of my concerns. This further undermines the credibility
of CSCU’s accusations against me regarding the execution of the federal financial aid
documents.
        On April 8, 2021, I received an invite for a meeting on April 15, 2021. On that date, I
reiterated clearly to Rob Steinmetz in two separate e-mails that I would sign the federal financial
aid forms if he issued me a directive requiring me to do so. (CSCU 10/26/21 Position 000228 –
000229.) However, Rob Steinmetz never provided me with any such directive and Ernestine
Weaver never provided me with an answer to my questions regarding legal compliance regarding
federal financial aid. Thus, on the afternoon of April 8, 2021, I wrote again to convey some of
my concerns regarding the legality of what was occurring relating to federal financial aid dollars
and compliance with federal Title IV federal financial aid regulations. One of the concerns that I
expressed to Rob Steinmetz in my April 8, 2021 e-mail was that the accredited community
colleges were being asked to use our individual federal financial aid numbers (OPE ID) to admit
students into the CT Community College in October 2022 at a time when the CT Community
College will not yet be accredited and will not yet be eligible for Title IV funding. I expressed
concern about whether the System Office’s plan to utilize MCC’s federal financial aid dollars for
students attending the CT Community College at a time when it is not yet accredited and not yet
able to receive Title IV funding on its own was legally sound. I tried to make clear that I was not



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being an obstructionist, but that I just wanted to “ensure this has all been vetted federally and I
am following both the intent and spirit of the law here . . . and ultimately, I do not want to
jeopardize MCC’s ability to receive Title IV funding.” (CSCU 10/26/21 Position 000228.) Rob
Steinmetz shared my April 8, 2021 e-mail communication with Alison Buckley, David Levinson,
Alice Pritchard, and Andrew Kripp. (CSCU 10/26/21 Position 000236.)
       In approximately early April 2021, I also reached out to the U.S. Department of
Education and asked the federal Department of Education whether there were any concerns
regarding what CSCU was planning regarding the federal financial aid dollars. In response, the
Department of Education representative told me that it seemed as though CSCU was cutting
corners. This response that I received from the U.S. Department of Education was one of the
reasons why, in the absence of a directive from Rob Steinmetz to sign the federal financial aid
documents and in the absence of a response from Ernestine Weaver to my April 6, 2021 e-mail, I
continued trying to get my questions answered regarding the legality and limitations of what
CSCU was proposing to do with federal financial aid.
        On April 8, 2021, I received an invitation to a meeting for April 15, 2021 to further
discuss the federal financial aid documents. I attended the meeting on April 15, 2021 and my
recollection is that I signed the federal financial aid documents shortly after that meeting.
        This sequence of events belies any contention that I engaged in misconduct warranting
termination for cause by not signing the federal financial aid documents before April 15, 2021.
On April 1, 2021, I communicated my concerns on the same day that I received the forms. Rob
Steinmetz did not respond to my concerns until April 6, 2021, and I wrote back to Rob Steinmetz
regarding my concerns on April 6, 2021 and April 8, 2021. I expressed to Rob Steinmetz on
multiple occasions that I would sign the forms if he issued me a directive to sign them, but he
never issued me such a directive. I also wrote to Ernestine Weaver on April 6, 2021 regarding
some of my legal concerns, but she never responded to me to address my legal concerns. On
April 8, 2021, Rob Steinmetz scheduled a meeting with financial aid leaders, but he did not
schedule the meeting until a week later, on April 15, 2021. I signed the federal financial aid
forms shortly after the meeting on April 15, 2021.
        CSCU’s contentions regarding the SLAs suffer from many of the same deficiencies.
(Esposito Discipline Position Statement 3.) The communications regarding the SLA took place
in April and May 2021 and I signed the SLA Forms on May 11, 2021. During that period of
time leading up to my signature on May 11, 2021, I was trying to get resolution to a number of
serious questions that were shared by other CEOs as well. There is no evidence of any
insubordination. Rob Steinmetz never provided me with a directive to sign the SLA forms that I
refused. I signed the SLA contracts on May 11, 2021, but the SLA contracts could have been
signed even earlier if CSCU had been more responsive. On Monday, May 3, 2021, I noticed that
the language of the SLA contracts had not been updated to address all of the concerns that the
CEOs had previously raised. (CSCU 10/26/21 Position 000162.) Rob Steinmetz provided a
response which indicated that he was “hopeful that outstanding questions will be resolved soon”
and asked that, “if questions continue, please provide specific information and we can set up a
time to discuss.” (CSCU 10/26/21 Position 000162.) Therefore, in his May 3, 2021 e-mail, Rob



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Steinmetz did not issue me a written directive to sign the SLA contracts in their current form - -
he asked me to provide more specific information if I continued to have questions so that we
could set up a time to discuss. Two days later, on May 5, 2021, I provided Rob Steinmetz with
the more specific information that he requested regarding the questions that I still had and I
proposed some solutions. (CSCU 10/26/21 Position 000166 – 000167.) Rob Steinmetz shared
my e-mail with Alison Buckley, Alice Pritchard, and David Levinson (CSCU 10/26/21 Position
000166) but I never received a substantive response from CSCU to my concerns or my proposed
solutions. On May 11, 2021, after almost a week of waiting for a response to my May 5, 2021 e-
mail which never came, I decided to sign the SLA documents in the absence of a response.
(CSCU 10/26/21 Position 000168.) After I submitted the signed SLA contracts, Rob Steinmetz
thanked me for providing the signed documents. (CSCU 10/26/21 Position 000168.)
       Similar to the federal financial aid forms, there was no insubordination with respect to the
execution of the SLA contracts. I never refused a directive to sign the SLA contracts from my
supervisor. If Rob Steinmetz had issued me a directive before May 11, 2021 to sign the SLA
contracts in their current form and made clear that CSCU would not entertain any further
modifications of the forms, then I would have signed the forms upon receiving that directive.
While I never received any such directive, I was told on May 3, 2021 to provide specific
information if I still had continuing questions, which I did on May 5, 2021. CSCU never
responded to my May 5, 2021 e-mail and proposed solutions, but I signed the SLA contracts on
May 11, 2021 instead of continuing to wait for a response.
        Also, like almost every issue that CSCU is now using to seek my termination for cause,
CSCU never claimed at the time that I was being insubordinate or attempted to discipline me at
the time when these events actually transpired. Instead, CSCU offered me continued
employment for at least another year in June 2021 and August 2021 after the issues with the SLA
contracts occurred. CSCU only claimed that my actions relating to the SLA contracts provided a
basis to terminate my employment for cause for the first time after I filed my federal court
lawsuit. CSCU’s current effort to terminate my employment for cause based on this issue is
additional evidence of retaliation, not evidence of insubordination or a proper basis to terminate
my employment for cause.
       12      Other Alleged Punctuality Issues Do Not Constitute Evidence of Cause
        Next, CSCU’s Position Statement claims that I have “often failed to meet established
deadlines on other occasions” and identifies issues in bullet format dating from September 2020
through March 2021. (Esposito Discipline Position Statement 4.) Without providing any further
explanation, CSCU’s Position Statement simply refers to e-mails included as part of Exhibit M
(CSCU 10/26/21 Position 000246 – 000290). However, none of those e-mails include any
evidence of me engaging in any misconduct which satisfies the definition of a termination for
cause in the CSCU HR Manual. Since the issues that CSCU is raising for this claim relate to
events which occurred between September 2020 and March 2021, how CSCU addressed these
issues at the time that they occurred is important. Like the other issues already discussed, CSCU
never claimed that I should be terminated for cause at the time that any of these issues occurred.
CSCU never claimed that I should be terminated for cause at any time before I filed my federal



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court lawsuit. In fact, in June 2021 and August 2021, after these alleged punctuality issues
occurred, CSCU offered me continued employment for at least another year - - which is
inconsistent with me engaging in conduct which warranted an immediate termination for cause.
         With respect to identifying space for the Regional Office, as I have already explained
above, we worked appropriately to identify a space at MCC for Rob Steinmetz and his team and
Rob did not express any concern about the space. We had it refreshed, repainted, carpets cleaned,
signage update was requested etc… We provided him with a parking space and keys for every
member of his regional team as well. The suite was beautifully updated and Rob never expressed
concern about this new space. We did all of this during the global pandemic and while folks were
off campus. This was not easy, especially since many people were still teleworking.
Furthermore, as I explained in the January 2021 e-mail included as part of Exhibit M, some
additional time was required due to issues involving moving existing employees out of the office
spaces at issue, including one employee who had a CHRO case and an approved ADA
accommodation request. (CSCU 10/26/21 Position 000260.) Rob Steinmetz never moved to
discipline me at the time for this issue. In fact, Rob Steinmetz responded on January 13, 2021 to
express his appreciation for the update that I provided and explained that he would set a time for
the beginning of the next month to review the space and begin settling in. In that e-mail, Rob
Steinmetz also expressed that he was glad to hear about the resolution of the CHRO case and
even stated that “we can continue to be patient with his office if more time is needed.” (CSCU
10/26/21 Position 000650.) At the time, Rob Steinmetz explained that he would continue to
work primarily remotely, but that it would be good to begin thinking about the use of the space
since we will likely begin more in-person activities by the fall. (CSCU 10/26/21 Position
000650.) CSCU only attempted to terminate me for cause based on this issue much later, and
after I filed my federal court lawsuit.
        With respect to the Diversity and Equity Plan, there is no evidence in the documents
provided by CSCU as part of Exhibit M that I engaged in any misconduct warranting a
termination for cause. In fact, to the contrary, Exhibit M shows that I sent an e-mail to Rob
Steinmetz and Alice Pritchard on November 18, 2020 regarding the plan and my work on it.
(CSCU 10/26/21 Position 000257.) Alice Pritchard responded that same day and expressed
appreciation for what I had shared and told me to “Go ahead and finish with your team and
forward the final document when ready. Appreciate your hard work on this!” (CSCU 10/26/21
Position 000257.) On November 30, 2020, Rob Steinmetz requested an update and I explained
to him that “The ATD team still has not been able to meet with me due to their conflicting
schedules. However, we can submit this as is for now and I will continue to evolve the plan
(which I assume is the expectation). This plan does outline the things we captured during our
Capacity Café meeting and does serve as a ‘plan for our plan’ as you described.” (CSCU
10/26/21 Position 000256.)
        The Diversity and Equity plan was submitted after all the ATD Data Café data was
collected and organized. All of the CEO’s in our region continued to seek clarification from Rob
Steinmetz regarding what, exactly, the system was looking for us to provide. I provided the
information that Rob Steinmetz had explained should be provided. Again, this was completed




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after we held our ATD Data Café and the ATD Coaches and IR director was able to provide the
data to support our general plan. I was not aware that any of my actions relating to the Diversity
and Equity Plan were problematic in any way because Rob Steinmetz never communicated to me
that I had done anything wrong relating to this issue. In fact, I even collaborated with a few
other CEO’s to see what folks were doing across the regions. I even took extra measures to
deepen the discussions about DEI work on campus. CSCU is trying to terminate me for cause
because of an issue that occurred a year ago, and which CSCU never treated at the time as
something which warranted discipline. CSCU is only attempting to terminate me for cause
based on this issue now, after I filed my federal court lawsuit.
        With respect to the September 2020 enrollment update issue raised by CSCU in their
Position Statement, the documents provided by CSCU in Exhibit M do not demonstrate that I
engaged in any misconduct which warrants immediate termination for cause. From the e-mails,
it appears that I provided the information to Rob Steinmetz on September 4, 2020 at 9:48 a.m.,
when Rob Steinmetz indicated in his e-mail on September 4, 2020 that the enrollment update
was due the day before. (CSCU 10/26/21 Position 000248 – 00249.) I also provided the
information to Rob Steinmetz on the same day that I received it. That is not evidence of
misconduct warranting immediate termination for cause, as demonstrated by the fact that Rob
Steinmetz never attempted to discipline me for this issue at the time.
         The e-mails provided as part of Exhibit M relating to HEERF Technology Needs and the
Use of Stimulus Funds in March 2021 also do not demonstrate a basis to terminate my
employment for cause. Regarding the use of stimulus funds, Exhibit M shows that Rob
Steinmetz shared an e-mail on Friday March 5, 2021 (although it does not indicate who it was
sent to) in which he apologized for the short turnaround and requested an answer regarding
technology needs at the campus by Tuesday March 9, 2021. (CSCU 10/26/21 Position 000277.)
I wrote to Rob Steinmetz on March 9, 2021 and explained that Jenn Gray, the Regional CFO
who reports directly to Rob, was working with the campus Dean of Administration and Director
of Finance to discuss the technology needs of the campus and shared information regarding what
Jenn Gray had communicated to the Dean of Administration and Director of Finance regarding
the issue. In that communication on March 9, 2021, I also communicated to Rob Steinmetz
regarding other technology needs and indicated that it would be helpful to know about any
restrictions regarding the usage of the funds. (CSCU 10/26/21 Position 000276.) The following
day, March 10, I shared additional information regarding technology needs promptly after I
received the information from someone at MCC. (CSCU 10/26/21 Position 000280 – 000281.)
On April 1, 2021, I was included on another e-mail relating to this issue and I responded on that
same day. (CSCU 10/26/21 Position 000282 – 000283.) Since I did nothing to warrant
discipline for cause relating to this issue, I was never disciplined at the time. CSCU is only
attempting to terminate my employment for cause because of this now, months later and after I
filed my federal court lawsuit.
       13.     Absence of Details Provided Regarding “Openly Insubordinate”
       Next, CSCU’s Position Statement charges that I have been “openly insubordinate in
meetings and directly with Dr. Steinmetz in one-on-one meetings, through email, and during



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phone conversations” and identifies behaviors such as rolling eyes and shrugging shoulders. The
Position Statement also claims that I “continually dismissed and ignored Dr. Steinmetz’s advice,
feedback, and directives.” (Esposito Discipline Position Statement 4.) CSCU’s Position
Statement does not identify important details, such as which meetings and when the meetings
occurred, or which e-mails and which phone conversations. CSCU also does not identify any
direct orders or directives that Rob Steinmetz issued to me which I refused. CSCU also does not
identify what specific advice, feedback, and directives from Dr. Steinmetz that I allegedly
“continually dismissed and ignored.” Without being provided the factual details to support these
broad and general allegations, it is difficult for me to share a detailed response. For instance, I
previously identified an example when I followed Dr. Steinmetz’s guidance relating to his
suggestion in July 2020 to not hire Angelo Simoni as the dual Dean of Student Affairs and
Academic Affairs. If CSCU provides additional details regarding these allegations, then I would
request an opportunity to respond further after I receive that additional information. However,
for now I will respond generally that I have never been engaged in insubordination towards Dr.
Steinmetz. Despite providing a lengthy position statement and more than 600 pages worth of
exhibits, CSCU has not identified any specific example when Robert Steinmetz issued me a
directive to take some action and I openly refused to comply with his order. In the entire time
that I reported to Dr. Steinmetz, he never once told me that I was being insubordinate and he
never attempted to discipline me for being insubordinate. CSCU’s current effort to terminate me
for cause, after I filed my lawsuit, in the absence of any actual insubordination, is retaliation. It
is also clear to me that CSCU’s Position Statement attempting to terminate me for cause for
various alleged issues includes many examples in which CSCU is treating me differently than
other employees, and trying to apply standards to me that it has not applied to other employees.
CSCU cannot apply one set of rules for me, and a different set of rules for other employees who
have not filed federal court lawsuits against CSCU, Robert Steinmetz, Alice Pritchard, and
Andrew Kripp.
       14.     No Refusals to Speak with Dr. Steinmetz
       In their Position Statement, CSCU includes the following paragraph:
       Dr. Esposito would often refuse to speak with Dr. Steinmetz about significant decisions
       and would seek guidance and approval from others, despite Dr. Steinmetz being her
       immediate supervisor and, therefore, the individual that she should have gone to for
       guidance and approval. For example, Dr. Esposito created a reorganization plan and
       provided Dr. Steinmetz with no details before sending an email to five other
       administrators asking for their feedback at the same time as his. Dr. Esposito also
       continuously included other system leaders on emails that should have only been sent to
       her direct supervisor. Dr. Esposito also added others who were not on original
       correspondence that Dr. Steinmetz had sent. In addition, Dr. Esposito emailed others in
       the system without copying Dr. Steinmetz when he, as her supervisor, should have been
       copied. This behavior is yet another indication of her inability and/or unwillingness to
       accept the organization structures, process and supervisory role Dr. Steinmetz had
       explained to Dr. Esposito in her first week of employment. See, Exhibit N and Exhibit 0.




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(Esposito Discipline Position Statement 4.) Exhibit N includes pages CSCU 10/26/21 Position
000292 – 000356. Exhibit O includes pages CSCU 10/26/21 Position 000358 – 000377.
        CSCU has not provided any specific examples when I supposedly often refused to speak
with Dr. Steinmetz about significant decisions, and this claim is contrary to the fact that I had
regularly scheduled bi-weekly phone calls with Dr. Steinmetz that he scheduled. The e-mails
included in Exhibit N and Exhibit O do not include any evidence of misconduct which warrants
my immediate termination for cause under the HR Manual. The fact that CSCU is arguing that I
should be terminated for cause because of the e-mails that are included as part of Exhibit N and
Exhibit O only provides more proof that CSCU is not trying to terminate me because I have
actually engaged in misconduct, but that CSCU is retaliating against me because I have filed
claims.
        Exhibit N includes an e-mail that I sent on July 21, 2020 to Alice Pritchard and Rob
Steinmetz regarding an updated organizational chart for MCC. I explained in that e-mail that I
was sharing the information with both Alice and Rob because I thought it would be helpful as we
work together on issues relating to possibilities regarding the budget and reductions in force and
expressed that I would be sure to collaborate with both of them on such issues. (CSCU 10/26/1
Position 000294.) It seems absurd that CSCU is attempting to terminate me for cause, more than
a year later, because I sent that e-mail to both Rob and Alice. At no time after July 21, 2020 did
Alice Pritchard or Rob Steinmetz notify me that I had done something wrong by sending that e-
mail to both of them. In fact, to the contrary, Rob Steinmetz responded to me on that same date
to thank me for providing them with those updates. (CSCU 10/26/21 Position 000320.) More
than a year passed between when I sent that July 21, 2020 e-mail and when I filed my federal
court lawsuit, and CSCU never attempted to terminate my employment for cause based on that e-
mail until after I filed my federal court lawsuit.
       Exhibit N also includes an e-mail that I sent on August 5, 2020 regarding appointments
on campus (CSCU 10/26/21 Position 000322) and e-mails that I sent on August 11, 2020
regarding draft organizational chart for student affairs at MCC (CSCU 10/26/21 Position 000324
– 000325). These e-mails do not reflect any misconduct by me which warrant a termination for
cause under the CSCU HR Manual. I was never informed that I had done anything wrong by
sending these e-mails. More than a year passed between when I sent those e-mails and when I
filed my federal court lawsuit, and CSCU never attempted to terminate my employment for
cause based on those e-mails until after I filed my federal court lawsuit.
        On September 2, 2020, I sent an e-mail to Alison Buckley (and included Rob Steinmetz
and others) in order to provide some clarification regarding the organizational structure I was
trying to put in place at MCC. (CSCU 10/26/21 Position 000328 – 000329.) I sent that e-mail to
provide clarification to Alison because I had shared my plans with Rob Steinmetz a number of
times and, although Rob Steinmetz appeared supportive directly to me, he informed me that
Alison had some questions about what I was trying to achieve. I was never informed that I had
done anything wrong by sending that e-mail. For more than a year after I sent that e-mail, CSCU
never attempted to terminate my employment for cause. CSCU is only attempting to terminate
my employment for cause because of that e-mail now, after I filed my federal court lawsuit.



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        On September 2, 2020, I sent an e-mail to Rob Steinmetz, Jennifer Gray, and Alice
Pritchard to ask a question about hiring faculty and conducting a search process for the following
semester in the spring. (CSCU 10/26/21 Position 000352.) In that September 2, 2020 e-mail, I
explained how we would have room in the budget to hire for the positions, and indicated that I
was inquiring very early well in advance of the anticipating searches for the positions in the
spring semester. I was never informed that I had done anything wrong by sending that e-mail.
For more than a year after I sent that e-mail, CSCU never attempted to terminate my
employment for cause.
        On September 8, 2020, I sent an e-mail to Rob Steinmetz and others explaining that I was
brainstorming solutions to an issue but did not want to move forward until I knew what I could
and could not do. (CSCU 10/26/21 Position 000354.) I asked for someone to let me know the
answer to two questions relating to a potential solution. I was never informed that I had done
anything wrong by sending that e-mail. For more than a year after I sent that e-mail, CSCU
never attempted to terminate my employment for cause.
        The final document included in Exhibit N is an e-mail that I sent on October 27, 2020 to
Rob Steinmetz, Alice Pritchard, and Alison Buckley sharing that I was happy to announce that
we were able to implement a new opt-in scheduling process. (CSCU 10/26/21 Position 000356).
I was never informed that I had done anything wrong by sending that e-mail. For more than a
year after I sent that e-mail, CSCU never attempted to terminate my employment for cause.
        Exhibit O (CSCU 10/26/21 Position 000358 - 000376) also includes several e-mails from
August 2020, and one e-mail from October 2020, that do not provide any cause to terminate my
employment under the CSCU HR Manual. In the first e-mail in Exhibit O (CSCU 10/26/21
Position 000360), I wrote to Alice Pritchard on August 3, 2020 regarding the possibility of
keeping Angelo Simoni available to me through the remainder of August 2020. I explained to
Alice that I wanted to keep her in the loop, and that I had mentioned the possibility to Rob a
while back. (CSCU 10/26/21 Position 000360 – 000361.) Alice Pritchard responded that same
day to thank me for looping her in, and also provided some supportive feedback and guidance.
(CSCU 10/26/21 Position 000360.) The remaining documents in Exhibit O are other e-mails
from August 2020 and October 2020 which also do not provide any cause to terminate my
employment. I was never informed that I had done anything wrong by sending the e-mails
included in Exhibit O. Before I filed my federal court lawsuit, CSCU never attempted to
terminate my employment for cause based on any of the e-mails included in Exhibit O that were
sent in August 2020 or October 2020.
       CSCU is only attempting to terminate my employment for cause because of those e-mails
now, after I filed my federal court lawsuit, in order to retaliate against me.
       15.     I Did Not Refuse to Provide Calendar Access
       In their Position Statement, CSCU claimed that I expressed concern about sharing
calendar access, then agreed to provide calendar access after discussion, but never provided
calendar access despite agreeing to do so in November 2020. (Esposito Discipline Position
Statement 5.) In support of their claims, CSCU only refers to the e-mails included as Exhibit P.



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(CSCU 10/26/21 Position 000378 – 000385.) The statements made by CSCU in their position
statement regarding this issue are not proven by the e-mails included in Exhibit P, and I have not
engaged in any misconduct relating to this issue which supports terminating me for cause under
the CSCU HR Manual.
        The e-mails provided by CSCU in Exhibit P actually show that it was Mary Ellen Jukoski
who initially expressed concerns about the request to share calendar access after Rob Steinmetz’s
request, and that it was Steve Minkler who then agreed with Mary Ellen. (CSCU 10/26/21
Position 000383 – 000384.) After Rob Steinmetz commented that he found the responses from
Mary Ellen and Steven interesting and would discuss them during the next one-on-one meetings,
I shared that I also agreed with Steve and Mary Ellen but that I was happy to discuss the issue in
my next one-on-one with Rob Steinmetz or as a group if he thought that would be more
productive. (CSCU 10/26/21 Position 000382.) After discussion with Rob Steinmetz, I agreed
to provide the calendar access requested in November 2020. (CSCU 10/26/21 Position 000380 –
000381.) I believed that I had provided the calendar access requested and the e-mails provided
by CSCU as part of Exhibit P do not prove that I did not provide the calendar access that was
requested. CSCU never took any action to terminate my employment for cause based on this
issue before I filed my federal court lawsuit, nor is CSCU attempting to terminate the
employment of Mary Ellen Jukoski or Steve Minkler for cause because of the statements that
they made in the e-mails contained in Exhibit P. I did not engage in any misconduct that
provides a reason to terminate my employment for cause.
       16.      No Reason to Terminate For Cause Relating to On-Ground Courses
       In their Position Statement, CSCU argued that my employment should be terminated for
cause because of issues relating to the percentage of classes that were taught at MCC on ground
vs. hybrid or fully remote. (Esposito Discipline Position Statement 5.) In support of this claim,
CSCU referred to e-mails included as Exhibit Q (CSCU 10/26/21 Position 000386 – 000413).
Once again, CSCU has not provided proof that I engaged in any misconduct to terminate my
employment for cause based on the standards in the CSCU HR Manual.
         The Academic Deans at MCC did try to develop a schedule for up to 50% on ground
courses for the Fall of 2021. However, we took the approach of letting the students choose the
course modality that they wanted and then we would drop the under-enrolled section that was not
filling. Therefore, the percentages would fluctuate from week to week as students enrolled. We
took this approach because the colleges were being asked to accomplish competing goals: (1)
Get as much on ground as possible; (2) increase enrollment; (3) cut the budget; and (4) maintain
social distancing. These conflicting goals presented problems. If I put everything on ground,
and had to social distance, then that would reduce the number of students in each class (reduce
enrollment) OR I would have to split the class into two sections, meaning I would need to hire
another adjunct to teach (would increase PTL budget). Therefore, we took the approach of
essentially running some parallel sections, letting the students register for the modality they
wanted, and then dropped the section that was under enrolled. This was actually a creative way
to meet all the demands of the system, while still serving the needs of the students, keeping the
budget under control, and allowing us to maintain social distancing, but it also meant that our



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percentages would fluctuate as students made their modality selection. Each college campus is
also very different in terms of the buildings. So, for example, a college that only runs 100
courses a year could easily have 50% on ground. For larger colleges, like MCC, that run many
more courses and sections a year, it is harder to reach that 50% because that is MANY more
classes, and many more people on the campus, making it harder to social distance and/or comply
with orders regarding how many people could be indoors etc.
        I did not misrepresent any facts relating to this issue, and CSCU has not provided any
proof that I misrepresented any facts. The documents included by CSCU as part of Exhibit Q do
not contain any evidence regarding the claim of 46% of classes being fully on ground or hybrid,
or the context or timing of any such statements. The documents included as part of Exhibit Q
appear to indicate a projection as of May 3, 2021 of 37% of combined on ground or hybrid
courses. That figure of 37% was an accurate projection when it was made on May 3, 2021. The
fact that a different number materialized by June 20, 2021 shows that the figures can change over
time based on the circumstances that I explained above. Also, on May 3, 2021, when the Fall
2021 reopening plan was shared indicating a projection of 37% fully on-ground or hybrid, Rob
Steinmetz did not respond with alarm or with any concern which would be consistent with
terminating my employment for cause based on this issue. (CSCU 10/26/21 Position 000408.)
The documents included as part of Exhibit Q also reflect the importance placed on overall
enrollment numbers for the Fall 2021 semester. During the course of my tenure as Campus CEO
at MCC, we put a lot of emphasis on actions intended to help increase enrollment. Although I
have not been able to personally verify this due to my suspension, it has been reported to me that
MCC’s enrollment numbers for Fall 2021 were more stable than sister institutions.
       17.     Diversity, Equity, and Inclusion
        CSCU has also failed to prove that I should be terminated for cause because I have
supposedly “shown deficiencies in managing areas related to diversity, equity, and inclusion, as
well as formal investigations.” (Esposito Discipline Position Statement 5.) CSCU refers to
documents included as Exhibit R, but none of those documents actually prove this claim or
show that I have engaged in any misconduct that supports terminating my employment for cause
under the CSCU HR Manual. (CSCU 10/26/21 Position 000414 – 000461.)
        CSCU completely distorts the e-mail that I sent on June 30, 2021 in order to make a
misleading claim regarding the message that I conveyed and its context. CSCU claims that my
June 30, 2021 e-mail “failed to acknowledge that we all have responsibility in improving the
climate and culture on the campus and attributed the issues to past leadership.” (Esposito
Discipline Position Statement 5.) A copy of my June 30, 2021 e-mail is included as part of
Exhibit R at pages CSCU 10/26/21 Position 000460 – 000461. By way of context, I sent the e-
mail on June 30, 2021 because stories had run in the media based on the findings of an EEO
investigation relating to MCC. What I stated in the e-mail is accurate - - the investigation
finding did relate to the racial and equity climate on the MCC campus over the past two decades,
and issued findings relating to events that occurred under previous MCC leadership suggesting
that over the past 20 years MCC has experienced challenges related to diversity and specifically
in regard to race and gender. Even though that was an accurate characterization relating to the



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finding of the report on that issue, I made absolutely clear that the responsibility to make
improvements regarding issues of diversity, equity, and inclusion is a responsibility that
everyone, including me and my leadership team, share. For instance, I indicated that “I am
writing to assure you that the college, and my current leadership team, are dedicated to finding
and continuously pursuing opportunities to improve our climate of equity and inclusion,
including issues relating to race and gender.” I also explained that “as part of our continuing
efforts to address these important issues, after full discussions with the leadership team, I intend
to move forward with engaging outside consultants to address concerns relating to the racial
climate at MCC, and will also coordinate an independent racial climate survey for MCC - - both
of which were recommendations in the recent report. These measures are consistent with our
objective of enhancing our learning and working environments for all at MCC.” (CSCU
10/26/21 Position 000460.) In order to further emphasize the importance that I placed on
Diversity, Equity, and Inclusion issues at MCC, I went on to identify various actions that we had
taken to try and positively impact the climate at the college and make it a welcoming
environment for all. The statement in the CSCU Position Statement that my June 30, 2021 e-
mail failed to acknowledge that we all have responsibility to improve the climate and culture on
the campus is a deliberate distortion of the e-mail that I sent. Consistent with almost every other
issue raised by CSCU, Rob Steinmetz and CSCU never told me that they had any problems with
anything that I said in my June 30, 2021 e-mail at the time.
        As already explained above, I made a deliberate attempt to make improvements on issues
related to diversity, equity, and inclusion as Campus CEO. Another example of that is the July
27, 2020 e-mail communications included as part of Exhibit R, at pages CSCU 10/26/21 Position
000424 – 000425.
        It is also telling that the only EEO Investigation provided by CSCU as part of Exhibit R
is an investigation which includes a finding that “There is no evidence to suggest that CEO
Esposito engaged in behaviors that contributed to the culture/climate issues at MCC since her
return as CEO in July 2020.” (CSCU 10/26/21 Position 000419.)
         In their Position Statement, CSCU also mischaracterizes the June 10, 2021 exchange with
Rob Steinmetz. I shared with him that I was receiving complaints from other diverse groups on
campus that felt they were also not included and I felt strongly about creating a culture on the
campus where all individuals feel included, heard, recognized etc…. and that I wanted to bring
all of these groups of people together to work toward a better outcome for all. He stated in that
meeting that I needed to just focus on the people who were making official complaints.
However, I tried to explain that I wanted to move toward a truly inclusive campus for all under-
represented groups across race, gender, ethnicity, ability etc….Including Hispanic and LatinX
individuals as well. He then told me to put out another climate survey focusing on race. I told
him it is a great idea to put out another climate survey focusing on race, ethnicity, gender etc…to
really gather data about their experience on our campus. I then shared that we needed a better,
more inclusive, survey that can help us gather this information. In that context, I expressed that
many of the surveys we use seem to be outdated and/or are based upon outdated understandings
relating to diversity, equity, and inclusion. I also shared that we should focus on more than just




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black and white because we needed to capture as much information as we could. I believed that
we also needed to broadly examine issues of diversity, equity, and inclusion in all of their
complexity to identify how various issues of race, gender, ethnicity, color, sexuality, religion,
socioeconomic status, etc., all intersect and influence how people experience life at MCC so that
we can make the campus a positive and welcoming place for all. I was attempting to explain that
the human experience is more complex than just categorizing someone for a simple survey so
that we can just “check the box” that we have done the work. I wanted to collect meaningful data
that we could actually use to impact change. We then engaged in a discussion about some survey
he used in Oregon. I told him it sounded like a great survey for me to take a look at and, perhaps,
we could use at MCC. I then asked him to reach out to his former colleagues to see if we can use
the same resource (since he advocated for it). He said he would do so, however, he never
followed through with this and I never received any information about that survey.
       18.     I Did Not Diagnose Anyone
        In another effort by CSCU to distort and mischaracterize, CSCU claims that I acted
improperly to diagnose an employee with a mental health condition. (Esposito Discipline
Position Statement 5-6.) The e-mail exchange in question is included as part of Exhibit S, pages
CSCU 10/26/21 Position 000464 – 000465. I sent that e-mail in March 2021 because I was
scared for my security and safety from someone who had demonstrated a pattern of harassment
against me. I did not provide any diagnosis in that e-mail. Furthermore, when I expressed those
concerns, I was speaking confidentially in my capacity as an employee concerned for my own
safety and security based on a documented pattern of harassment from the employee in question.
I did not engage in any misconduct in that e-mail in March 2021 which provides any basis for
terminating my employment for cause under the standard contained in the CSCU HR Manual.
        CSCU did not attempt to terminate my employment for cause at the time because of that
e-mail. Nor did CSCU attempt to terminate my employment for cause at any point in the six
months which followed my sending of that e-mail. CSCU only attempted to terminate my
employment for cause after I filed my federal court lawsuit. It is attempting to reach back in
time to try and manufacture bogus issues to retaliate against me, not because I engaged in any
misconduct which warrants the termination of my employment for cause.
       19.     No Termination for Cause Based on FOIA Issues
       In their Position Statement, CSCU also argues that I should be terminated for cause
because I supposedly have “also been found to be uncooperative and failed to meet the
requirements in providing information and data” in response to FOI requests. (Esposito
Discipline Position Statement 6.) CSCU refers to documents included as part of Exhibit T
(CSCU 10/26/21 Position 000467 – 000565) and Exhibit U (CSCU 10/26/21 Position 000566 –
000615), and CSCU identifies two examples: a request on behalf of the 4C’s union and AFT in
March 2021, and my own FOI request submitted by one of my attorneys. I will address each in
turn.
       Regarding the March 2021 request, the e-mails included as part of Exhibit T do not
provide any proof that I engaged in any misconduct that warrants my immediate termination for



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cause. I and other people at MCC worked to provide the information that we believed was being
requested. On March 23, 2021, Andy Kripp clarified that the request was seeking additional
information and I worked to ensure that the additional information was obtained from the people
at MCC who possessed it. (CSCU 10/26/21 Position 000488 - 000501.) On the following day,
March 24, 2021, I sent an updated document to Andrew Kripp and explained that “Now that my
staff understand what you are looking for, they have been able to put all of the high school
teachers names into this document for you.” (CSCU 10/26/21 Position 000502.) On the next
day, March 25, 2021, I received an additional piece of information, notified Andrew Kripp, and
added the additional information to the spreadsheet. (CSCU 10/26/21 Position 000554 -
000555.)
         There is no evidence of misconduct in the e-mails included as part of Exhibit T which
warrant the termination of my employment for cause. The documents offered do not show that I
was uncooperative, or that I resisted complying with the request. The initial request was not
completely clear. Once we received clarification on March 23, 2021, we promptly collected the
additional information and provided an updated spreadsheet. Although this issue occurred in
March 2021, CSCU never moved to terminate my employment for cause at that time because of
this issue. After this issue occurred, CSCU offered me continued employment in June 2021 for
at least another year addressing an important issue relating to student health. Offering me
continued employment for another year to address an important issue relating to student health is
inconsistent with the conclusion that I had engaged in misconduct which met the criteria to
terminate my employment for cause under the CSCU HR Manual.
         The next FOIA issue raised by CSCU as a reason to terminate my employment is also
blatant retaliation. CSCU is claiming that I should be terminated for cause because of the way
that I responded to my own FOI request that was submitted on my behalf by my attorneys and
CSCU refers to documents included as Exhibit U (CSCU 10/26/21 Position 000566 – 000615).
(Esposito Discipline Position Statement 6.) The purpose of the FOI request that my attorney
submitted to CSCU on my behalf was for CSCU to provide documents to me, not so that I could
provide documents to CSCU. Since the FOI request at issue was submitted by my attorney on
my behalf, I had a clear understanding of what documents that I was seeking through the FOI
request. CSCU’s contention that I should be terminated for cause because I did not do a good
enough job of responding to my own FOI request is ridiculous.
         CSCU’s decision to attempt to terminate me for cause because of the way that I
responded to my own FOI request also shows a clear difference in treatment between how CSCU
is acting towards me and how it is acting towards other people. There are a number of examples
of documents that were responsive to my FOI requests that my attorney submitted on my behalf
that CSCU did not produce to my attorney in response to those FOIA requests. Yet, I am not
aware of CSCU moving to terminate the employment of the individuals who are responsible for
CSCU failing to disclose those documents to my attorneys for cause. CSCU is not only taking a
ridiculous position regarding how I responded to my own FOI request, but in doing so, it is also
applying a standard to me that it has not applied to other people who actually are responsible for
failing to provide documents to me that were responsive to the FOI requests that my attorneys




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submitted on my behalf. Treating me differently than other people is additional proof that CSCU
is retaliating against me, and that I have not committed any misconduct which warrants my
immediate termination for cause.
       20.     Extending a Conditional Offer of Employment to                   Does Not
               Warrant Termination for Cause
       In their Position Statement, CSCU also argues that I should be terminated for cause
because I extended an offer of employment to                , which was conditional on her
successfully completing a background check. (CSCU 10/26/21 Position 000628 - 000629.) I did
not engage in any misconduct to warrant my termination for cause relating to this employment
offer.
        By way of background,                    was the only candidate recommended to me for
consideration by the hiring committee for this position. I also received information from the
committee which offered a glowing assessment of how                        performed during the
interview process. A copy of that assessment is included here as Exhibit 15. As the assessment
from the hiring committee reinforced, hiring                   for the position would also help to
increase the diversity on campus (                 is a Black female). When I extended the offer
of employment to                  , I did not know all of the details regarding her previous
employment at MCC. However, it is my understanding that employees can be non-continued for
a myriad of reasons, including many reasons which do not signify misconduct or poor
performance. Therefore, I do not believe that CSCU’s position statement is accurate when it
argues that a previous non-continuation, by itself, is evidence that someone has a history of
unsuccessful work at the college. Nevertheless, when I extended the offer of employment to
               , it was contingent on a successful background check and a reference check. In
addition, it was my understanding that HR Recruitment and Talent helps to manage the process
and had prior knowledge of the candidates and nobody from HR expressed any reservations
before I extended the employment offer to                   . I did not engage in any misconduct
warranting the termination of my employment for cause by extending the offer of employment to
               , contingent on a successful background check and references. This is just another
effort by CSCU to manufacture a bogus issue. It is not an example of misconduct by me.
       21.     Exhibit W E-mails Do Not Support CSCU Claims or Termination for Cause
       At the end of their Position Statement, CSCU claims that I am “an ineffective listener
who is unable to hear new information that could lead to making more effective decisions,” that I
am “unable to communicate clearly; she creates confusion, and provides inconsistent
information. Her performance indicates that despite efforts to support her growth, she does not
understand what it takes to an executive, is unwilling to engage in or unable to understand risk
analysis and is not a good team player. See above referenced exhibits and Exhibit W.”
(Esposito Discipline Position Statement 7.) (Exhibit W is included as CSCU 10/26/21 Position
000640 – 000682.)
      In this final paragraph of the Position Statement, CSCU also fails to prove that I have
engaged in any misconduct that supports the immediate termination of my employment for cause



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under the standard in the CSCU HR Manual. CSCU fails to provide specific information and
examples for many of the general statements in this paragraph, such as specific examples when I
exhibited these deficiencies and also fails to explain how my specific conduct in those examples
supports the charges made in this paragraph against me. Without that specific information, it is
difficult to provide a specific response to each issue. If CSCU provides additional specifics, I
look forward to responding to that additional information in the future.
         The e-mails included as part of Exhibit W also do not include any proof that I engaged in
any misconduct that supports terminating my employment for cause under that standard. A
review of the e-mails included as part of Exhibit W shows that the communications relate to
issues between July 2020 and February 2021. CSCU never attempted to discipline me for cause
or terminate my employment for cause at the time of any of those communications occurred.
CSCU’s decision to try and use these communications, which do not show any misconduct, to
try and terminate me for cause more than a year after I sent some of the e-mails, and more than
six months after I sent other e-mails, shows that these e-mails do not actually constitute proof
that I have engaged in any misconduct satisfying the standard for termination for cause.
Presumably, if I had engaged in any such misconduct in writing and in e-mails, then CSCU
would have acted to terminate my employment for cause at the time for any misconduct.
CSCU’s decision to offer me continued employment for at least another year in June 2021, after
all of the e-mails included as part of Exhibit W, addressing an important issue relating to student
health, is also contrary to the conclusion that I engaged in repeated acts of misconduct months
earlier which warranted the termination of my employment for cause. It is clear that CSCU is
simply acting to retaliate against me and is desperately trying to manufacture false and
unsupported charges against me in order to harm me and retaliate against me after I filed my
federal court lawsuit.


        This document, and the documents referenced in this document, should make clear that
CSCU has not demonstrated that I engaged in any misconduct that warrants the immediate
termination of my employment for cause under the standards identified in the CSCU HR
Manual. The decision to terminate an employee for cause is incredibly significant, and it can
have life-altering consequences. Terminating my employment for cause has the potential to
effectively end my career as an administrator in academia. Since I have not committed any
offense which meets the high standard for a termination of employment for cause, CSCU should
not impose that severe penalty against me.
                                      Very truly yours,




                                      Nicole Esposito, Ed.D.




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Cc: Inez Diaz-Galloza
    Sarah Bold




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                EXHIBIT 1




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          Connecticut Community Colleges
          Expenditure Plan General & Operating Funds                                                                                                                                                                                                                                                Attachment F
          FY22 Budget
                                  All Colleges Consolidated



                              Account Name                       CSCC Consolidated      CSCC         Shared Services System Office   Asnuntuck      Capital       Gateway       Housatonic     Manchester     Middlesex      Naugatuck      Norwalk       Northwestern    Quinebaug      Three Rivers    Tunxis

            Revenue:
             Tuition (Gross)                                           109,594,097            -                -              -       3,851,782      7,201,821    15,853,236     10,836,000     13,035,965     5,761,818     14,520,945     13,339,825       3,404,798     3,381,080       8,771,142      9,635,685
             Fees                                                       54,308,760            -                -              -       3,689,834      4,332,086     7,835,962      3,958,000      6,136,606     3,084,000      6,420,189      5,974,878       1,296,543     1,834,023       4,857,973      4,888,667
             State Appropriations                                      148,863,171      5,590,356              -        3,428,505     7,401,889     10,435,552    18,515,066     13,495,057     15,424,363     7,622,294     18,170,465     14,220,712       6,275,839     6,146,464      10,866,230     11,270,379
             Addtl State Appropriation (Dev Edu and Outcomes)            8,523,582      1,196,017              -              -         227,606        497,682     1,045,228        726,004        998,942       395,569        964,826        856,270         184,424       244,785         601,703        584,526
             GF Fringe Benefits Paid by State                          136,820,225      3,677,708              -        2,365,587     7,098,635     10,213,253    16,805,599     12,455,279     14,786,295     7,135,546     17,510,582     13,014,037       5,337,378     5,655,510      10,009,557     10,755,259
             OF Fringe Benefits Paid by State                           16,200,000            -                -              -         243,068      1,346,199     2,047,099      1,613,450      2,738,719       884,761      2,534,584      1,575,691         357,096       271,496       1,308,121      1,279,716
             Private Gifts, Grants and Contracts                           111,500            -                -              -             -              -             -              -              -             -              -              -           111,000           -               -              500
             Sales of Educational Activities                               569,049            -                -              -          15,000         30,000        11,000        135,000          5,000         7,000        111,049        155,000             -             -               -          100,000
             All Other Revenue                                           2,942,359            -                -              -         131,252        111,700       661,189        265,000        191,971       201,835        (70,500)       262,609          25,810       458,161         520,000        183,332
              Less Contra Revenue                                      (18,707,736)           -                -              -        (922,857)    (3,248,483)   (2,551,347)    (1,706,362)    (2,208,171)     (798,453)    (2,025,372)    (1,213,387)       (289,788)   (1,109,540)       (979,131)    (1,654,845)
             Total Revenue                                             459,225,007     10,464,081              -        5,794,092    21,736,209     30,919,810    60,223,032     41,777,428     51,109,690    24,294,370     58,136,768     48,185,635      16,703,099    16,881,979      35,955,595     37,043,219

            Expenditures:
             Personnel Services:
              Full Time (601000)                                       176,112,133      5,590,356       27,777,845      3,428,505     6,862,172     12,164,683    17,417,491     13,449,527     15,760,175     7,696,067     18,116,078     15,403,951       5,396,940     5,809,489       9,841,959     11,396,897
              Continuing Part Time (601100)                                932,834            -                -              -             -              -          89,567         99,118         13,000        75,893        129,349        173,815             -         221,956             -          130,136
              Temporary Part Time (601200, 02, 03, 04, 601303)          10,048,861            -                -              -         807,421      1,006,718     1,483,909        620,548      1,189,367       650,756      1,831,570        650,437         169,884       397,419         798,150        442,683
              Clinical EA (601201)                                       6,329,846            -                -              -             -        1,695,810     1,206,408            -          106,285           -        1,299,760        840,000         270,827           -           559,612        351,144
              Contractual PTL (601302)                                  41,924,088            -                -              -       1,541,505      2,188,941     7,147,102      3,710,955      5,200,000     2,313,843      5,172,799      4,233,672       1,382,715     1,391,903       3,969,445      3,671,208
              Contractual NCL (601300)                                   3,760,427            -                -              -         299,942        338,795       428,779        301,798        200,000       214,725        320,000        575,674          40,599       143,511         387,459        509,145
              Contractual ECL (601301)                                   7,690,746            -                -              -         520,110        639,721     1,212,052        451,596      1,150,000       448,149        775,610        880,142         138,503       112,911         636,273        725,678
              Student Labor (601400, 01, 02, 601406)                     1,663,437            -                -              -          80,060         88,536       237,853        228,000        100,000       190,356         73,096        332,000          11,444        14,885         205,000        102,207
              Overtime (601501, 601502)                                    980,950            -                -              -          10,250         50,000       230,000        210,000         90,000        25,000        200,000         80,000          20,000        37,500          10,000         18,200
              All Other Personnel Services                               5,869,724            -                -              -          96,785        452,737       422,200        870,000        898,965       222,829        388,966      1,077,305         388,892       179,236         638,494        233,315
             Subtotal Personnel Services                               255,313,047      5,590,356       27,777,845      3,428,505    10,218,246     18,625,941    29,875,361     19,941,542     24,707,792    11,837,617     28,307,228     24,246,996       7,819,804     8,308,810      17,046,391     17,580,613
              Shared Services Personnel Services                               -              -        (27,777,844)           -       1,038,516      2,154,644     3,439,734      3,423,311      2,706,302     1,890,940      3,776,523      2,664,359       1,171,070     1,082,601       2,202,140      2,227,704
              Total Personnel Services                                 255,313,047      5,590,356                0      3,428,505    11,256,763     20,780,585    33,315,095     23,364,853     27,414,094    13,728,557     32,083,751     26,911,355       8,990,874     9,391,411      19,248,531     19,808,317

             Fringe Benefits                                           187,869,154      3,576,009       23,090,583      2,365,587     7,860,744     13,676,112    21,510,260     14,756,741     19,379,557     7,566,199     22,585,917     14,902,107       6,066,604     6,361,334      11,221,453     12,949,947
             Shared Services Personnel Fringe Benefits                          (0)           -        (23,090,583)           -         865,003      1,796,823     2,836,628      2,887,768      2,234,981     1,586,314      3,130,481      2,197,689         987,027       902,859       1,824,328      1,840,683
             Total P.S. & Fringe Benefits                              443,182,200      9,166,365               (0)     5,794,092    19,982,509     36,253,520    57,661,983     41,009,362     49,028,632    22,881,070     57,800,149     44,011,151      16,044,505    16,655,604      32,294,312     34,598,947

             Other Expenses:
             Inst. Financial Aid/Match                                  15,163,949            -                -              -         511,501        900,000     2,315,429      1,509,150      1,885,658       822,069      2,041,868      1,876,730         238,947       414,697        1,257,297     1,390,603
             Waivers                                                     3,530,404            -                -              -         149,898        170,000       216,312        775,000        214,910       200,000        578,992        544,291         256,219        51,782          208,000       165,000
             Utilities                                                   9,553,559            -                -              -         344,753        767,458       918,000      1,264,500        975,000       374,500      1,228,070      1,235,000         494,278       262,500          855,000       834,500
             All Other Expenses                                         62,840,133      5,053,067       22,700,605        494,320     1,555,247      2,311,009     7,123,581      5,155,000      2,130,816     2,263,516      2,353,399      4,349,175         652,847     1,178,056        2,788,980     2,730,515
             Total Other Expenses                                       91,088,046      5,053,067       22,700,605        494,320     2,561,399      4,148,467    10,573,322      8,703,650      5,206,384     3,660,085      6,202,329      8,005,196       1,642,291     1,907,035        5,109,277     5,120,618

            Total Expenditures                                         534,270,246     14,219,432       22,700,605      6,288,412    22,543,908     40,401,988    68,235,305     49,713,012     54,235,016    26,541,155     64,002,478     52,016,347      17,686,796    18,562,639      37,403,589     39,719,565

            Addition to (Use of) Funds Before Transfers                 (75,045,239)   (3,755,351)     (22,700,605)      (494,320)     (807,700)    (9,482,178)   (8,012,273)    (7,935,584)    (3,125,326)    (2,246,785)    (5,865,710)   (3,830,712)       (983,697)    (1,680,660)     (1,447,994)   (2,676,346)

            Transfers, Additional Funds and Commitments
              Transfer in                                                27,681,533     3,857,050       22,700,605        494,320            -             -             -              -          462,558            -              -             -               -             -                -         167,000
              Transfer out                                              (27,051,974)          -                -              -       (1,038,376)   (1,707,612)   (3,859,082)    (2,780,997)    (3,362,130)    (1,465,159)    (3,615,185)   (3,188,126)       (726,271)     (809,712)      (2,243,387)   (2,255,937)
              HEERF Institutional                                        48,888,855           -                -              -        1,926,540     6,039,131     6,160,272      4,755,494      7,536,041      2,350,178      6,183,182     4,791,991         552,770     1,259,760        2,539,134     4,794,361
            Total Transfers, Additional Funds and Commitments            49,518,414     3,857,050       22,700,605        494,320        888,164     4,331,519     2,301,190      1,974,497      4,636,469        885,019      2,567,997     1,603,865        (173,501)      450,048          295,747     2,705,424

              Net Change Subtotal                                       (25,526,825)     101,699                   0          -          80,464     (5,150,659)   (5,711,082)    (5,961,087)     1,511,144     (1,361,766)    (3,297,713)   (2,226,847)     (1,157,198)    (1,230,612)     (1,152,247)       29,078

              Target savings (PS, FB and OE)                             5,000,000       132,987           689,785         58,812       193,039       340,903       579,470        405,916        463,600        215,705        532,917       441,010         145,232        155,038         312,159       333,427

              Net Change Subtotal                                       (20,526,825)     234,686           689,785         58,812       273,503     (4,809,756)   (5,131,612)    (5,555,171)     1,974,744     (1,146,061)    (2,764,796)   (1,785,837)     (1,011,966)    (1,075,574)       (840,088)     362,505

              Additional State Appropriations per 5/17 Committee ARP Allocations
              State Appropriation                                       700,000
              FB paid by State for SERS UAL CC                       21,332,962
              Higher Education - CSCU                                 4,866,345

              Net Change                                                 6,372,482

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                EXHIBIT 2




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                                                   Manchester Community College
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j Overview

 The College Employee Satisfaction Survey {CESS) is designed to assess the campus environment for college and
 university employees {faculty, staff, and administration). The CESS has a set of core satisfaction items and respondents
 are asked to rate importance and satisfaction for each one. Results are benchmarked against a comparison group made
 up of over 60,000 responses from sixty-eight two-year colleges who completed the CESS within the past three years.
 M CC can also compare satisfaction ratings vs. our previous CESS participation in 2015.

 The M CC Academic Senate requested that MCC participate in a college climate study of this type. MCC invited staff and
 faculty, including adjuncts, to participate in the 2019 CESS via a web link sent to MA-Allpoints. In May and June 2019 the
 survey received 115 responses from MCC employees.

 The average satisfaction ratings from MCC employees were significantly lower than the comparison group on more than
 half the items, and generally lower than the MCC responses from 2015.

 The survey instrument consists of 4 sections:
     •     Section 1: Campus culture and policies (30 standard items)
     •     Section 2: Institutional goals (9 standard items)
     •     Section 3: Involvement in planning and decision-making (8 standard items)
     •     Section 4: Work environment (21 standard items)

 This report uses exhibits and text provided by the CESS.

ISection 1: Campus Culture and Policies
 Respondents are presented with statements and asked to rate their importance to them as employees and then to rate
 their satisfaction. A five-point Likert rating scale is used for both importance and satisfaction. CESS has calculated gaps
 between the two means. Keep in mind there are always gaps between importance and satisfaction. Statistical
 significance markers are defined in notes at the end of this report.

 Strengths - higher average importance ratings and higher average satisfaction ratings:

     •     Faculty take pride in their work
     •     Staff take pride in their work
     •     Administrators take pride in their work
     •     This institution is well-respected in the community
     •     Th is institution promotes excellent employee-student relationships

 Opportunities - lower average satisfaction ratings, or a larger gap between importance and satisfaction ratings:

     •     Th is institution does a good job of meeting the needs of students
     •     The leadership of this institution has a clear sense of purpose
     •     There is a spirit of teamwork and cooperation at this institution
     •     The reputation of this institution continues to improve
     •     This institution makes sufficient budgetary resources available to achieve important objectives
     •     This institution consistently follows clear processes for orienting and training new employees
     •     There are effect ive lines of communication between departments
     •     This institution consistently follows clear processes for selecting new employees



          2019 MCC   ass Summary Report * For Internal MCC Use Only                                                            1
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                                                              Manchester Community College
                                                         2019 College Employee Satisfaction Survey
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The largest changes vs. MCC's 2015 responses were decreases in satisfaction ratings for severa l items:

      •     The reputation of this institution continues to improve
      •     This institution involves its employees in planning for the future
      •     This institution is well-respected in the community
      •     Efforts to improve quality are paying off at this inst itution
      •     Employee suggestions are used to improve our institution
      •     This institution consistently follows clear processes for selecting new employees

     Section 1: Campus Culture and Pollcles

                                                                                     Mancflester
                                                                                                              Compart9on
                                RATE IMPORTANCE                                   Community College
                                                                                                                group              IMP     SAT
                (1 • "Not Important at all• I 5 • -Very Important")                     2019
                                                                                                                                   Sign    Sign
                               AND SATISFACTION
                                                                                                                                    dlff    dlff
                  (1 • "Not m11111ed at all" / 5 • -Very sa11111ed1                IMP SAT                  NP  SAT
                                                                                                  GAP                     GAP
                                                                                  Mean Mean                Mean Mean
   1 This institution promotes excellent employee-student relationshios            4.71    3.34    1.37     4.63   3.71    0.92       NS      ...
                                                                                                                                       . ·-...··
   2, This institution treats students as its too Drioritv                         4.82    3.25    1.57     4.71   3.64    1.08
   3 This institution does a oood iob of meetino the needs of students             4.75    3.14    1.61     4.69   3.57    1.12       NS
   4 The mission. purpose, and values of this institution are well understood
     by most emolovees
                                                                                   4.53    3.07    1.46     4.35   3.52    0.83        . ...
  5 Most employees are generally supporti1.e of the mission, purpose. and
     >alues of this institution
                                                                                   4.48    3.32    1.16     4.39   3.60    0.79       NS  ..
  6 The goals and objecti1.es of this institution are consistent with its
                                                                                   4.61    2.96    1.64     4.44   3.59    0.85          ...
     mission and values
                                                                                                                                         ...
  7 This institution im.oll.es its emoloYees in olannina for the future
  8 This institution olans carefully
                                                                                   4.46
                                                                                   4.50
                                                                                           2.44
                                                                                           2.61
                                                                                                   2.02
                                                                                                   1.90
                                                                                                            4.43
                                                                                                            4.51
                                                                                                                   3.10
                                                                                                                   3.13
                                                                                                                           1.33
                                                                                                                           1.39
                                                                                                                                      NS
                                                                                                                                      NS ......
  9 ·n,e leadership of this institution has a clear sense of numose
 10 'This institution does a good iob of meeting the needs of its faculty
                                                                                   4.64
                                                                                   4.42
                                                                                           2.71
                                                                                           2.78
                                                                                                   1.94
                                                                                                   1.64
                                                                                                            4.59
                                                                                                            4.42
                                                                                                                   3.33
                                                                                                                   3.25
                                                                                                                           1.26
                                                                                                                           1.17
                                                                                                                                      NS
                                                                                                                                      NS ......
 11 This institution does a aood iob of meetina the needs of staff
 12 This institu1ion does a good job of meeting the needs of administrators
                                                                                   4.46
                                                                                   4 .14
                                                                                           2.65
                                                                                           3.27
                                                                                                   1.81
                                                                                                   0.87
                                                                                                            4.43
                                                                                                            4.21
                                                                                                                   3.14
                                                                                                                   3.68
                                                                                                                           1.29
                                                                                                                           0.53
                                                                                                                                      NS
                                                                                                                                      NS ...
 13 ·niis institution makes sufficient budgetary resources available to
     achie1.e im.oortant obiectiws
                                                                                   4.59    2.41    2. 17    4.48   3.17    1.31       NS ...
 14 This institution makes sufficient staff resources available to achie1.e
                                                                                   4.57    2.45    2.12     4.41   3.10    1.30        . ...
     imoortant obiectiyes
 15 'There are effecti1.e lines of communication between departments               4.58    2.28    2.30     4.48   2.79    1.69       NS ...
                                                                                                                                         ...
 16 ,Administrators share information reoulartv with faculty and staff             4.58    2.56    2.02     4.49   3.11    1.37       NS
 17 ·There is good communication between the faculty and the
    .administration at this institution
                                                                                   4.55    2,59    1.96     4.47   3.08    1.39       NS      ...
 18 'There is good communication between staff and the administration at
     this institution
                                                                                   4.50    2.62    1.88     4.44   3.07    1.38       NS      ...
 19 Faculty take pride in their work                                               4.75    3.94   0.81      4.65   3.90    0.75       NS      NS
 20 Staff take pride In their work                                                 4.68    3.82   o.8S      4.61   3.83    0.78       NS
                                                                                                                                              ...
                                                                                                                                              NS
 21 Administrators take oride in their work
 22 'There is a soirit of teamwork and coooeration at this institution
                                                                                   4.59
                                                                                   4.63
                                                                                           3.38
                                                                                           2.50
                                                                                                  1.22
                                                                                                  2. 13
                                                                                                            4,58
                                                                                                            4.56
                                                                                                                   3.76
                                                                                                                   3.08
                                                                                                                           0.82
                                                                                                                           1.47
                                                                                                                                      NS
                                                                                                                                      NS  .......
                                                                                                                                          ........
                                                                                                                                                   ..,
 23 ·The reoutation of this institution continues to imoro1.e                      4.56    2.40   2. 16     4.57   3.40    1. 17      NS
 24 'This institution is well-resoected in the communitv                           4.63    3.35   1.28      4.63   3.61    1.02       NS
 25 Efforts to lmoro1.e aualitv are oavino off at this institution                 4.52    2.51   2.00      4.49   3.35    1. 14      NS
 26 Employee suaaestions are used to improw our institution                        4.43    2.32   2.12      4.37   2.99    1.38       NS
 27 'This institution consistently follows clear processes for selecting new
    ,emoloYees
                                                                                   4.60    2.28    2.32     4.41   3.16    1.25        .. ...
 28 'This institution consistently follows clear processes for orienting and
    ·training new employees
                                                                                   4.51    2.22   2.29      4.43   3.08    1.35       NS  ...
 29 'This institution consistently follows clear processes for recogniz ing
    ,emclovee achie1.ements
                                                                                   4.35    2.60    1.76     4.25   3.14    1.11       NS      ...
 30 'This institution has written procedures that clearly define who is
    1resnnnsible for each ooeration and ser\ice
                                                                                   4.35    2.42   1.93      4.34   3.11    1.24       NS      ...
• Statistical significance is defined in notes at the end of this report.

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This Campus Culture and Policies section of the survey included an open-end question that read: "Please provide any
additional feedback about the campus culture and policies at Manchester Community College." Seventy-eight comments
included the following representative examples, presented in random order.

    1.    Morale is very low, leadership is unqualified, quality of service to students is deteriorating
    2.    The misery of a few constantly attempts to devour the joy and happiness of many. How sad this place has
          become. It is often dreadful to attend meetings and watch people with years-long vendettas against colleagues
          long gone still spew hatred around and incite paranoia in others who have no recollection of, or concern for
          imagined ancient history. Many of us would simply like to look forward to the fut ure w ithout the baggage of a
          past we were never part of, if it even existed.
    3. The college consolidation is affecting the morale of staff and creates additional stress. However, overall, I feel
       that MCC is a very nice environment to work in and the majority of employees are positive and helpful.
    4. Unfortunately, it is a very uncertain environment and culture at MCC. There is a growing lack of respect and
          professionalism among all layers from the top down which is becoming very toxic and am disheartened to see
          this decline and really want to see us get back to where we were.
    5.    Leadership starts at the top. There seems to be a culture of vindictiveness and negative pay back in the future.
          Rather, if the current CEO and academic dean were comfortable in their respective roles I don't think this would
          be the case. We as an academic community should be able to disagree respectfully and not worry about future
          retaliation. Everyone should be able to express their view. It is imperative that a national search be conducted
          when these two positions become permanent. Under no circumstances should the two individuals slide into
          these very important positions without a thorough search.
    6.    The campus culture has been on the decline for several years as a direct result of poor leadership that operates
          with virtually no faculty and staff participation and with little transparency. The leadership has been enforcing
          the BOR directives with campus input, imposing the BOR goals to replace the MCC goals that had been carefully
          developed under the guidance of the Strategic Planning Committee and endorsed by all stakeholders of the
          college.
    7.    Morale is at an all t ime low. No one is defending "back office" staff whose jobs are being eliminated in the
          coming years, even if the change is bad, gets rid of the best, most skilled employees. Money being spent on
          improving student technology that could improve student learning on innovative solutions are being diverted
          into projects that have no benefit for the student or won't be funded.
    8.    The leadership at MCC is exclusive, secretive, and vindictive. Those who openly disagree or challenge the ideas
          from leadership are retaliated against in direct and indirect ways. I am deeply concerned about the direction this
          college is taking. Staff and faculty morale is the lowest I have seen because of consolidation and because the
          vacuum this change has created in leadership. There are several Interim positions being held by people who
          seriously lack experience for their positions. I have no confidence in those who are currently in charge.
    9.  Policies and procedures have been very unclear and changing each time we have new interim administration in
        place. Communication of these changes in policies, procedures and staff/faculty responsibilities has been
        unclear. Current campus culture is much less about teamwork and much more competitive and vindictive in
        nature. I would say we have a very negative campus culture amongst the employees right now.
    10. The mere suggestion that this survey take place shows how far off we are from the true mission of the
          institution. Our efforts could be best served actually focusing on students' satisfaction, but there is no demand
          for that survey.



The Ruffalo Noel Levitz Guide for Using Open-End Questions is included on the last page of th is report.


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ISection 2: Institutional goals
 Respondents are presented with st atements describing a set of inst itutional goals and asked to rate how important it is
 to them that the institution pursues each of the goals. A five-point Likert rating scale is used for importance.
 Respondents are then asked t o choose three goals from the list that they believe should be the institution's top
 priorities and then indicate which of the three goals is their first priority goal, their second priority goal, and t heir third
 priority goal.

  Section 2: Institutional Goals
                                                                              Manchelller
  RATE: IMPORTANCE (1               ="Not Important at all/ 5 ="'Very         Community         Comparteon
  Important;                                                                   College            group
                                                                                Mean              Mean          Slan dlff
  A) Increase the enrollment of new students                                          4.50             4.46                 NS
  B) Retain more of its current students to graduation                                4.62             4.71                 NS
  C) Improve the academic ability of entering s tudent classes                        4.29             4 .37                NS
  D) Recruit students from new geographic markets                                     3.67             3.74                 NS
  E) Increase the diversity of racial and ethnic groups represented
                                                                                      3.80             3.71                 NS
  among the student body
                                                                                                                            .....
  F) Develop new academic programs
  G) Improve the quality of existing academic programs
                                                                                      3.56
                                                                                      4.39
                                                                                                       3.90
                                                                                                       4.53                   .
                                                                                                                            ....
  H) Improve the appearance of campus buildings and grounds                           3.34             3.82
  I) Improve emp loyee morale                                                         4.70             4.58                 NS

  Section 2: Institutional Goals
                                                                              Manchester        Manchesler
                                                                              Community         Community      Compartmn            Compartaon
  TOTAL "VOTES" FOR EACH GOAL
                                                                               College           College         group                group
                                                                                TOTAL            Percent         TOTAL               PERCENT
  A) Increase the enrollment of new students                                           52               17%           13,948               22%
  B) Retain more of its current students to graduation                                 81               27%           16,721               26%
  C) Improve the academic ability of entering student c lasses                         40               13%            5,692                9%
  D) Recruit students from new geographic markets                                           9           3%             1,448                2%
  E) Increase the di~ity of racial and ethnic groups represented
                                                                                            7           2%             1,353                2%
  among the student body
  F) Develop new academic programs                                                          8           3%             4 ,375               7%
  G) Improve the quality of existing academic programs                                 35               12%            9,931               15%
  H) Improve the appearance of campus buildings and grounds                                 2            1%            1,803                3%
  I) Improve employee morale                                                           64               21%            9,397               15%
 All responses                                                                        298              100%          64,668               100%

 • Statistical significance is defi ned in notes at the end of this report.




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Section 2: Institutional Goals included two open-end questions. The first reads: "What other institutional goals do you
think are important?" Fifty-one comments included the following representative examples, presented in random order.

    1. Hire permanent campus leadership! Not having this leads to greater instability and the inability to pursue all the
       goals identified above.
    2. Transparency and communication between the leadership and faculty/staff
    3. Employees are being asked to continually do more (more tasks) with fewer resources most importantly
          sufficient numbers of employees and money for our programs in order to keep our academic standards high. If
          employees don't feel that their concerns about being "heard" and how difficult it currently is to maintain their
          sanity, their will be fewer people volunteering for "extra duties and tasks". Let the administrators pick up the
          slack-after all they are compensated much better than the rest of the employees.
    4. Manchester Community College is first and foremost an academic institution. Our primary goal should be a
       commitment to academic excellence. Our second goal should be to support students so that they are able to
       complete their academic programs. Our third goal should be to improve employee morale, and one of the best
       ways to achieve this goat is by strengthening the institution's commitment to shared governance.
    5.    I do believe the college should make efforts towards improving climate culture but that is not their job. It is up
          to the college community as a whole to do that. And there are individuals unwilling to do this.
    6.    Recruit qualified and experienced educators in to leadersh ip positions at the college.
    7.    Reduce anxieties of employees through the process of consolidation with support and clear communication
    8.  Pay equity and promotional opportunities for adjuncts
    9.  Assessment is a complete waste of time. You can do all the assessment you want, but without good faculty, the
        teaching will still be bad. Conversely, a good instructor does not need " assessment" to make them a good
        instructor.
    10. Balance state higher edu budgets by closi ng down 1-3 underperforming CC's. We must revamp and re-double
          efforts to marketin~ our college's programings, offerings, and success stories to the greater community. We
          have a fantastic product, but there is so much competition clamoring for our students and their tuition dollars.
          We must increase advertising to improve community awareness!

A second open-end question in this section reads: "Please provide any additional feedback about Manchester
Community College's goals." Thirty-six comments included the following representative examples, presented in random
order.

    1. I feel that retention is the key for MCC to show their success as a college.
    2. I am not sure that I fully understand what the real goals of the college are today. Of course maintaining student
          numbers, staff and funding are always a goal. But I would like to be informed about the challenges that
          administration is facing, in detail, and be trusted enough to try to be a part of the solution.
    3.    There is still time to overhaul the strategic planning process to make it more relevant to the day-to-day work of
          the college, and just not a list that is reviewed once or twice a year. It should be a living document.
    4. Create an environment of stability so employees are engaged and invested. Administration must be more visible
       on campus! Simply popping into an office to say hello would increase feelings of caring and connectedness.
    5. The new goals instituted at the college do not include Academic Excellence. Instead, the focus is on meeting
       IPEDS indicators for success. This is troublesome since student success is a result of many things including strong
       teaching. This is not reflected in the new goals and is very troubling.



The Ruffalo Noel Levitz Guide for Using Open-End Questions is included on the last page of this report.


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                                                                Manchester Community College
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 Section 3: Involvement In planning and decision-making

 Respondents are presented with a list of types of individuals (faculty, staff, deans, trustees, alumni, etc.) and asked to
 rate how much involvement each type of individual has in the planning and decision- making process at the inst itution. A
 five-point Likert rating scale is used for involvement.

 The average ratings suggest staff, students and faculty do not have enough involvement in planning and decision
 making; and senior administrators have too much involvement.

  Section 3: Involvement In planning and decision-making
  RATE: INVOLVEMENT                                                                  Manchester
                                                                                                   Comparison
  (1 = '"Not enough Involvement" /                                                   Community                   Sign
                                                                                                     group
  3 = "Just the right Involvement"/                                                   College                     diff
                                                                                                     Mean
  5 = "Too much lnvolvemene.)                                                          Mean
  How imoh,ed are: Faculty                                                                  2.51          2.67     NS
  How in\.Olved are: Staff
                                                                                                                    ..
                                                                                                                   tt1'
                                                                                            1.99          2.35
 How in"°lved are: Deans or directors of administrative units                               3.61          3.36
 How in"°l-.ed are: Deans or chairs of academic units                                       3.41          3.30     NS
 How in\.Olved are: Senior administrators
                                                                                            3.97          3.76       •
 (VP, Pro-..ost level or above)
 How in1.0l-..ed are: Students                                                              2.14          2.32       .
 How inl.01-..ed are: Trustees                                                              3.33          3.24     NS
 How in-..ol-..ed are: Alumni                                                               2.43          2.50     NS

 • Statistical significance Is defined in notes at the end of this report.




I Section 4 Work environment
 Respondents are presented with statements and asked to rate their importance to them as employees and then to rate
 their satisfaction. A five-point Likert rating scale is used for both importance and sat isfaction.

 Strengths - higher average importance ratings and higher average satisfaction ratings:

       •    The type of work I do on most days is personally rewarding
      •      I am proud to work at this institution
       •    The work I do is valuable to the institution
       •     I have the information I need to do my job well
      •     The employee benefits available to me are valuable

 Opportunit ies - lower average satisfaction ratings, or a larger gap between importance and satisfaction ratings:

      •     It is easy for me to get information at this institution
      •     My department has the budget needed to do its job well
      •     My department has the staff needed to do its job well




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                                                              Manchester Community College
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Largest differences vs. MCC's 2015 results include:

      •    Increased importance of " My department or work unit has written, up-to-date objectives" and
           "My department meets as a team to plan and coordinate work".
      •    Increased importance and satisfaction with " I am comfortable answering student questions about institutional
           policies and procedures"
      •    Decreased satisfaction with several items:
           ► My supervisor pays attention to what I have to say
            ►     My department has the budget needed to do its job well
            ►     My department has the staff needed to do its job well
            ►     I have adequate opportunities for advancement
            ►     The work I do is appreciated by my supervisor
            ►     The work I do is valuable to the institution



Section 4: Work environment
                                                                                     Manchester
                        RATE IMPORTANCE
                                                                                  Community College       Comparf90n group
             =                                      =
          (1 •Not Important at all"/ 5 -Very Important")
                                                                                       2019                                      IMP    SAT
                        AND SATISFACTION
              =                                     =
            (1 "Not •lllfled at all"/ 5 -Very salllfied"}                          IMP SAT
                                                                                  Mean Mean       GAP
                                                                                                          IMP  SAT
                                                                                                          Mean Mean      GAP
                                                                                                                                 Sign
                                                                                                                                 Dlff
                                                                                                                                        Sign
                                                                                                                                         diff
It is easv for me to aet information at this institution
I leam about important campus events in a timely manner
                                                                                    4.57
                                                                                    4.20
                                                                                           2.88
                                                                                           3.21
                                                                                                   1.69
                                                                                                   0.99
                                                                                                           4.49
                                                                                                           4.22
                                                                                                                  3.27
                                                                                                                  3.51
                                                                                                                          1.22
                                                                                                                          0.71
                                                                                                                                   NS
                                                                                                                                   NS       ....
                                                                                                                                           **•
I am empowered to resolve problems quickly                                          4.52   3.08    1.44    4.43   3.38    1.05     NS
I am comfortable answering student questions about institutional
                                                                                    4.34   3.38    0.96    4.24   3.52    0.72     NS      NS

                                                                                                                                                ..
policies and orocedures
I have the information I need to do my job well                                     4.68   3.44    1.24    4.61   3.66    0.95     NS
                                                                                                                                   NS
My job resoonsibi lities are communicated clearly to me
My super.isor pays attention to what I have to say
                                                                                    4.56
                                                                                    4.58
                                                                                           3.46
                                                                                           3.41
                                                                                                   1.10
                                                                                                   1.16
                                                                                                           4.57
                                                                                                           4.60
                                                                                                                  3.72
                                                                                                                  3.91
                                                                                                                          0.85
                                                                                                                          0.68     NS      ....
My super.isor helps me imorove my iob oerformance
My deoartment or work unit has written. uo-to-date obiectilA:lS
                                                                                    4.47
                                                                                    4.37
                                                                                           3.23
                                                                                           3.25
                                                                                                   1.25
                                                                                                   1.12
                                                                                                           4.47
                                                                                                           4.26
                                                                                                                  3.76
                                                                                                                  3.58
                                                                                                                          0.70
                                                                                                                          0.68
                                                                                                                                   NS
                                                                                                                                   NS       ..
                                                                                                                                           **·
MY deoartment meets as a team to olan and coordinate work                           4.42   3.46    0.97    4.36   3.68    0.68     NS
                                                                                                                                           ...
                                                                                                                                           NS
Mv deoartment has the budaet needed to do its job well
My department has the staff needed to do its job well
                                                                                    4.57
                                                                                    4.62
                                                                                           2.59
                                                                                           2.40
                                                                                                   1.98
                                                                                                   2.22
                                                                                                           4.52
                                                                                                           4.57
                                                                                                                  3.08
                                                                                                                  3.04
                                                                                                                          1.43
                                                                                                                          1.52
                                                                                                                                   NS
                                                                                                                                   NS      ...
I am paid fairly for the work I do                                                  4.54   3.30    1.24    4.56   3.12    1.44     NS      NS
The emolovee benefits available to me are valuable                                  4.53   3.87    0.66    4.58   3.86    0.73     NS      NS
I have adeauate oooortunities for advancement                                       4.34   2.82    1.52    4.25   3.02    1.23     NS      NS
I have adeauate oooortunities for training to improve my skills                     4.40   3.23    1.17    4.40   3.40    1.00     NS      NS
I have adeauate onnortunities for professional development                          4.37   3.27    1.10    4.37   3.44    0.93     NS      NS
The tyne of work I do on most days is personally rewarding
The work I do is aooreciated by my suoer.isor
                                                                                    4.65
                                                                                    4.46
                                                                                           4.11
                                                                                           3.46
                                                                                                   0.55
                                                                                                   1.00
                                                                                                           4.58
                                                                                                           4.46
                                                                                                                  4.10
                                                                                                                  3.90
                                                                                                                          0.48
                                                                                                                          0.56
                                                                                                                                   NS
                                                                                                                                   NS      .....
                                                                                                                                           NS

The work I do is valuable to the institution
I am oroud to work at this institution
                                                                                    4.63
                                                                                    4.65
                                                                                           3.66
                                                                                           3.81
                                                                                                   0.97
                                                                                                   0.85
                                                                                                           4.56
                                                                                                           4.56
                                                                                                                  3.96
                                                                                                                  4.09
                                                                                                                          0.60
                                                                                                                          0.47
                                                                                                                                   NS
                                                                                                                                   NS       ..
• Statistical significance is defined in notes at the end of this report.




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                                                 Manchester Community College
                                            2019 College Employee Satisfaction Survey
                                   ••• DRAFT FOR INTERNAL USE AND DISCUSSION ONLY***
                                                               July 2019

Section 4: Work Environment includes an open-end question reading: "Please provide any additional feedback about the
work environment at Manchester Community College." Fifty comments included the following representative examples,
presented in random order.

    1.    Having worked on other teams that did not function well, I am appreciative that I work with a group of people
          who support each other and are rowing in the same direction, while holding each other accountable. I know
          that other offices that function as well, and I feel badly that some of my colleagues, while working at the same
          instit ution, work in dysfunctional environments.
    2. The work environment has changed drastically in the last few years and it has only gott en worse and worse. I
       don't have the support from my supervisor, my union, or any administration. There is no communication,
          direction or even understanding of where we are going now that the implementation of the students first plan
          has moved forward. People are scared for their jobs and uncertain about the future of MCC.
    3.    I used to be happy to work here. The job was rewarding, new things could be done. I had the ability to do what I
       needed to do the job. I used the skills I gained well and gained new skills frequently. The environment in higher
       education was worth not making as much as one could in the private sector. That is no longer the case. Coming
       to work every day is now depressing and difficult. As the consolidation continues, it gets worse. We are not
       treated well by the CSCU system down to the level of threats if not being on board with the vision.
    4. Faculty and staff morale is very low and satisfaction with the college administration and leadership is very low.
       Most faculty try to focus on their students as much as possible because there is no satisfaction elsewhere.
    5. Overall is a positive environment with the exception of disgruntled racially insensitive individuals.
    6. The cultural demise brought on by consolidation makes working here painful, frustrating and stressful. What a
       massive difference from before this poorly conceived and executed disaster was instigated.
    7.    The specter of consolidation is destroying this institution. What was once a great college is now a shell. There is
          a culture of disrepect among faculty and staff, and it is undeniably being felt by prosepetive and current
          students. The quality of our programs has deteriorated, and there is no innovation. The wrong people are in key
          positions, and they are keeping us from moving forward. The CEO is doing the best she can with what she has to
       work with, but there needs to be a major shake-up in all areas of the college. Most importantly, employees need
       to be held accountable for their areas, with defined goals and objectives.
    8. Not enough invitations/opportunity to be involved in strategic initiatives, departmental planning and updates
    9. Morale at the college is very low. I work very hard with little support or recognition from leadership. lfone is not
          part of the inner circle, one does not get attention or support. There is a clear relationship between proximity to
          power and access to resources and supports.
    10. We have an outstanding institution. let's keep it that way. It is a shame what took so long to build is being
        dismantled quickly and in an uncaring fa shion. I genuinely care about MCC and its reputation. Leadership at the
        top needs to change. A more qualified person should be in the CEO position.



The Ruffalo Noel Levitz Guide for Using Open-End Questions is included on the last page of this report.




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                                                Manchester Community College
                                           2019 College Employee Satisfaction Survey
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I Global satisfaction
 In addition to these sections the survey includes a global satisfaction it em ("Rate your overall satisfaction with your
 employment here so fa r") using the same 5-point Likert satisfaction scale not ed above.

 In 2015 the average overall satisfaction rating was 3.84 vs. a comparison group mean of 3.90.



  Overall satisfaction                           Manchester          Comparison
                                                 Community             group       Sign
                                                College Mean           Mean        diff
  Rate your o-.erall satisfaction with your
  employment here so far:
                                                             3.50           3.85     ---

I Demographics
 The MCC employees responding to the survey described themselves as shown below.

  Section 5: Dem~raphlcs
                                                                     Manchester
                                                 Manchester
 How long have you \IIOrl(ed at this                                 Community     Comparison   Comparison
                                                 Community
 institution?                                                         College        group         group
                                                College Count
                                                                      Percent        Count        Percent
  Less than 1 year                                              1             1%          1,938           9%
 1 to 5 years                                                  21           18%            6,795          30%
 6 to 10 years                                                 24           21%             5,173         23%
 11 to 20 years                                                43           37%             5,931         26%
  More than 20 years                                           26           23%             2,695         12%
 All responses                                               115           100%            22,532        100%
                                                                     Manchester
                                                 Manchester
                                                                     Community     Comparison   Comparison
 Is your position:                               Community
                                                                      College        group         group
                                                College Count
                                                                      Percent        Count        Percent
 Faculty                                                       62           55%           9,905          45%
 Staff                                                         44           39%            10,379         47%
 Administrator                                                  7            6%             1,920          9%
 All responses                                               113            100%       22,204        100%
                                                                     Manchester
                                                 Manchester
                                                                     Community   Comparison   Comparison
 Is your position:                               Community
                                                                      College      group         group
                                                College Count
                                                                      Percent      Count        Percent
 Full-time                                                     84            76%       18,260          83%
 Part-time                                                     27           24%             3,833         17%
 All responses                                               11 1          100%            22,093        100%




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                                                  Manchester Community College
                                             2019 College Employee Satisfaction Survey
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                                                                 July 2019

Notes on Significance Testing

Significance Definitions and Levels
The significance level for Importance is a result of comparing your institution's average importance score
to the comparison group's average importance score. Likewise for the Satisfaction score. The result is
Obtained by running an ANOVA (analysis of var1ance) on the two scores. The result you see is snoWing
you the level of significance. or the p-value.

NS = no significant difference exists between the groups.

One astertsk = a p-vaJue of .05, meaning that the two scores are significantly different and such a
difference would only be due to chance 5% of the time.

Two astertsks = a p-value or .01 , meaning ltlat the two scores are significantly different, anci sucn a
difference would only be due to chance 1% of the time.

Finally, three asterisks = a p-value of .001, meaning that the two scores are significantly different, and
such a difference would only be due to chance o.1% of the time.
                                                                                                             C

Notes on Open Ends


                                                                                                  RUFF/\LO-
                                                                                                  NOEL LEVITZ

        Guide for Using Open-end Questions

            •   Use the quantitative results {numeric) as the only source for key findings and strategies. Once
                those key findings are known, in particular strengths and challenges/opportunities for change
                {nigh importance/low satisfaction OR highest gaps). read through the open- ends and pull only
                those that might have some relation to the quantitative as potential suggestions, but do not treat
                any open-encl as being anything but one person's opinion.

            •   The open-ends are qualitalive (similar to a focus group) and not everyone p-ovides answers; they
                are not statiStically sound. Do not share them pubHcly. Most campuses only allow review by a
                trusted executiVe team and/or Human Resources.

            •   TIie open-ends allow employees to vent pent up frustration so do not be surpriSe<l if some are
                controversial.

            •   The open-ends can proVide helpful suggestions of quicx ·just do tr nxes and other longer-tenn
                ideas that might require moce resources and planning.

            •   The open-ends can proVide insight into problem areas that need further investigation (additional
                interviews or a survey Item for next time to test it more broadly.)

            •   It is important to highlight any suggestions that are implemented that came from employee Input.
                to Show that the survey results were used and helped.




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                EXHIBIT 3




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                                               Manchester Community College
                                               Fall 2020 Campus Climate Survey
                                             DRAFT RESULTS REPORT Oec-17, 2020

MCC f ielded a campus climate survey for faculty and staff during November 2020. The invitation to participate was sent
via MA-Allpoints, and three reminders were sent over the next week. In total, the survey was open for about twelve
days.

Respondents

There were 162 responses from faculty and staff. FT Faculty and FT Staff were the most common self-identified
positions. There were a significant number of PT respondents as well.


                                               MCC Position of Respondents
                            70            64
                            60
                                                                         48
                            50
                            40




                                                                       I
                            30                            25
                                                                                        20
                            20
                            10
                             0

                                  FT Faculty PT Faculty
                                                         I           FT Staff      PT Staff

                                 Is l,!OUr Qrima[ll MCC QOSition:               Count      ~
                                  Facul ty                                         90    56%
                                  Staff                                            70    43%
                                  (blank)                                           2   1%
                                 Grand Total                                      162 100%

                                 Which best describes l,!OUr work l ogitiQn
                                 since the Fall 2020 semester began?            Count        ~
                                  Spl itti ng time between working on-campus
                                  and from home                                    51    31%
                                  Working from home all or most of the time        99    61%
                                  Working on campus all or most of the time        11        7%
                                  (blank)                                           1        1%
                                 Grand Total                                      162 100"/4


                                 Is J'.OUf Qfima[ll MCC QOSition:2              Count        ~
                                  Full time                                       113    70%
                                  Part time                                        45    28%
                                  (blank)                                           4     2%
                                 Grand Total                                      162 100"/4


                                 How long have l,!OU worked at MCC?             Count         ~
                                  less t han one y ear                              3        2%
                                  1-5 years                                        29    18%
                                  6-l0years                                        39    24%
                                  11-20years                                       61    38%
                                  20 or more years                                 26    16%
                                  (blank)                                           4        2%
                                 Grand Total                                      162 100"/4



                                                                                                                      1
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                                                Manchester Community College
                                                Fall 2020 Campus Climate Survey
                                              DRAFT RESULTS REPORT Dec-17, 2020

Satisfaction and Feeling Connected

Part time employees and those spending some time working on campus reported higher levels of overall satisfaction.

                                 Your overa ll satisfact ion with your employment at MCC

                                    Staff                                                               2.9
                                 Faculty                                                                2.9


                             on campus                                                                    3.0
                             from home                                                             2.8
                          Splitting time                                                                      3.1


                               Part ti me                                                                       3.3
                               Full time                                                           2.7


                             20 or more ...                                                               3.0
                            11-20 years                                                                   3.0
                             6-10 years
                               1-5 years                                                                2.9
                                             0.0   05       10       IS     20         25           3.0          35

                                        very            somewhat                              somewhai:                 very
                                        dis -             dis -           neui:ral            sai:i sf i ed           satisf i ed
                                    s atisfie d         s a t isf i ed




                                    How connected you feel to the college and t he MCC
                                                                 communitl
                                    Staff                                             2.3
                                 Faculty                                             2.2


                             on campus                                                     2 .4
                             from home                                               2.2
                          Splitting t ime                                             2.3


                               Par t ti me                                           2.2
                               Fu ll time                                             2. 3


                             20or more ...                                       2.2
                            11-20 years                                                           2.7
                             6-10 yea rs                                  1.7
                               1-5 yea rs                                        2.1
                                             Oll                                                    J.O                   4.U

                                        very            somewhat                              somewhat                  very
                                        dis-              dis-            neutra l            satisfied               satisfied
                                    satisfied           sat i s f ied




                                                                                                                                    2
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                                                   Manchester Community College
                                                   Fall 2020 Campus Climate Survey
                                                 DRAFT RESULTS REPORT Dec-17, 2020

Staff generally gave slightly higher ratings than faculty to questions about satisfaction with personal and department
effectiveness and communication.

                                                              Satisfaction Ratings

                                   Your
                             effectiveness in                                                           3.1
                             your role, given
                                  COVID ...
                                   Your
                              department's                                                            3.1
                              effectiveness,
                                                                                                                     ■ Staff
                               given COVID...
                                                                                                                     ■ Faculty
                             Communication                                                        2.9
                               from MCC
                                 leaders

                               Response to
                              COVID related                                                     2.8
                              challenges to
                             communication
                                                o.o    0.5      1.0     1.s     w       2.5      rn           3-S       4-0

                                          very                somewhat                        somewhat                very
                                          dis-                  dis -         neutral         satisfied             satisfied
                                       satisfied             satisfied




Most faculty and staff were reported that the culture of diversity and inclusion was about the same as six months ago.
The average rating was 3.2 for both groups.


                                  Do you feel that the campus culture of diversity
                                    and inclusion has changed over the past six
                                                                      months?
                     60%
                     50"/4
                     40%

                     30"/4




                                                                                                            I.
                     20%



                                                            I■
                     10"/4
                      0%
                                                  Faculty                                         Staff

                                    1 Less Inclusive    • 2    ■ 3 About the Same       ■4     ■ S More Inclusive




                                                                                                                                 3
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                                                 Manchester Community College
                                                 Fall 2020 Campus Climate Survey
                                             DRAFT RESULTS REPORT Dec-17, 2020

Most faculty and staff reported there was no change in their job satisfaction vs. si>< months ago. The average rating for
faculty was 2.6, and a slightly higher 2.9 for staff.


                                    Do you feel your job satisfaction today has
                                          changed over the past six months?
                       40%
                       35%
                       30'X,
                       25%
                       2Cf/4




                                                                                                         I.
                       15%
                       lCf/4
                        5%
                        0%
                                              Facult"Y                                           Staff

                                     1 Less Siltisfied   • 2   ■   3 No Change   ■   4   •   s More satisfied



There were four open-ended questions on the survey.

What resources does your unit need to be more effective in the conte><t of COVID precautions?

    •   Key themes were related to PPE, COVID policies, technology and t raining for faculty and students,
        communication, and leadership.

What could MCC do to help you or others feel more connected to the college and MCC community?

    •   Key themes were related to communication, events, and d ifferent types of communication

Looking forward over the next year, what MCC-related issues are you particularly concerned about?

   •    Key themes were related to consolidation, enrollment, budget and COVID. Faculty had more mentions of
        consolidation and enrollment concerns, staff had more mentions of staffing levels and leadership.

What could MCC do to improve communication?

    •   Key themes were relat ed to more communication, events, transparency, clarity, and division meetings. Staff had
        more references to events and division/dept meetings. Faculty had more references to staffing changes and
        COVID information.




                                                                                                                            4
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                                      Manchester Community College
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                                                            when the information is not widely
What resources does your unit need to be
                                                            disseminated and faculty are interfacing
more effective in the context of COVID
                                                            with students). Better tools for planning -
precautions?
                                                            hard to determine what class formats are
1.    Ability to hold on ground labs by providing            ideal for students, what courses students
      proper PPE to students and faculty willing             need w ithout alot of t ime and effort spent
       to take cou rses.                                     to try and manually collect information.
2.     Access to campus!!!                               12. Bettwr communication and transparency
3.     Access to PPE; Regular cleaning of spaces;        13. Cameras on computers on campus and
       This may not fit the questions, but it a              audio. I have to use my iPhone for meetings
       COVID induced resource ..teaching                     when I am on campus. I have no audio
       remotely, I am going through reams of                 coming out of my computer.. I know my
       paper and ink on my home printer. While               supervisors have been asking for this
       worked is post ed and submitted in TEAMS,             equipment since July.
       t he volume to read on line is TOO much,          14. Clear and timely information about policy
   thus the printing.                                        and practices. Updates to operations that
4. Access to the classroom to record lectures                acknowledge and accommodate employees
   for students with the materials we have in                who are working at least partially from
       person                                                home. Information about changes in
 5.    Additional Face Shields                               reporting lines, Ploy ease, structure
 6.    Additional resources to meet the needs of             changes, even if not (OVID-related.
       remote learners if we continue to push for        15. dear direction from the administration
        more remote classes.                                 about what technology resources are
 7.     Advertising to increase enrollment in                available to our student, like will financial
        program                                               aid cover the cost of a la'ptop sufficient to
 8.     Ail employees to work remotely.                       run game and Adobe software, student
 9.     As far as materia l resources we have been            licenses for Adobe software, better on-
        very fortunate to have appropriate Ppe to             ground IT support at the time it is needed in
        continue with " hands on"academic learning            the classroom.
        objectives.. However, the expansive time it       16. Clearer guidelines and policies. It seems
        takes to facilitate these student learning            that each case that comes up has slightly
        objectives extends far beyond additional              different procedures. I realize these are
        responsibilities or the expected time one             often changing, but through conversations,
        would need to prep, teach and respond to              different faculty have received different
        students for a 3 credit class.                        directives from administration.
     10. Better Laptops not tablets                       17. College-provided computer that has video
     11. Better, more progressive tools for                   conference capabilities. When we relying on
         communication to students by program                  faculty/staff using personal equipment and
         (ability to use social media, etc.) Better            home internet, we get widely varying
         communication between student services                results.
         departments and faculty - e.g. what is being      18. Communication
         communicated to student s, what cha nges          19. Computers w ith video conferencing
         have been made (for example, faculty were             capability.
         not briefed on the new procedures for
         placement testing - this creates difficulties



                                                                                                              5

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                                       Manchester Community College
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   20. Continuous communication. Students are           33. Hot-line for everyone (MCC staff, faculty,
       asking for more and more accommodations              and students) who need info related to
       and extensions. Maybe some guidance how              COVID.
       to balance that and keep course on track.        34. I am teaching remotely. I do not think open
       Some faculty have full courses so they have          labs are realistic or fully available to
       more students and work load. It 's ideal, as         students who don't have at home
       we want courses at full capacity. But                resources.
       maybe some understanding that some               35. I believe that overall all ccs should be
       faculty have significant higher volume of            receiving same funds, support as CSUs
       students than others. So their ability to            regarding testing, contact tracing, funding
       contribute to tasks such as NECHE                    for IT support for hybrid courses, a better
       involvement may be more limited.                     understanding from administration of what
   21. Could use more in person training for Team,          is involved with delivery of vfa classroom
       Webex etc.                                           techniques especially concerning hybrid
   22. Covid Vaccine                                        models - they simply will not work without
   23. During these stressful times people need to          dedicated IT support & appropriate funding.
       know their job duties and do them, not pass      36. I don't give a flying fuck about covld and I
       them to someone else to do because they              wish I would stop getting 17 emails every
       are not working on campus. If they are not           day about it. People get sick. It happens.
       working on campus at all they still should be        We can't prevent it all and we need to stop
       able to do their job.                                thinking we can. Get back to teaching our
   24. Easily accesible and frequently updated              students as they deserve. As a "covid
       organizational charts for MCC and CSCU.              survivor" myself this overblown reaction is
   25. Effective, experienced leadership                    crippling our education system.
   26. Fewer email updates about the rising             37. I feel disconnected, but it may be because I
       numbers and more updates on actions                  am part-time. I feel going in once a week is
       being taken to ensure the community will             helpful so I can connect with a small
       be safer in the near future.                         number of co-workers.
   27. For now, BB Collaborate is not as effective      38. I have taught on campus all semester and
       as Zoom is, and this affects the quality of          have felt very safe. Scanning IDs has been
       teaching/learning.                                   very effective and the students have been
   28. full time instructors and academic advising          very respectful of each other and me.
       for students                                     39. I know the college is doing everything it can
   29. Full-Time Leadership                                 to increase and maintain contact with
   30. Funding for teachers and more students. I            students. I would be open to finding new
       was not offered a class next semester so all         and creative ways to engage students but I
       I have figured out about connecting with             am out of ideas. Specifically, I would love
       students online will be lost unless/until I am       some strategies to help reta in and
       rehired.                                             reinvigorate students. I suspect any work
   31. Generally adequate                                   that would help these students would also
   32. HEPA filters and ability to open doors to the        increase enrollment for the next semester.
       outside with some security measures in           40. I mainly work from home but when I do
       place.                                               come to campus once each week, I feel that
                                                            facilities and campus police are doing a




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      great job in providing needed safeguards,             related to grading policies and online
      signs, etc... Kudos to them!                          teaching policies.
  41. I think my department has been given the          52. Instead of weekly reports, there should be
      resources it needs to protect the health and          rea l-time reports of COVID occurrences on
      safety of the staff as well as the populations        campus.
      we serve. Informat ion about requesting           53. Just been informed on cases that we have
      PPE, etc. was a little slow/lacking during            on campus. Hot zones areas to stay away
      July/August, but by the start of fall classes         if possible !
      we had what we needed. I'm very pleased           54. Laptops students borrow from MCC should
      that safety and security on campus is being           be equipped with programs needed for
      taken seriously. Requiring photo IDs is a             their course; e.g. Lockdown Browser &
      great step forward.                                   Respondus for ALEKS courses.
  42. I think my unit has been doing its best.          55. Lately, there has been a lot of useful
  43. I think that the college adminsistration has          resources shared via email; therefore, I do
      been doing an excellent job navigating this           not have any suggestions at this time.
      challenging situation.                            56. Leadership
  44. I think we need a better, safer COVID policy      57. Limited hours of contact on campus.
      for on-campus classes. When a student is          58. Money - I want to be
      found to have COVID, the entire campus            59. More communication between lower level
      community should be immediately                       leadership.
      informed and that class should go online.         60. More consistency and training relating to
      also would like to see more technology help           use of virtual meeting tools.
      for students.                                     61. More direct communication with
  45. I think we need to work from home                     Administration. Yes, there are the policies
      completely without an expectation of being            that are given to us yet, they are not one
      on campus at all.                                     size fits all. Each case should lead to a
  46. I wish I knew. Resolution of some concerns            discussion and input from the department
      is simply a factor of time, learning and              that has a case.
      mastering technology.                             62. More disposable gowns
  47. I wish that I could continue using Zoom           63. More effective and up-to-date technology
      because I'm very comfortable with it                  in each classroom
  48. I would welcome any automation of                 64. More effective leadership that pays
      processes and procedures.                             attention to the needs of all faculty, staff,
  49. If forced to teach in person we would need            and students
      CDC recommended PPE paid for by the               65. More effective? Precautions? Don't know.
      college.                                              More effective? Students need computers
  SO. I'm pretty happy with my resources.                   and access to wifi and software for online
  51. Information provided further in advance               courses. More effective? A version of the
      w ith clear descriptions and centralized              Help Desk for students who need help with
      place to gather the information; more                 basic computer skills. More effective?
      support for students and more support for             More faculty training - technology,
      teachers in managing the needs of                     strategies, options relating to online
      students; policy clarification and changes            teaching. Precautions? On ground class
                                                            rooms need to be cleaned between classes.




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       Precautions? A designated place for              79. Our students need an intensive Commnet /
       students to eat on campus that is regularly          Email/ Blackboard introduction - this
       cleaned. What needs to continue? Access              should be mandatory for all incoming
       to on ground classrooms and facilities, so           students. Bring in faculty to help design
       students have a choice.                              this.
   66. More full time staff.                            80. Professional development opportunities for
   67. More help with online teaching.                      faculty and staff who are technologically
   68. more information to plan for the future,               deficient. Frankly, it's disturbing to see how
       classes to offer, definitive information on            technologically inept some of our
       which type of classes are preferred                    colleagues are and then to think of them
   69. More PPE supplies                                      teaching online courses. One online course
   70. More sharing of resources on how to teach            is a challenge, much less a full load.
       on.line effectively                              81. Provide staff with wipes, and masks when
   71. more specific message on exposed student.            possible. COVID testing provided on
       Some community colleges have a more                  campus.
       definitive message. If exposed 14 day            82. Refill positions
       quarantine and negative test then allowed        83. Regular communication
       into lab and clinical                            84. remote desktops for entire dept
   72. More staff                                       85. resources to address student's needs in
   73. New computers in the classrooms                      technology, assistance with fees, software,
   74. Nicole's coffee chats are great!                     supplies and textbooks
   75. Not able too attend meetings or LRON             86. Right now, we are an online university but
       classes on my work computer on the one               some units still function according to the
      day per week I am on campus. This is                    old model. Students need online student
      because there is not audio/camera. I was                support--advising, financial aid, registrar,
      provided a laptop recently and I bring that             disability services--available 6 days.
      to campus. Overall the transition to working            Students need email answered within 24
       from home has been good and I am                       hours. Faculty cannot address many of
       productive working from both my home                   these needs and are triaging outside their
       and work office.                                       areas to support students. Clarify div
   76. one to one training Blackboard Collaborate             coordinator position and be transparent in
       evenings or weekends                                   hiring for that position
   77. Our area was adversely affected prior to the     87.   Sanitation equipment
       pandemic and then Covid also impacted our        88.   Sharing of ideas on teaching live classes
       department incredibly hard. The current          89.   so far so good
       Administration seems to be working with us       90.   Software, tools, technology platforms that
      and I'm hopeful that as the virus is                  allow for me to engage with my target
      addressed and stopped the administration              audiences easier
      will meet with our department to fix the          91. Specific policies and procedures should
      curricular impacts imposed by the past                have been in place at the beginning of the
       interim administration.                                semester; while I understand the one on
   78. Our division needs a leader. It has been               one case analysis that is required, having a
       some time now since student affairs had a              plan in place would have been effective as
       Dean driving the ship.                                 cases started to be present on campus and




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      faculty were making decisions as they                Police Department (who is on the front-
      interpreted to the situation                         lines) for their continued and relentless
  92. Staff                                                efforts in keeping our Campus Community
  93. Staff willing to use phones more, as                safe.
      opposed to emails. With complex issues,          102.   The unit members can benefit from a
      email can be very inefficient and time              continued flexibility with work schedules for
      consuming.                                          the purpose of safety. When able,
  94. Structure guidelines                                 additional support re: human capital.
  95. Support for facu lty reflecting academic         103.   true n-95 masks for our allied health
      freedom and choices about how they want             students with fit testing Clearer guidelines
      to teach.                                           as to what to do when a students calls
  96. Technology support                                  asking for COVID guidance. Actual
  97. Technology support and hardware                     secretarial help help with purchasing
  98. Technology that works. When it does not          104.   We need better response and
      work access to someone who can help                 assistance from IT st aff on campus. It's
      ASAP. Please do not misunderstand this               often difficult to get simple answers to
      comment. The IT people have been                     questions and very difficult to get their help
      fabulous! With that said it has been non             on larger issues. Things often get thrown
      stop with technical challenges. I could write        back and forth between campus and BOR
      a volume giving you all the challenges. I'm          IT, sometimes for several months, until help
      not sure in this given situation you can do          is provided.
      anything to fix it. Some of it is my lack of     105.  We need more full time faculty and
      knowledge and often a lack of time to               fewer part time faculty.
      educate myself or trouble shoot the              106.    Working from home through flu season
      problems and get them fixed. Sometimes it            would be great. We really don't see
      is an ongoing technology troubles. An                students, so less going in / no going in till
      upgrade happens and files are missing,               March would be ideal.
      projectors don't work, computers don't           107.    Zoom would, in my opinion, be a better
      work. It has been very challenging. OK I             and more user friendly
      feel better now. Sorry for the rant. If I            conferencing/teaching tool than the
      think of a way to improve this besides               WebEX, Teams, and Ultra.
      adding staff, I'll let you konw.
  99. Temps at entrance- restaurants do it.
  100.    The availability of laptops for students
      has been wonderful. I hope this continues.
      An updated ventilation system should be a
      must, but I understand this is very
      expensive endeavor.
  101.   The MCC Management Team is doing a
     great job with making sure that the Campus
      Community is safe. I commend our CEO Dr.
      Nicole Esposito, Dean Jim McDowell,
      Interim Dean Dr. Fatma Salman, Interim
      Dean Angelo Simoni and the entire MCC




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 What could MCC do to help you or others feel         13. Communication
 more connected to the college and MCC                14. Commu nications has deteriorated
                                                          dramatically in the past six months.
 community?
                                                          Changes are being made at the college that
 1. Zoom. More information about how IT                  are not being shared. It appears that
    resources will be handled now that                   administrators don't know who does what,
    consolidation is under way. How many IT               and you're not paying particular attention
    staff are still on campus? What does the              to verbal or written information.
    help desk look like? Do we still have local           Misinformation is being shared regularly,
    people to repair computers? Who manages               And there is a lack of consistency in what is
    custom images for custom classrooms?                  being shared and with whom. This is what
 2. Actually MCC is doing a respectable job of            needs to be fixed.
    trying to keep us connected, it's just the        15. continue the CEO chats. Regular updates
     nature of the situation that is isolating.           about staffing changes/ reorganizations
 3. All classes that were on ground should be         16. Continue to mitigate bullying, harassment
     on ground . Students need to be on campus.           among staff members.
 4. Ask us how we're doing. What could be             17. Continue update emails to Campus
     done to support us. More regular                 18. Continue with "coffee chats" and Mary
     newsletters that pertain to student, faculty,        Lou's monthly meetings with coordinators
     and staff updates. Transparency around           19. Continue with faculty virtual meetings
     plans for the upcoming semester and              20. Department communication with adjuncts
     beyond. I am not receiving a lot of                  including virtual team meetings College
     informat ion from MCC. Or I am receiving a           wide programs (ie coffee hour/etc) offered
     blast of emails that are hard to weed                 after 4pm
       through.                                        21. Department Teams meetings on a regular
  s.   Attending open meetings has helped me               basis j ust for a check-in when no one in the
       feel connected to the college and my                department Is together on campus during
     colleagues.                                           this time.
  6. Being more transparent and openly address         22. Each department should have a skeleton
       the not so dormant issues around racism             crew through this pandemic all
     and classism's.                                       departments . ... because If a few people
  7. Better communication - less siloed                    get it or get exposed. wipes out your
     approaches to how each campus                          whole unit and then we can't offer services
     component does business                               that should be offered to st udents are
  8. Better communication with new positions -             required to come here.. The call make an
     knowing who and what departments do ...               appointment does not work because people
  9. Better communication within departments.              do not return calls or set it up, which I
      I am sure some are better than others.               have witnessed, it's very frustrating for t he
  10. Bring more staff & faculty back on ground-           students and when they're frustrated they
      schedule working days between on-campus               look elsewhere for their education !
       and from home.                                       Looking forward to the new CEO on her
   11. CEO Coffee Hour went really well, hosting            Ideas to get this place back where it was 5
       more in an effort to get people to connect           years ago!
       even virtually goes a long way.                  23. Faster response to common questions.
   12. Close the college's huge equity gaps



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  24. Feeling connected and feeling listened to           several other items I want to add but they
      are different things; I would focus on MCC          would likely break anonymity
      needs being heard and addressed by the           28. Given this virtual world, there are many
      system.                                              opportunities provided, it is up to the
  25. For the spring semester, we really need to           individual to engage. Once again time and
      attempt to have more on-campus activities.           the number of hours to n the computer can
      We have a vast campus with lots of outdoor           be a barrier.
     space. Let's try to come up with creative        29. Hard during pandemic - I miss seeing the
     ideas to safely connect with our students:           students.
     In-person advising with social                   30. Having regular, substantive updates from
     distancing/masks, etc. Some club meetings            the college leadership would be a welcome
     that are again, social distanced. Could use          change. I've been encouraged by the
     auditorium, GPA Community Commons,                   changes since July and hope it continues.
     Village buildings. Four year colleges are            Knowing the college's strategic objectives
     trying to come up with creative ways to              {both long and short-term) would help us to
     have more in-person events for spring. I             better focus/align our work and encourage
     think we should attempt to do the same.              a sense of shared connection and purpose.
     Our students are feeling isolated and            31. Here are a few thoughts: -Assemble a pool
     depressed. Even though our campus is                 of volunteers who would be interested in
     open, it feels shut down. Spring, especially         serving on problem solving committees and
     later spring, should bring more activity to          then enlist them to help as needed. Being
     the campus (safely, of course).                      part of a cross functional group tasked to
  26. Frequent communication; socialization               problem solve is very rewarding and
      events... maybe a call in " happy" hour             establishes connections outside of silos. -
      where folks could just socialize with each          Bring back "lunch buddy's".
      other.                                          32. Here's a thought: Let's consider EVERYONE
  27. Get people on campus. Even before COVID             having a photo of themself to use when
      the majority of faculty spent significantly         their camera is off. Not initials, not a
     less than their 35 hrs/week on campus. It            muppet or a superhero or favorite animal
     honestly made me angry every time I heard            but a photo of themself. (Even the one from
     people complain about lack of community              the new badges/ID .. ) As for the ID's, that is
     and "school spirit" when they were only on           an idea that was long overdue and kudos to
     campus less than 25 hrs/wk. You can't be             whoever was responsible for that decision.
     connected and (re)build community if you         33. Hire more diverse faculty and staff, hire
     are not here. Once people are here then              more experienced leadership team,
     really incentivizing activities like club            acknowledge the college's weaknesses as
     sponsoships / activities. Or seminar                 well as its strengths
     programs with outside speakers. "Classic"        34. I am not sure--staff and faculty are working
     movie screenings. Lunch-time music                   so hard it may be difficult to take extra time
     performances - in addition to MCC student            for community-building events AND
     groups invites groups from other local               everyone is experiencing on line fatigue. It
     colleges have pot-luck like the                      is difficult to solve a connection challenge if
     holiday"stroll" in the middle of the                 people's t ime is too constrained.
     semester not just at the holiday. I have




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   35. I am very happy with the community                   departments and how that will work in the
       meetings and the communications that                 future.
       have been going on this semester and             42. I really believe that MCC has done so much
       which have been getting more informative.            to enhance communication as we try to
       It is important to feel like employees are           navigate around the challenges that are
       being kept informed and that keeping us              present at this time.
       safe is a priority. Thank you.                   43. I really don't know, although I realize the
   36. I appreciate the many chances to connect             need is there. I think students in particular
       with faculty, staff, and leadership. I know          feel very disconnected. I hope we are
       the meeting platforms may be getting                 polling students - that's who we really need
       tiresome for folks but I feel recharged after        to hear from. What do they want?
       these meetings. Perhaps there are other          44. I recently received a laptop from MCC, and
       ways to do this as people become                     this made a huge difference for remote
       increasingly burnt out on these meetings.            teaching.
       Maybe folks can share fun pictures or            45. I still feel connected to my colleagues
       videos of COVID life at home, how people         46. I think a good amount of work is already
       are coping, and being creative in our new            being done... can't think of anything in
       normal. Silly and light-hearted might be a           particular to make me feel more connected.
       nice distraction and a new way to connect.       47. I think I'm "meeting"ed out!!! I believe
   37. I believe MCC does a good job of helping             colleagues (including administrator
       people to feel connected, though in times            colleagues) are working hard for the
       of Covid we are mostly connected virtually.          betterment of college and its everyday
   38. I don't know that there is much the college          dea lings; MCC website needs to be
       can do at this point. Creating more                  continuously improved not wait for a whole
       meetings/gatherings/forums becomes self              semester to pass to make it more user-
       defeating because the work must be my                friendly for both students and staff.
       priority. My work is to teach and help my        48. I think MCC is doing the best it can to keep
       students engage and excel.                           connection happening, but the COVID
   39. I Feel more connected by having meetings,            precautions have really eliminated the daily
       book meetings and by email.                          interaction in our community.
   40. I have plenty of information coming my way       49. I think the college needs to break down its
   41. I like the email communications where                silos and work more collaboratively. There
       Nicole reports updates to us. Maybe more             are communications being sent to faculty
       communication about the consolidation,               that would be beneficial for staff to know as
      since it will have such an impact. Any                well.
      information is appreciated. Some                  50. I would like to see MCC and the entire CT
      campuses are having all campus meeting                Community College system address the
      with Mike Rooke. Because so many MCC                  lack of awareness among its faculty and
      people are involved, we don't seem to get             staff concerning working class cultural
      as much information. But many people at               values; these values cut across all races and
      MCC do not have access to the information.            genders. We have a major cultural-
      Nicole does report out her information that           mismatch problem.
      is high level. Maybe more information             51. I wou ld love to see CFT step up and lead
      about the academics and discipline                    more regular professional development




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      opportunities. I would enjoy MCC faculty              not always sure who is doing what, and
      and staff remote social events, virtual               don't really know the new hires. Would be
      happy hours, etc. Mostly just more                    great to have short bio's/info sent by email
      opportunities to talk about teaching with             maybe included in the ICYMI email that
      my work pals I miss so much.                          Mike Jordan puts out w ith a photo and brief
  52. improved communication                                info to let us know a little about that
  53. In the midst of COVID, it is challenging to           person, what they do on campus, etc...
      feel fully connected. A goal of consistent        61. Job promotion from within, team working
      honest and communication would be                     better. Highlighting staff or tres and their
      helpful.                                              accomplishments or what they do well.
  54. In this challenging time for students, I feel     62. Keep doing what you are doing. Personally,
      that we shouldn't rush to centralize our              I would have liked to participate in more
      services - students need to feel more of a            meetings, but there are so many hours at
      personal touch now more than ever.                    the computer I can take every day.
      Directing them to someone specific on             63. Laptops and iPads for Remote work and IT
      campus is essential. Also having each                 has been very helpful.
      department aware of other department's            64. Less "bullying" of "minority" opinions when
      processes is important for giving info to             it comes to political stances in meetings, in
      students that may call. For instance,                 hallways, in public documents. NOT
      knowing which Advisor to send them to, or             everyone at MCC wants to vote for
      knowing first steps, etc.                             Biden/Harris! Does a "liberal" education
  55. Initiate a group virtual meeting                      mean INtolerance towards "conservative"
  56. It is really challenging to be connected              thoughts/opinions, or does it mean "our
      when you do not see many other students               way or the highway." Conservatives are
      or faculty. It feels like a ghost town on             very often tolerant of liberals; why isn't the
      campus. I think the students that are new             opposite true?
      to college and have not had in person             65. LOVED the CEO Coffee Hour-- continue that
      classes are really missing out on the                 practice
      experience.                                       66. Maybe highlight faculty, staff and current
  57. It may be a good idea to arrange regular              students on the web page w ith brief
      open mini lunch meetings to create a sense            interviews and photos?
      community until we are back on campus             67. Maybe some Zoom meeti ngs in smaller
  58. It's difficult with the Covid virus. Perhaps          groups by discipline for adjuncts.
      conduct some Zoom meetings.                       68. More CEO coffee hours would be beneficial.
  59. It's hard to say given the current times we           Additionally, my opinion is that there
      are in, the majority of meetings are all              should be regular department meetings
      virtual. So, it can be difficult to feel              (virtual} to include all staff (including part-
      connected and navigate when no everyone               time adjuncts). Personally, I would
      is working on campus.                                 welcome the opportunity t o be in the loop,
  60. It's really hard with covid and not being able        be more involved, and assist the
      to see my colleagues, students and others             department.
      each day. But, continue offering things like      69. More collaborative projects between
      the CEO Coffee Hour for people to connect             Student Affairs, Continuing Education and
      and have conversations. Also, with changes,




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       Academic Affairs. I do think we are too               a semester. These give people an
       siloed.                                               opportunity to see each other and speak
   70. More communication about what's                       informally.
       happening at the system office, and what          85. probably out of their hands
       kind of problems the college is facing with       86. Provide a video of the new employees and
       the budget. If there's a possibility that             administrators as was done on campus w ith
       budget cuts need to happen that might                 the "meet and greet."
       affect my job, I would hope that I'm made         87. Regular communication
       aware of that risk well ahead of t ime.           88. Regular communication from college
   71. More consistent CFT events.                           administration such as a weekly or monthly
   72. More diverse faculty and leadership team              email, reassuring emails during this
   73. More phone/Teams communication on a                   challenging time, etc. Communication is
       "casual" basis (vs. scheduled meetings) to            few and far between and not warm at all.
       discuss rather than doing everything by           89. Regular update email, weekly? about
       email.                                                changes at MCC
   74. More racial and ethnic diverse members of         90. Reissue this survey at a later date. It is far
       the faculty, academic affairs, student                too early in this new administration's
       affairs, and finance.                                 tenure to have any valuable feedback.
   75. More regular and open communication               91. Responsiveness from mid-level
       about the consolidation                               administrators to facu lty in a timely,
   76. More working sessions rather than large               respectful, and clear manner.
       group meetings; more "unscheduled"                92. share information about re-organizations
       problem-solving convetsatuons- try to                 that are occurring, and implement clear
       come closer to walking into people's offices          communication lines (who to go for what),
   77. No favoritism ?                                       for example, the recent sharing of the new
   78. Not much with the pandemic we are                     HR info was helpful, but limited, titles don't
       experiencing                                          really tell you what individua ls are in charge
   79. Not sure. Difficult situation we are in.              of, which doesn't tell us where to go for
       Maybe consider using video so there is                what issues, we need this information in
       more of a connection.                                 general across the college, for us and our
   80. online courses should require video chat a            students
       few times during the semester.                    93. Share updates on great work being done by
   81. Open communication and honesty                        various units under unprecedented Covid
   82. opportunity for more input from adjuncts              challenges. To value and appreciate every
   83. perhaps be more demanding in obtaining as             employee.
       much support as the CSUs are receiving but        94. Since I'm working from home full-time, let's
       I am not sure if that is possible given the           implement more 'open/visual' meetings for
       current BOR climate of not supporting the             cross-department communication(s). I have
       CC & this is extremely defeating when                 weekly Teams meetings with my immediate
       trying to teach a difficult subject during a          colleagues, but it would be nice to see
       difficult time.                                       fellow professionals from across campus.
   84. PreCovid (and hopefully post Covid), I            95. Staff working together for the benefit of
       would have a meeting or gathering with                students
       everyone (including adjuncts) at least once




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  96. Stop pandering to every political issue or               would have given it attention because it
      social movement. Hold professors                         would have gotten lost with other priorities.
      accountable for proper teaching and                  104.    This is tough during this time. I do like
      students accountable for their                           the coffee hour idea, but I also think people
      requirements.                                            are "zoomed out". Too much of this will not
  97. Teams is not the answer. You don't really                necessarily more effective. One social piece
      get to see anyone.                                       per month might be nice. In addition, many
  98. The benefits of 4c members should not be                 are balancing homeschooling/child care
      limited to other union members.                          with their job responsibilities. Many are just
  99. The cafe with CEO Dr. Esposito was                       not available to engage much more than
      wonderful and I hope those will continue.                they already are doing.
  100.     The coffee chat was popular.                    105.    Train moderators that are leading
  101.     the coffee hour discussions have been               meetings to be better prepared with the
      very helpful, happy to see another one                   technology.
      planned at the two week point from the               106.    Transparency. Everything seems so
      first one and with a different to capture                secret.
      other parties as well.                               107.    Video messages from MCC leaders to
  102.     The communication from the MCC                      faculty and staff for a portion of
      Management Team has improved                             communication. We get so many emails.
      tremendously since Dr. Nicole Esposito took              Would be nice if some emails contained a
      over as our CEO in the first week of July                video message so that we feel more
      2020.                                                    connected to MCC leadership. We can see
  103.     This is a difficult question. I do think            faces and not just names.
      that everyone is doing the best that they            108.    visual tours of classrooms maybe?
      can. What I think is very challenging is all             Posting recordings of past events?
      the work for the one college/                        109.    We need faster responses from higher
      merger/alignment/consolidaiton of                        up IT staff. It is just ridiculous how they
      resources continues to move ahead without                ignore deans, supervisors and staff for
      a pause of anything else that is happening               months! Occasional meetings with a theme.
      around us. I completely support the                      Have people put their camera on at least for
      curriculum alignment and all the work being              the beginning and ending of a meeting, just
      done to help our students with this                      to say hi and bye. I don't even know what
      initiative. I also do think it is great that it is       some of the staff members I am working
      moving ahead. What is incredibly difficult is            with look like.
      to manage and balance all the changes with           110.    Welcome everyone and support
      the pandemic and the college. I would like               diversity
      to slow some things down so we can take in           111.    When a student has tested positive for
      a process the communication and have                     Covid 19, immediate notification would be
      time. A perfect example is this survey. I                appreciated so the students and I can be
      am only now getting a chance to respond.                 tested immediately so we do not pass the
      really appreciated the reminders and                     virus to our families. More open
      encouragement to complete this survey. If                communication.
      I had not gotten reminders, I'm not sure I




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   112.    With everyone working remotely, I do
       not feel very connected to the MCC
      community. Is there one still?
   113.    Work with state legislature to make
      community college free for qualified
      students and increase enrollment. It would
       make sense to make students pay for
      classes they repeat. This would get media
      coverage and make students feel that we
      value them and work for their benefit.




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Looking forward over the next year, what                     than would we consider a drive through
MCC-related issues are you particularly                      event of some type. Boosting enrollment
                                                             and being able to collaborate effectively
concerned about?
                                                             across campus to do the work we need to
1. #1 Facu lty's (lack of) knowledge of                    do for student success. Being asked to use
   technology skills to deliver engaging                   our strength areas to take on new roles and
      coursework. #2 The non-consistent                    projects to help MCC and our students.
      experience students' have in their on-line        6. Being around staff who may have tested
      courses. There are no academic protocols in            posit ive for COVID and not being told
      place (ex. grading homework within 5 days,             especially if I have been in close proximity
      etc.) and at least 3 different delivery tools          due to having a weak immunity system it is
    being used (WebEx, MS Teams, Bb                        worrisome.
    Collaborate}.#3 Lack of morale and                  7. budget one college model
    community with faculty and staff.                   8. Budget cuts Not being able to replace staff
 2. 4Cs contract, layoffs, consolidation might               who retire
      not go well                                       9.   Budget cuts, jobs becoming number driven,
 3.   Access to GPA for 'on ground' classes for              not enough support. Morale, following
    summer 2021                                              what's popular In media or culture vs what
 4. Accreditation - this is not on the radar the             might make us unique or what's makes us
    way it needs to be. Impact of consolidation              work well as a college.
    efforts and a lack of a unified MCC response        10. Budget issues, layoffs
      to consolidation.                                 11. Bullying, harassment.
 5.   As a single parent I'm concerned about            12. Changes to my course, the course offering,
      losing my job due to the financial impact               and how many credit hours I will get paid
      covid has had on our college and the CSCU               for.
      system. Also having enough staff to do the        13. Concerned that the equity gap will continue
      work and do it well. If we do not make it               to grow wider and wider
       easy for students to enroll and register and      14. consolidation
       get to the resources they need, they will not     15. consolidation with loss of control of
       return. I think we are making progress in             curriculum and loss of access to important
       these areas but having permanent positions             HR, IT and purchasing staff
       rather than interims and people helping a         16. Consolidation, and lack of direct access on
       few hours here or there will help. It's hard          campus to knowledgeable staff to support
       when you are working for someone who                  students, faculty and other employees.
       has commitments to other institutions and         17. Consolidation, budget, enrollment, culture,
       is not fully invested at MCC, or the person           MCC's Identity
       in the position keeps changing. I'm also          18. Consolidation, hiring freeze, organizational
       concerned about staying connected to                  charts not being clear, no Associate Dean of
       students and other colleagues since most              Students, leading to minimal advocacy and
       work remotely all or part of the t ime. We            support for role and future of department.
       lose some of that personal connection. I                Too much emphasis from SO on Guided
       realize we have to social distance but after            Pathways Advisors, not enough emphasis
       awhile, get tired of being in virtual meetings          on other support services and their
       all day :) . I don't have any ideas on how we           comprehensive interconnectedness.
       can better this at the moment (sorry) other



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   19. Consolidation. The landscape is changing so             to multiple bosses who all have different
       quickly, it is hard to imagine we will be the           wants and needs.
       same campus we were before we left. Who             30. Doesn't a "liberal higher education" mean
       will be there, who won't, and how will we               expression, teaching, and even some
       rebound in this new environment? It is                  openness to other/all thoughts, not just
       stressful and going to campus makes me                  what Democrats espouse? What are we
       even more nervous (not so much about                    really teaching our students. (If you ask
       COVID but what it will be after COVID). I am            them, and they happen to disagree w/ their
       also afraid the BOR is taking over too much,            teachers/administrators/union leaders
       too soon in the name of COVID. I honestly               about what's going on in
       don't trust them at all anymore. We really              culture/politics/state or nat'I gov't, they feel
       are reliant on our new leadership to protect            bullied, squelched, and uncomfortable to
       us from them.                                           speak up. Doesn't seem like a very "open-
   20. continued flex ibility in work roles during the         minded" campus environment... )
       covid crisis. Support for different personal        31. Dropping degree programs, not hiring staff
       choices.                                                back. Lack of succession planning due to
   21. Continuing handling of the covid crisis. It is          open hiring policies and interview panels
       a challenge for everyone, students, faculty             not having subject specific qualified staff for
       and staff.                                              decision making, budget problems, program
   22. Covid - requires the college t o continue to            cutbacks, lack of vested long term
       do so much remotely/online. Concerned                   employees, lack of faculty leadership due to
       that this is far inferior to being on campus.           retirements and promotions
       Consolidation- lack of buy-in from                  32. Enrollment
       facu lty/staff, covid, changing leadership at       33. enrollment and keeping students engaged,
       our college and the system office ... all are           reaching out to them when they are
       making the transition to one college a mess.            struggling and being able to offer real
   23. Covid and internships and the completion                support and help
       of clinical hours set forth by accreditation        34. Enrollment and reaching out to st udents
       standards.                                              who are less easy to reach remotely.
   24. Covid and my safety                                 35. Enrollment decline, budget issues,
   25. COVID-19                                                consolidation, lack of diversity, continuing
   26. Covid's effect on job security for full-timers          to ignore achievement gaps in classes and
       and stability for part-timers                           the racism in staff and faculty, often
   27. Declining enrollment and funding issues.                displayed publicly
       Students' mental health issues during these         36. Enrollment declines, less staff working on
       Covid times is also a concern.                          campus, less services for students (such as
   28. Declining enrollment, the leadership's                  tutoring service), and less IT support
       support of consolidation and the system                 services.
       office, and the lack of expertise and               37. Enrollment is down, hiring is frozen, we are
       experience of the cabinet                               in the midst of a pandemic. I am afraid to
   29. Direction for the student affairs division;             come to campus and afraid for my job and
       communication about the consolidation                   the jobs of my colleagues.
       and what it means; many of us are being             38. Enrollment, budget, and ability to make
       pulled in multiple directions and reporting             devious based on needs of our Campus




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  39. Enrollment, looming Budget Crisis, One                everything but. We've wasted too much
      College initiatives                                   time energy and resources on inclusion and
  40. Enrollment. Consolidation                             covid and oversight and task forces and our
  41. Enrollment; finances; job security for junior         students are getting inferior education
      faculty NECHE--little has happened since a            because of it.
      meeting last May ATD and equity--little has       S1. How classes will be taught
      happened in two years                             52. I am concerned about possible return to
  42. Enrollments - this is a problem for                   campus on a full time basis, considering the
      community colleges nationally. Students               COVID upticks.
      need more structure then the have in the          53. I am concerned about returning to campus
      past. I think we have to more deliberate              with COVID still a risk. I am concerned
      and involved in helping them complete                 about budget cuts and fewer students
      degrees and obtain jobs or transfers. All             registering for classes. I am concerned that
      degrees should be mapped to the next                  the quality of our online classes is not yet
      steps.                                                up-to-par (myself included).
  43. Equity issues                                     54. I am concerned about the hiring freeze and
  44. Feel welcome Feel include Feel that we                the need for more advising staff at MCC. I
      are working together-and leadership is                hope we are able to keep the staff we have
      about leader and support instead of                   an add a new full-timer.
      personal attack                                   55. I am concerned about the lack of
  45. Feeling connected and knowing what others             experience among the leadership team, and
      are doing - i.e. their hours, their services,         the loss of institutional knowledge. I believe
      etc.                                                  that experience will make it hard for the
  46. Financial                                             system office to implement it's one college
  47. Getting back into the classroom when it is            practices, and t hat MCC will suffer because
      safe.                                                 of that because of a perception that we're
  48. Getting students back. !! w e don't do                not cooperating. I am concerned that
      enough out reach to high schools and                  decisions will be made without the proper
      advertisement through social media we do              context. I'm afraid that our academic
      a disservice I believe to certain communities         programs will begin to suffer.
      , it's such a beautiful place no one knows        56. I am concerned about the lack of testing,
      what we can offer !!! Admissions needs to             reports of Covid numbers and declining
      get out into the community we need more               enrollment. I am also afraid smaller
      people and recruitment in that department             programs will be cut.
      !! !                                              57. I am incredibly concerned about the
  49. Hiring practices have been coercive in the            increased challenges to student success due
      past. Searches have been improperly                   to the pandemic, economic changes, the
      conducted with "lost" applications. I have            national climate and the impact of all of
      been concerned about appointments made                these on physical and mental health of
      in the past without proper searches being             students. I believe significant attention to
      conducted. These practices need to be                 our policies, support systems, etc. is
      cleaned up and made transparent.                      required to mitigate the potential for
  SO. Hold standards with students and                      dramatic decreases in student success
      concentrating on education rather than                overall and equity in student success. I am




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      personally very concerned about the extra             institutions, and the increase in the level of
      time demands and emotional stresses on                students presenting mental health-related
      staff and faculty members in light of                 issues with minimal staffing to address
      student challenges caused by our current              them.
      pandemic & online teaching context. This is       60. I look forward to employee morale to be
      happening even as all staff have increased            uplifted. There has been so many
      personal demands in the pandemic, and is              transitions overvthe last few years that
      likely to get worse with hiring freezes,              there is a desperate need for stability and a
      centralization of services, etc. I see barely         leader with an inclusive vision.
      any attention to how being squeezed like          61. I sense declining collaboration,
      this is leading to burnout, job                       brainstorming and interaction with
      dissatisfaction, or other emotional and               colleagues that occurs when we occupy a
      health costs. The time demands of meeting             shared space. It's also evident that the
      increased student needs also mean that                hiring of administrators for the yet to exist
      staff/faculty often do not have time to               one-college while continual budget cuts to
      participate in events that would address              our current colleges is problematic for
      their own personal challenges in their jobs           morale and for convincing anyone it's going
      or might provide support. Unless the work             to save money and put students first.
      load is changed, this structural barrier to       62. I'm concerned that many students are left
      providing support and assistance to                   to fend for themselves, as faculty members
      staff/faculty remains, with the likelihood of         don't care enough about students who
      getting worse as more is being requested in           need more assistance and need documents
      terms of work on system changes and other             or lectures in a more accessible format, or
      needs. With services moving away from                 captions on their videos, or better ideas of
      MCC, including human resources, it gets               what is expected of them, etc. So many
      very difficult to even get answers to                 students are unhappy with the quality of
      questions. Email response times can be very           education they're receiving and I do not see
      slow. I am concerned about the potential              it improving over the next year when so
      for further increases in advising & teaching          many faculty members themselves are still
      loads, and ongoing challenges related to              very inexperienced with online teaching,
      system-level transformations.                         and they are not willing to take on the work
  58. I am most concerned about the effort                  needed to improve.
      towards consolidation into a single CT            63. I'm mostly concerned about whether or not
      Community College. My concerns are the                we will have enough staff to properly serve
      loss of MCC faculty control of curriculum,            our students, as we are already under-
      MCC shared governance and local control of            staffed.
      purchasing, HR and IT departments. I am           64. I'm very concerned that our students are
      also concerned about the large amount of              not having great experiences with
      money spent on added administration for a             instructors who are unfit or not yet fit to
      college that doesn't yet exist and the loss of        teach online. I would advocate for
      the individual identity of MCC.                       mandatory online observations of all
  59. I am particularly concerned about                     faculty, and to see faculty whose courses
      continued funding cuts and the impact on              are not up to standard be made to take
      students, losing great colleagues to other            iTeach (or something similar) and be




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      observed again as a follow up. Teaching                 I have also heard possibilities of Dept Chair
      online requires a much different skillset,              and Program Coordinator roles changing. I
      and not everyone is up to the task yet. My              am hoping that folks will be contacted and
      sense is we won't be fully on ground for                considered prior to these decisions being
      quite some time.      I'd also like to see a            made. I don't think our current Dean and
      higher standard of email responsiveness                Associate Dean necessarily understand the
      and professionalism. If we're going to keep            responsibilities of each of these positions.
      this college afloat, students should get            69. Job security
      responses from all FT faculty and staff             70. job security for part-timers, appropriate
      within 24 hours. Online learning takes place            working technology at home, low
      seven days a week, and I know we have                   enrollment, free community college still in
      students sending emails on a Friday                     operation?
      afternoon and not hearing back until                71. Keeping students connected to MCC who
      sometime Monday. This is unacceptable,                 do not wish to take remote courses.
      and we can't expect to retain or pass              72. lab fees that are taken from students who
      students who aren't getting contacted in a              do not have a lab to work in. I have asked
      timely fashion by full-time members of our              where these fees go if there is no lab and I
      community. Our work situation right now is              have gotten no response. That sets a
      pretty cushy, and it would be nice to see              terrible tone. Do not take money from
      folks acknowledge by checking email over               students who are struggling regardless if
      the weekend. Lots of fires can be avoided               MCC is struggling. And please respond to
      by fast response times.                                 questions like that. It's not my job to
  65. In addition to the pandemic and transition              explain that to students. The mandate that
      to One College, burnout. I have never                  we cannot use Zoom when it fully supports
      taught four classes on line before and                 the technology in my class and is more
      building my courses on line has taken                  stable than webex etc. Another thing that
      tremendous effort which is affecting my                the administration has been unwilling to
      ability to do additional responsibilities               discuss. The United Nations uses Zoom.
      effectively. I am working many more hours.              Educate people on how to use it or bake in
      I also feel more like a technical assistant             the password control. Other institutions I
      than a professor because many of my                     teach at use it and it's fine. I currently use it
      students struggles and concerns are about               in my class. I have a deaf student who did
      technology rather than the content of their             not received help from the Disability office.
      courses. I hope next semester will be                   I bought a subtitling service through Zoom
      better. I imagine that this is also true for            to help them. Other programs do not
      other faculty and staff.                                support that. And I expect not to be
  66. Increase of student enrollment                          reimbursed or to get push back over that. I
  67. Individuals having the same job title over 10           feel like I have to needlessly fight for my
      years. While others keep getting promoted.              students at MCC. Lastly the on line training
  68. It is still unclear of academic affair roles.           for Blackboard is shortsighted. I find that
      These need to be clearly defined- Dean,                 the platforms available to us do not support
      Associate Dean and Academic Associates. I               teaching a multimedia class. So that puts
      don't believe we have ever had a clear                  me in a position of having to use outside
      indication of who faculty actually report to.           resources which we are told not to use but I




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       would be able to teach online without               week instead of half of them. It is hard to
       them.                                               give the students the proper time in lab
   73. Lack of direct HR support                           instead of 16 lab classes cut down to 8 lab
   74. Lack of employees doing their share of              classes. Students are very stressed that they
       work.                                               w ill not be prepared for internship in
   75. lack of funding for replacement faculty,            January. During t his time I am doing the
      advisors and counselors. Engulfment by the           best I can we assigning YouTube videos to
      ONE college and loss of institutional identity       watch as well to on line extra assignments.
      and originality                                      I love teaching at MCC and my overall goal
  76. Lack of personal contact on campus.                  is for our students to succeed. MCC is
  77. lack of qualified students in our program.           doing a great job w ith safety.
      They're just not prepared.                       89. Obviously, Covid and transitioning to online
  78. Lack of resources. Lack of control over our          learning.
      specific environment and resources.              90. Of course, the health and safety of
  79. Layoffs, changes to job duties                       everyone is my main concern.
  80. looking forward, I am very concerned about       91. One College Alignment
      the welfare of my Colleagues keeping in          92. Ongoing efforts to consolidate - gen ed,
      mind the Consolidation Efforts by the BOR            standardized degree programs, cuts to
      and there in not much of a communication             staffing and services etc.
      from the BOR to the Campus Community.            93. on-ground classes and virus contact.
  81. MCC needs to do a better job of                  94. Opening campus full time. enrollment and
      communicating various processes to                   marketing Staffing and support
      prospective and current students. Overhaul       95. Openness, fairness, inclusion, honesty. I
      the website to make pertinent information            truly hope we actually start marketing the
      easier to find.                                      college. We've become invisible because we
  82. Mildly wondering what direct leadership              no longer promote this great school! The
      from BOR means for my department                     biggest thing we lost in the last five years
  83. mixed messages                                       was our connection to each other. I miss
  84. Money/Budget Creating a student focused              that.
      culture of CAN. Too many departments             96. opportunity for more input from adjuncts
      don't talk to each other. They approach          97. Our budget is a big concern. I see large
      their jobs and others in the school with NO          amounts of funds being poured into
      We CANT as the default position rather               consolidation during the pandemic and little
      than looking for how can we make it                  being put into academics and our students.
      happen.                                              The consolidation is not making MCC a
  85. More communication on the movement of                better school and it is likely MCC will not
      student first and how it is impacting MCC            recover its stature for many years if ever.
  86. My concern is for students who have              98. Retaining those students who are seeking
      trouble with the online class format.                only online classes.
  87. My health and safety                             99. returning to campus due to my high risk of
  88. Number of students in the lab. Students are          COVID
      getting half the time learning in lab.           100.    Safety related to Covid, and a class
      Adjuncts should be given extra credits and           environment that could reflect the current
      be allowed to teach lab for all students per         political polarization in the country.




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  101.     Sexism, racism and lack of support in           permanent positions. I do want to applaud
      those areas by the union in which I am               the previous interim administration and the
      mandated t o pay dues to.                            current permanent administration. None of
  102.     Structural organization, reporting,             this is easy and I'm grateful for the help and
      follow through.                                      support I received.
  103.     Student enrollment numbers effecting        111.     The decline in enrollment
      need for adjuncts and opportunities for          112.     The dire financial situation. Maybe
      hiring full time staff                               truly evaluate course releases and their
  104.     Students' prolonged lack of in-person           necessity. I do not think division
      education and its consequences.                      coordinator position is necessary. Running
      Enrollment, consolidat ion, and the                  meeting are expected. Also, and I don't
      decreased of the college's budget. The               know details of this, but maybe reevaluate
      amount of work seems to increase from               Art 6 credit for 3 credit pay scale. It isn't
     year to year. There is more work and less            this way across system and courses transfer
     faculty to do it.                                     over as 3 credits. Difficult situation but
  105.     Sustainability!                                 under these conditions, maybe it's time to
  106.     Technology! Appropriate and useful              revisit this.
     electronics. I am very concerned about the        113.    The enrollment crisis. We need more
      IT department. They have always been slow            people dedicated to this effort. We really
     with responses over the last 2 1/2 years but          need to reach out to more adult
      it has gotten much worse. Not people at the          populations and pipelines.
      helpdesk but higher up IT staff that usually     114.    The issue of wasted efforts looking
      need to fix major issues that we are facing         ahead toward consolidation. For example,
     or we need their permission.                         Governance Review; Is there not going to
  107.     The (in) ability of the College to              be a common governance in a couple of
     function as a College (rather than just a            years? It feels as if we are trying to remodel
     campus). I am also gravely concerned about           the house and in a couple of years break it
     the structure of the hierarachy and                  down to the foundation and rebuild!
     dismembering of this college, with each           115.    The new gen ed guidelines where
     function and service that goes to the                aestetic dimensions is no longer considered
      BOR/SO. I am GREATLY encouraged with                essential to a well rounded general
     the leadership and vision of our new CEO             education. I am extremely disappointed
     and am hopeful the CEO will be able to help          that this has happened because it will have
      us all navigate through these very trying           a negative impact on VFA enrollment
     times.                                                numbers but most importantly it sends a
  108.     the ability to continue to teach without        message to our students that reinforces the
      any technology support pertinent to the              idea that the arts are not vital to a well
     discipline I'm teaching.                              rounded education.
  109.     The administrations lack of experience      116.    The number of unfilled positions is truly
      and willingness to learn about different            alarming and one of our biggest t hreats. It's
      areas in the college.                               almost as if the BOR is setting the campuses
  110.     The continual staffing changes and              up for failure in order to prove the
      reorganization. I will say we are heading in        consolidation is justified.
     the right direction of getting people in




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   117.  The self-study is critical to MCC's future,
      and yet the focus on that is diffused by the
      "out of the blue" and haphazard reports on
      the "one college" that come from unknown
       people at the system office.
   118.   The state of the union.
   119.    The transition back to on-campus work
      concerns me as I've become incredibly
      efficient working from home. I've also saved
      thousands of dollars in commuting costs,
      and have two extra hours to spend with my
      family each day. Transitioning back to a full-
      time, on-campus work week concerns me.
   120.   The use of high school GPA (especially
       self-reported) to place students into
       ENG/MAT courses is concerning. This
       measure is not an accurate predictor for all
      students. As a result, in the last enrollment
      cycle, many students were misplaced. Now
      they're struggling and failing their courses,
      which also jeopardizes their financial aid.
   121.   What the process will be for on ground
      classes once a vaccine is available
   122.   Whether we'll stay physically open
      during semesters, and why should we stay
      open over winter break with all classes
      virtual?
   123.    With IT support transitioning to the
       BOR, I am concerned about lack of IT
      Support on campus and t imely support.
   124.   Would like to see improvements on
       how our website function. Focus on clear
      and easy pathways to information for
      students and staff. Also, the website should
      be more interactive and include embedded
      videos so that students can see faces and
      get to know us better.




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                                                               departments/offices etc. Need to think
What could MCC do to improve
                                                               about how decisions & changes impact
communication?
                                                               others and let them know about before it
1. Implement a call support center                             becomes a problem. As much as possible
2. Continue with updates on weekly basis                        make the communications "targeted." All
          about the status of the college                       points emails while necessary are really
3.        Overhaul the MCCwebsite. Instead of                   easy to ignore or just skim. Shorter
          thinking of it as a marketing resource (no            messages to specific recipients carry more
          one visits the website to sit and watch               weight.
          banner adds) treat is a reference source.         10. Better communication from student
          Survey staff and students about what                  services offices - this has been an on-going
          information they need the most and place              issue for faculty. I would assume the
          that front and center. It is too hard to find a       opposite is also true. Better website with
          list of program s, a list of faculty, hours for        more information - MxCC and NVCC are two
          different services, etc. Students and                 great examples - information is well-
          advisors are very frustrated. Maybe we                organized, expansive and easy to access
          need someone new for a fresh perspective.          11. Better leadership
          On the other hand, overhauling the website         12. Centralized place to store
          may be a waste of time if the consolidation            updates/i nformation, rather than only rely
          take over all of the individual college                on email. Build on what is being done in
          websites. 2) Email an organization chart to            terms of CEO updates and forums.
          all faculty and staff at the start of each             Listening is crucial for all levels of
           semester.                                             leadership. Allowing people to share and
 4.        A dashboard of Communication Items and                truly listening to them is vital, rather than
           Meetings Minutes, etc. Everything via All-            focusing on presenting explanations or
    Points is a bit much.                                        demands. Communication with students
 5. Answer emails from students within 24                        and preparation of new students still needs
    hours Provide consistent messaging--some                     some significant improvement--this would
           of the covid emails are sent through                  require some brainstorming and
           numerous iterations Forward emails from               conversation building on past
           CSCU level with context Provide more                  conversations. Acknowledging people's
           updates about the CSCU level Be                       needs and people's hard work under
           transparent for postings such as div                  difficult circumstances might help boost
           coordinator                                            morale- this survey is a good start too.
     6.    Answer questions with real solutions that          13. CEO attend Dept meetings once a semester
        actually work.                                            (We understand the huge responsibility
     7. Be honest and up front. Be more                           with Covid so this may not be possible)
        transparent. Be willing to lean about                 14. Communicaiton is OK.
        different areas, more specifically student            15. Communication has been a dominant issue
            affairs.                                              at MCC for years. A streamlining of
     8.     Be more specific about who is affected by             communication to the college community
            the viru s.                                           would be helpful; too many varying
     9.     Being transparent Being proactive about               communication regarding same topic and
            communicating and not just from the top               not necessarily accurate.
            down but also between



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   16. Communication has been good. I appreciate              about what they've learned from their
       the email notifications.                               administrative meetings.
   17. Communication has improved in my                   29. Everyone needs to slow down and listen to
       opinion. Transparency and following                   what colleagues are saying, and read emails
       protocols are a must.                                 and other communications carefully. We
   18. Consistent communication. Be clear on                 need to be more thoughtful about who we
       direction and don't back pedal. Once a                are writing to and what we are saying. With
       decision is made its done.                            so many people working at least partially
   19. Continue the open dialogs. The leadership             remotely, it's more important than ever
       change has been more responsive and                   that we overshare rather than undershare.
       communication is better.                          30. Find leaders and faculty who care more
   20. continue updates                                      about the success of students and the
   21. Continue with the current modes                       institution than themselves and their
   22. Continue with your alerts and general info            comfort.
       messages.                                         31. For every person, communication can be
   23. Control the flood of emails, I get so many            defined differently. A good strategy would
       that it is difficult to keep up and process.          be to continue with weekly updates from
       The reply all situation is better but still           management and across all factions of the
       ridiculous.                                           college community SA to AA and vice versa.
   24. Covid updates have been great, but I would            Daily communication when it is urgent
       like more about what else is going on, any            information that all need to be aware of to
       changes being made to responsibilities on             perform work more effectively. Create a
      campus, need to communicate to us a little             Communications Team comprised of SA/AA
      bit more like we're students, we're missing            to work on myriad communication tools
      the background to understand decisions                 and develop a Communication Plan.
      being made due to not being on campus              32. get actual leaders
   25. Deans should attend Division meetings.            33. Given the present covid climate maybe
       Many faculty are not Dept. Chairs so they             send an email once in a while to on ground
       have no contact with a supervisor. I am               instructors or even take a walk on campus
       worried that many faculty feel that no one            through the areas that are running on
       cares what they are doing.                            ground courses so that we don't always feel
   26. Department heads should communicate                   totally isolated & you get a sense of how we
       more across departments so people can be              are teaching our subjects. Also if group
       informed on different processes, dates, that          meet & greets or campus events are set up
       can impact the way we serve students.                 please consider that studio courses run for
   27. Department meetings as well as individual             three hours so our available times are
       supervisory time spent with adjuncts                  limited - I am often unable to attend
   28. Each manager/director should be holding               events/meeting because of this but don't
       regular meetings with staff to touch base             know if this is possible to change
       and inform them of what they've learned           34. Have a person answer the school phone
       from bigger meetings with college                     instead of a machine. Or at least have that
       administration. Information seems to fall             as an option.
      short in the middle somewhere--middle              35. Have more transparency and share what's
      management needs to be more transparent                going on behind the scenes. Too many




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        people feeling in the dark, not having a clue    46. I think Nicole and leadership are doing a
        as to the future of their                            good job. But maybe more information on
        positions/departments and overall j ob               consolidation and upcoming changes. Do
        security.                                            not assume we already know th ings,
  36. Have someone available to answer the HELP             because we really aren't hearing a lot.
      line in person, not a message, provide us             Emails from leadership or even set up a
      with written outlines of who all the new              page for updated information.
      people are and what their roles are.              47. I think that communication has been
  37. I am satisfied with the communication I               improving. The open forums feel more
      have developed with my colleagues through             "open" than the prior administration. At
      email and Teams.                                      those forums, it felt like the administration
  38. I believe openness and honesty is the best            listened without really hearing or
        way to a more open and improved                     understanding diverse concerns. I don't
        communication. Silence and siloed                   know if that's true but it's how it felt.
      management breeds distrust and                    48. I think there needs to be intervention with
      conjecture.                                           communication in dysfunctional
  39. I enjoy weekly communications from                    departments. Many things are left
      management                                            unattended to.
  40.   I feel communication is excellent               49. I would have more departmental meetings
  41.   I just do not have an answer to this.               to introduce staff to one another who work
  42.   I learned a lot from the CEO event.                 for the same cause. The meetings would be
  43.   I think communication has been really good          very beneficial as long as an agenda is
        while a new administration settles in and           created ahead of time to keep everyone on
        the new remote nature of our work. I am             track.
        sure a few things slip through the cracks -     50. I would love to see more transparency with
        because we miss an email or a detail - but,         personnel moves, reassignments, and so on.
      all in all, it has been pretty good.                  I'm still not sure about what happened with
  44. I think MCC is doing a good job with                                        but I know I've spoken
      communication particularly concerning                 with colleagues who were shocked by it.
      COVID. That said, there were recently                 These kinds of closed-door changes were a
        conflicting emails coming from the                  major part of the problem in the past at
        Associate Dean of Faculty regarding several         MCC, and I'd hate to see that continue.
      issues.                                           51. If you can slow things down that would
  45. I think MCC leadership is doing a great job           help. :). I do think all that is currently
      communicating by sending out campus                   happening. The continued out reach via
      wide emails to keep us informed and                   emails and town hall is really great.
        holding open forums so we can be heard.         52. I'm not sure this is possible since the system
        My immediate boss's communication skills;           makes these decisions, but I'd like to see
        not so good. MCC could improve                      rapid announcements about COVID positive
        communication by improving the skills of            cases on campus. I'd like to see outreach to
        others by providing mandatory leadership/           students, but I'm not sure what t hat would
        management and communication skills                 look like: I'd love to hea r from students.
        training for anyone who moves into a                Last year's student feedback about SP2020
        director, assoc dean, etc. position.                was eye opening & disheartening, but we




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       needed to hear it. After a summer of                   communication platforms. And, also
       preparation, did we improve? If not, we                encouraging our community to support
       have to work harder. Can we poll students?             what we do and our students. What's the
       Now? So that we can improve for spring?                latest on the Achieving the Dream Capacity
   53. Improve direct communication about the                 Cafe? There was a lot of great feedback
       Covid cases on campus and what the goals               shared. I feel like we haven't heard much
       are for the spring semester. The                       about that lately and if any of those great
       information provided is not clear and is               ideas are being implemented.
       often wishy washy.                                 57. It would be helpful to have some way of
   54. In terms of externally/outside of MCC,                 reaching students who don't use their
       much more effective P.R. needs to be                   student email and prefer their personal
       pushed outside of our 4 walls. Why are                 email. I would personally like to collaborate
       there so few news stories about MCC's                  w ith colleagues more easily or at least
       students, accomplishments, faculties, and              check in with them to see how things are
       programs across many platforms, channels,              going.
       stations?                                          58. It would help to finally have fewer interim
   55. In the past faculty were able to rely on               positions and hire more permanent ones.
       Division Directors to disseminate                  59. Jabber, MS Teams, WebEx and email have
       information and keep everyone informed.                been more than sufficient in keeping lines
       Bring back the Division Directors.                     of connection open. I feel very connected to
   56. Internally, I appreciate the emails from               my "team" with these tools.
       Nicole and from the CSCU. I wouldn't mind          60. Keep having the coffee hour with the CEO.
       seeing something in my email in box each           61. Keep sharing candidly with the campus,
       week (or monthly if that's asking too much),           especially matters regarding consolidation
      or maybe a Teams channel just for MCC                   and it's real impact to the college.
      employees for brief news updates. Similar           62. Keep those open forums going!
      to how the CSCU sends out those weekly              63. Leadership needs to stop rushing to get
      emails, but just for MCC. Maybe a brief                 emailed information out as soon as they get
      news update from each department. We                   it from the system office. Take a breath and
      often hear about the bigger issues (covid,             t hink about the audience. If this was done,
      consolidation), but not things like we hired           then the ceo and deans would not have to
      a new faculty and info about them, or                  always send follow-up after follow-up to
      culinary has been running 8 week classes               clarify. More emails do not mean effective
      successfully, or credit free is offering a new         communication. It just makes t he
      workforce development program and here's               leadership team look silly and confused.
      what it is. I feel like info like that is not          They also look like they are system office
      shared to all as we are all focused on the             puppets and not leaders of their college.
      bigger issues. Externally, I think it's                Bring back the previous ceo, she knew how
      rallying faculty, staff, alumni, students and          to write and speak clearly to everyone and
      our community to promoting the great                   she seemed to be fighting for what was
      value and education at MCC and flooding                right at MCC.
      our service area with info on the                  64. Maybe a Dean shout out from each
      opportunities and value of going to M CC,              department ... this is what Has been going
      and returning to MCC. Use multiple                     on in our department and these are things




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      you might want to know. 1 per semester or        75. On our website create Covid flowcharts for
      staggered throughout t he year.                      students and staff/faculty to use.....
  65. Maybe have a useful newsletter instead of            reporting, symptoms, quarantining, testing,
      relying on letters from administrators               etc. More specific.
  66. MCC leadership could be more open and            76. Once a semester meeting at the
      transparent about everything. I still find out       department level that specifically includes
      about important things well after they have          adjuncts (or even just in the fall).
      already happened, or in some cases, I only       77. Only send valid, researched, articulate,
      find out from somebody who was i n an                pertinent information via All points
      important meeting and it's never formally        78. opportunity for more input from adjuncts
      announced by the CEO.                            79. Overall, I think this administration has been
  67. MCC leadership should strive to be as                more transparent and more communicative
      t ransparent about on-campus issues as they          than in the past. Continuing with this is
      have been about COVID-19.                            helpful. Continuing to clarify new and
  68. MCC works at communicating, but there are            changing roles on campus is very helpful as
      times faculty or a specific group receives           well (ie Division Coordinators, Student
      info that ACL's do not receive the                   Affair changes etc)
      information. Example: withdrawing non-           80. Please do not resend the same message by
      participating students after 2 weeks.                different people. It becomes overwhelming
  69. Meetings without agendas, per se. The                as everyone is emailing these days and you
      CEO's tea was brilliant, as evidenced by the         need to plow thru hundreds of e mails in
      length ofthe mtg. People clearly are hungry          one day. I liked the President's coffee
      to just connect. Everyone is working so hard         hour, but I am reaching my zoom limit
      just to keep afloat.. no one had two hou rs to   81. Please think about having more of an
      'give up' and yet.the opportunity to be              attitude of graciousness. This is hard for
      heard and to share was a profoundly                  everyone. People w ill rally and work
      enticing reality.                                    together if they feel more openness and
  70. -Monthly CEO coffee hour that staff &                support. That come from just setting a tone
      faculty can exchange conversations, discuss          of gratitude. I do not hear that from MCC.
      on-going issues, ... -Provide training               Which honestly affects my connection with
      sessions- computer skill                             college and my general support of the
  71. Monthly college meetings with the CEO                college.
      instead of one every semester would be           82. Reduce the unnecessary communication.
      helpful. Thi ngs change constantly, and I            The flurry of emails every day does nothing
      think if we had "town halls" with the CEO            but clog up my inbox.
      each month on a set day/time, we would           83. Regular and more forward communication
      have more informational updates.                 84. Regular, positive communication from
  72. More CEO Coffee hours, otherwise, doing              leaders. Forwarding emails from the
      more communication than previous                     system office without context is not helpful
      administrations.                                     and often times terrifying.
  73. More informal online sessions with               85. See above regarding phone work.
      administration and faculty                       86. Send a list to faculty giving names, emails
  74. Not sure, with all the changes which occur           (and possibly phone numbers )of who to
      weekly.




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       contact when attempting to resolve certain          ideas to get this campus back where it
       issues or obtain certain information                should be I
   87. So far not much, the department heads           94. This area is well handled
       have been in contact when it w as               95. To listen, without bias and filters.
       important.                                      96. To verify validity and trustworthiness of the
   88. start                                               messages coming from the System Office
   89. Stop emailing us about every little,                and not just become a vessel for transfer of
       unimportant detail. Work on balancing               information. Our administrators need to
       what is pertinent and timely versus emailing        show some level of independence; not
       kudos that seem self-serving and brown-             asking for display of resistance but to ask
       nosing just to be liked and forwarding              for useful and relevant information
       emails we have already received from other          regarding our campus.
       sources.                                        97. Too many Ccsu updates. CEO updates are
   90. Technology support, encourage informal              t imely and transparent.
       work interactions                               98. Tra nsparen cy and attempting to make all
   91. The increased frequency of emails and               members of the community feeling valued.
       community meetings is very helpful.                 We have a culture ....and yes, Academia as a
       Perhaps a weekly newsletter keeping us              whole, where faculty believes they are the
       informed and connected would be a help.             are the be all and end all. We are all here to
   92. The MCC Management Team should                      serve the students. Period!
       communicate more often with the Campus          99. Transparency and honesty.
       Community although the communication            100.    Transparency is at the top of the list.
       has greatly improved since July 2020. Kudos         Next, is to write well-crafted emails that can
       to the MCC Management Team.                         inspire the receivers and communicate
   93. There should be more meetings with                  empathy at t imes. If links to articles are
      Departments and brainstorming t actics               shared, include why it is important for us to
      with individuals that I've been here that            visit them (Ex. here's why I am writing). Also
      worked in many years ... the old saying              respect our time and avoid "over"
      old school homework this place was a                 communicating (sometimes we get the
      thriving community college with old school           same subject emails from 3 or 4 different
      tactics that worked. Now it's a dying                leaders or are delivered the same
      breed it seems with technology for some              information in multiple meetings).
      reason l Hopefully the new CEO visions           101.   Treating other union members the
      that or sees it I The air is stagnant people        same as 4cs. The school only communicates
      walk around with there head down they               to 4cs and its shame as we are one
      don't go the extra mile for students some           community.
      do some don't we need the whole college          102.   Update and publish (and update as
      community to be on the same page!!!                 changes occur) an organizational chart
      Public rel ations and IT departments are a       103.   Video messages from MCC leaders to
      ghost town they should be brainstorming             faculty and staff for a portion of
      with the admissions office and with the new          communication. We get so many emails.
      CEO how do I improve the communication               Would be nice if some emails contained a
      to the public ! Again like I stated before           video message so that we feel more
      looking forward to the new CEO on her




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      connected to MCC leadership. We can see
      faces and not just names.
  104.    We should have more of a partnership,
      team to communicate so that everyone has
      a part and needs to be informed when
      addressing COVID Cases. We are aware of
      patient privacy, yet when this has a
      potential to impact our health and the
      health of other students departments need
      more communication.
  105.    Weekly updates. Could even be on a
      rotating basis by Dean/Division. And some
      positive news occasionally would be great .
  106.    When a student has tested positive,
      immediate notification to instructors and
     classmates so we all can get tested so we
     do not spread the virus to our families.
  107.    while the frequency of communication
      has improved, it must continue at th is rate
     and between semesters as well, as the
     dynamics of the state rate of infection
     changes so rapidly
  108.    Zero tolerance policies on
     unprofessional behavior and conduct.




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                EXHIBIT 4




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                   The Connecticut General Assembly




FOR IMMEDIATE RELEASE
June 22, 2021

Contact: Giovanni Pinto

(860) 240-8575




  MANCHESTER REP. LUXENBERG STATEMENT OF SUPPORT FOR
               MCC CEO NICOLE ESPOSITO
                    Luxenberg Questions BOR Decision to Non-Renew "Dynamic Leader"



(MANCHESTER, CT) – Today, State Representative Geoff Luxenberg (12th District Manchester) released
a prepared statement regarding the news of the non-renewal of MCC CEO Dr. Nicole Esposito's contract to
continue to lead Manchester Community College by the Board of Regents.



"Nicole Esposito is a dynamic leader and Manchester Community College, its students, faculty, staff and the
community at large have flourished under her leadership of the College. Her tenure has even included a budget
that included a surplus during the COVID-19 crisis – and MCC being named the top Community College in
Connecticut. To learn, now, that her contract to lead this institution will not be renewed, and to not be given
any information as to why, raises a red flag of suspicion around the Board of Regents decision making process
and lack of transparency," said Rep. Luxenberg.




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"I have been impressed by the outpouring of support for Dr. Esposito from the community, the petitions, the
calls and emails. Everyone who has worked with her has described her work performance as professional,
effective, thoughtful and collaborative. To remove a beloved leader from a public, state-funded position like
this, in secrecy, without an explanation to community stakeholders, is a concern. Many of my constituents
work at MCC, go to MCC, or are deeply connected to the College as the crown jewel institution of our
community. We are hoping to get an explanation from the BOR as to why they would head in this unexpected
direction," Rep. Luxenberg said.



"My worst fear is that Dr. Esposito has fallen victim to what happens, all too often, to highly educated,
effective, professional women of integrity in leadership positions of authority in institutions that have been
traditionally and are currently dominated by men. We know that often there is a price to pay for being smart,
being effective, being vocal and being a woman in power all at the same time – and I hope that isn't the reason
that she is being shown the door now. With the absence of any other information, it is hard not to jump to that
possible and unfortunate conclusion," continued Rep. Luxenberg.


Dr. Esposito earned a Doctor of Educational Psychology (Ed.D.) degree from American International College,
as well as a Master of Science degree in Forensic Psychology and a certificate of advanced graduate studies in
adjustment counseling from that institution. She holds a Bachelor of Science degree in Psychology and a minor
in Criminal Justice from Springfield College.

She brings a wealth of teaching and curriculum design experience to the role, having served as program
coordinator/program head and associate professor in the Disability Specialist degree program, Speech-
Language Pathology Assistant option, at MCC. In addition, she served on the college’s Threat Assessment and
Behavioral Intervention team, the Title IX Task Force, was co-chair of the Women’s Caucus, a faculty mentor
for the Minority Fellowship program and held other committee and advisory roles.

She was elected to serve as the MCC representative for the Transfer and Articulation Policy committee and a
member of the Framework and Implementation Review Committee. This work involved collaboratively
developing and implementing new transfer degrees and working to help review and modify state-wide learning
outcomes and core competencies for the general education curriculum, while helping determine best practices
for reporting assessment efforts across the Connecticut State Colleges and Universities system. Dr. Esposito
was also elected to serve as the MCC representative for the state-wide Faculty Advisory Committee to the
Connecticut Board of Regents for Higher Education.

Up until 2019 she was also the owner of a successful psychotherapy and consultation practice, which she
initiated and launched from concept to completion. She moved from her faculty position at MCC to become
Assistant Dean of Liberal Arts and Professional Studies at Springfield Technical Community College in
Springfield, Mass., the position she held before returning to lead MCC as CEO.

Dr. Esposito is dedicated to the role of community colleges in today’s higher education landscape, committed
to the idea that an accessible, affordable and equitable opportunity to achieve is vital to economic prosperity
and social justice for everyone.


Rep. Luxenberg serves as Majority Caucus Chair and Deputy Majority Leader in the House of
Representatives and is proudly serving in his 4th term in the Legislature.




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Caroline Simmons

Stephanie Thomas

Toni Walker




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                EXHIBIT 5




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                                                            August 19, 2021
Dear President Cheng,

I have been teaching political science and economics at Manchester Community
College (M.C.C) since 1986 and I currently serve as the Chairperson of the M.C.C.
Academic Senate. I am writing to you to express my concerns regarding the BOR’s
decision to not re-appoint Dr. Nicole Esposito as Chief Executive Officer of
Manchester Community College.

Dr. Esposito was appointed to this position in the spring of 2020 by Mr. Mark
Ojakian, our former president. During the year that she has served as CEO, Dr.
Esposito has demonstrated great skill in guiding our institution through the
challenges posed by a global pandemic. She has organizationally and financially
stabilized M.C.C., to the point that we have a $2 million budget surplus. Dr.
Esposito is seriously committed to shared governance, and has acted to include
students, faculty, and staff in decision-making processes. Her actions have
significantly improved morale at the College. She has developed close
relationships with state legislators who represent towns in our service area, and
she works hard to promote the visibility of M.C.C. in local communities.

Last June, when we learned that the Board of Regents was going to remove Dr.
Esposito from her position, over eighty members of the Manchester Community
College faculty and staff signed a petition opposing the BOR’s decision. I am
including a copy of this petition with the list of signatories in this email. Then, as
now, many members of the M.C.C. community were appalled that the Chief
Executive Officer of one of Connecticut’s largest community colleges could be
removed from her position without even an evaluation of her performance as
CEO. Our experiences of working with Dr. Esposito on a daily basis have led us to
conclude that she is doing a good job as CEO. In what ways is she not fulfilling the
BOR’s expectations?

Over my 35 years at M.C.C., I have worked with five Presidents/CEOs, and I may
honestly say that Dr. Esposito is one of the best that I have worked with. How can
the BOR decide to remove Dr. Esposito without providing an explanation for this
action? A large bureaucratic organization such as the consolidated Connecticut
State Community College should have an objective procedure in place to ensure


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that all administrators, faculty, and staff are fairly evaluated. How can we claim to
be a “social justice institution” if we don’t treat our employees fairly? Fair
evaluations conducted by impartial judges are a minimum necessary requirement
to establish a workplace in which all persons feel that they are being treated with
dignity and respect.

The process of establishing a one consolidated Connecticut State Community
College will not be easy. In order to succeed in this endeavor, we will have to ask
difficult questions regarding the organizational structure of this institution. If we
discourage people from asking difficult questions, we may well make poor
decisions that diminish our institution and disadvantage our students.

Removing Dr. Esposito from her position as CEO of Manchester Community
College and replacing her with some one who does not share her deep
commitment to the welfare of our students will not make M.C.C. a better
institution.

I urge you to reconsider this decision.

Sincerely,
Angelo A. Messore
Professor, Political Science and Economics
Manchester Community College




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       Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 89 of 177




7/12/2021
Opinion: MCC CEO Dr. Nicole Esposito’s stance on inclusion efforts at MCC through the lens of an Immigrant
Professor.

My name is Burcin Calafiore. I am an assistant professor at Manchester Community College
Business Department, and I have been a full-time faculty at MCC since 2015. When you saw my
first name, Burcin, did you try to guess my gender, nationality, or ethnicity? I am not Italian as
my last name suggests; I am a Turkish woman married to an Italian man. Does this even
matter? Why am I even sharing the information about the origin of my name? It turns out it
matters. It also turns out that speaking English with a foreign accent, albeit a subtle one, also
matters. I feel obligated to share my own experiences of diversity and inclusion-related issues
on our campus to offer you an additional perspective as you try to understand the role of our
current CEO, Dr. Nicole Esposito, on these issues.

For many years I have been at MCC, I have had a few colleagues who never tried to pronounce
my name correctly. Moreover, some faculty I sat with within the same meetings for many years
would make loud comments like “who?” if they heard my name, Burcin, being nominated for a
position. Others would pass me by in the hallways, not pretending to see me or hear my
greeting. I even once got a written comment from a student saying, “speak English!” Every
time I sense that a colleague is dismissive or a student is disrespectful towards me, I wonder
whether their prejudicial attitudes might be impacting their behavior. When my
accomplishments do not get the same visibility or praise as my American-born colleagues’
accomplishments, I cannot help but compare my experiences to theirs. I am not a person of
color, but I nonetheless get my share of discriminatory behaviors. Am I sensitive, or am I wrong
attributing certain behaviors to prejudicial attitudes when the reason might be something else?
Perhaps. Nonetheless, how I feel deserves validation.

Because of my own experiences due to being part of a minority group, I get very concerned
when I sense my colleagues and students from other minority groups get treated unfairly or
poorly. People who act guided primarily by their stereotypical attitudes often do not
discriminate differently against different minority groups. Unfortunately, I guess they are
almost equally discriminatory against people of color, immigrants, or members of the LGBTQ
community.

To this day, one of the most pleasant memories I have had about MCC is the lengthy,
heartwarming conversation I had with Dr. Esposito in 2014 on my first time on campus after I
was offered a full-time position. In the years following, whenever she saw me in the hallway,
she always greeted me with a genuine smile and asked about my daughter. I admired her




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assertiveness and strong character, which could be intimidating for some. I thought she always
spoke her mind candidly without a hidden agenda, a trait that I always felt would serve her well
in a leadership position. We did not work in the same committees when she was a faculty, but
we both worked as mentors for the minority fellowship program at MCC. I never felt being
treated differently by her because of my accent or ethnicity.

When Dr. Esposito came back to MCC as a CEO, a close colleague of mine who is also an
immigrant sent me a message saying Nicole is a person of impeccable integrity. I do not see
everything eye to eye with her; however, that is also my perception of Dr. Esposito’s character.
She is fair and consistent.

Reflecting on my own negative experiences and that of my other colleagues from other
minority groups, our campus community has a lot of hard work ahead to foster a culture of
inclusion. We need to collaborate to create a culture where no form of microaggression is
tolerated, and each member of our college community feels respected and included. Dr.
Esposito is deeply committed to lead and support these efforts. For example, during the
Opening Day for Fall 2020, Dr. Esposito invited Steven Hernandez, Executive Director at the
Connecticut Commission on Women, Children, Seniors, Equity & Opportunity, to discuss
inclusion and diversity. In addition, during the Opening Day for Spring 2021, she planned the Dr.
Martin Luther King Jr. celebrations. Also, last October, our campus held a Virtual Black Lives
Matter event that featured prominent speakers in diversity work. Mr. Jesse Ross, who has
been a powerful voice for Black and African American citizens following George Floyd’s death,
was one of the event speakers. Another important initiative was to hold four CEO coffee hours
in response to the campus community expressing a need for an open dialogue.

Dr. Esposito picked Dr. Fatma Salman, an MCC faculty who has been a strong advocate for
Muslim students and women faculty, as MCC’s Interim Dean of Academic and Student Affairs. I
was born and raised by a secular family in a predominantly Muslim yet constitutionally secular
state, Turkey. The ban of headscarves in public institutions was one symbolic application of
secularism. Twenty years ago, a woman with a headcover would not be allowed to work at a
public institution or go to any public university in Turkey. Many secularists like my family feared
lifting the strict ban on religion would move our country backward and away from the modern
West. It was not until Dr. Salman, an incredibly smart, talented, competent, and confident
Muslim Woman with a headscarf, became our Dean, I started uncovering and reflecting on my
own biases about women with headscarves. I also wondered how many gifted Turkish women
like Dr. Salman could not fulfill their potential because of the Turkish constitution.




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       Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 91 of 177




To elect a Muslim woman wearing a headscarf as our Dean amid the heightened nationwide
discrimination against various minority groups was an incredibly courageous move for our CEO,
an American-born white woman. It needs to be applauded as a positive move towards creating
a workplace that celebrates diversity in all its beautiful forms and extending our inclusion
efforts to all marginalized groups. I hope you, too, would realize Dr. Nicole Esposito’s
commitment to creating a workplace culture where everyone feels respected, included, and
tangible accomplishments speak louder than the salient characteristics that one cannot easily
change.

Yours truly,
Burcin Calafiore
Assistant Professor of Business
bcalafiore@mcc.commnet.edu/ 860-512-2634
Manchester Community College
Great Path, MS #4
P.O. Box 1046
Manchester, CT 06045-1046


P.S. My opinion has not been solicited by anyone.

Endorsed by: K. Umesh Vig, Director of Student Affairs Operations (Past Chair of the MCC
Minority Caucus)




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     ESPOSITO - 11/10/21 RESPONSE - 000091
                           Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 93 of 177




From: McDowell, James M <JMcDowell@mcc.commnet.edu>
Sent: Wednesday, July 7, 2021 9:28:03 PM
To: Esposito, Nicole C <NEsposito@mcc.commnet.edu>
Subject: FW: Nicole Esposito

Hi Nicole,

I want to share my letter of support for you that I sent to Alice Pritchard. I realize these are challenging times, but you have done an exceptional
job as CEO for our college. I felt it was important to let CSCU leadership know that.

Sincerely, Jim.

James McDowell
Dean of Administration
Manchester Community College
jmcdowell@mcc.commnet.edu
Telephone: 860-512-3602

From: McDowell, James M
Sent: Tuesday, June 22, 2021 1:02 PM
To: Pritchard, Alice M <APritchard@commnet.edu>
Cc: Levinson, David <DLevinson@commnet.edu>
Subject: Nicole Esposito

Hi Alice,

After careful consideration as the senior member of our MCC management team, I felt it was important to reach out to you directly regarding
the decision not to re-appoint Dr. Nicole Esposito. From my perspective, Nicole has provided outstanding leadership to the college during a

                                                                         2
ESPOSITO - 11/10/21 RESPONSE - 000092
                                 Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 94 of 177

difficult time of significant challenges and structural changes. From the impact of COVID-19 to the ongoing transition to a one college structure,
Nicole continued to keep employee morale high, implement innovative initiatives to address strategic priorities, carefully and skillfully managed
the operating budget, while always keeping the needs of our students and college as her highest priority. Dr. Esposito is fair, honest, inclusive,
and willing to ask the difficult questions that lead to successful outcomes. She challenges me everyday to find new ways to improve my areas of
responsibility. From Budget to Covid Coordination to Facilities to Police. We have always worked as a team and I appreciate her supportive
management style.

On a personal note, I am approaching 33 years at MCC and will be retiring on 9/1/2021. I have been so fortunate to work for Gena Glickman,
Tanya Millner, and Nicole Esposito. I do care deeply about MCC and our students. I believe a change in leadership at this point in time would be
a mistake. I encourage you and the CSCU leadership team to reconsider this decision.

Sincerely,

Jim.


James McDowell
Dean of Administration
Manchester Community College
jmcdowell@mcc.commnet.edu




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ESPOSITO - 11/10/21 RESPONSE - 000093
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Weaver, Ernestine V

From:                             Undo, Patricia 0
Sent                              Monday, June 21, 2021 5: 12 PM
To:                               Carolina, Kimberly B; Mazza, Diane
Subject:                          FW: Petition Opposing the Dismissal of CEO Nicole Esposito    June 21, 2021




From: Messore, Angelo A <AMessore@mcc.cornmnet.edu>
Sent: Monday, June 21, 20215 :08 PM
To: MA-Allpoints <Allpoints@rncc.commnet.edu>
Subject: Petition Opposing the Dismissal of CEO Nicole Esposito June 21, 2021




Dear Members of the Manchester Community College community:



After a nationwide search in the spring of 2020, Dr. Nicole Esposito was appointed Chief Executive Officer of
Manchester Community College by the Board of Regents of the Connecticut State Colleges and Universities.
Over the past year, Dr. Esposito has shown great skill in guiding MCC through difficult times. She has
repeatedly proven her deep concern for the welfare of our students, and for the academic success of our college.
She has asked· probing questions about the consolidation of the 12 community colleges in order to ensure that
our students are well served by the new institution that is being constructed. Dr. Esposito has also demonstrated
a strong commitment to the procedures of shared governance that have long defined Manchester Community
College.



Last week, Dr. Rob Steinmetz, our Regional President, informed Dr. Nicole Esposito that she would not be re-
appointed to the position of Chief Executive Officer of Manchester Community College for the coming
academic year.



Without valid reasons and without an objective evaluation of her performance as CEO, Dr. Esposito is being
denied re-appointment. What kind of a system are we moving towards if one person can derail the career of
another without facts, without an objective evaluation, and without due process?



At its meeting on Thursday, June 24, 2021, the Board of Regents (BOR) will vote on the dismissal of CEO
Esposito. As Chair of the MCC Academic Senate, I have started a petition to bring to the BOR this Thursday to
demand that Regional President Rob Steimnetz, CSCC President David Levinson, Chief Operating Officer
Alice Pritchard, and the members of the Board of Regents rescind this action against CEO Esposito.

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      ESPOSITO - 11/10/21 RESPONSE - 000094                              ESPOSITO - FOIA 1 - 8/5/21 - 000188
          Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 96 of 177




I urge you to join me in signing this petition demanding that the Board of Regents renew for the coming
academic year Dr. Esposito's appointment as CEO of Manchester Community College.



Please reply to me by Wednesday June 23 rd at 5pm to add your name to this petition.



Sincerely,

Angelo Messore

Chair, Manchester Community College Academic Senate

Professor, Political Science and Economics



Signatories:

K. Umesh Vig, Director of Student Affairs Operations

Carl Stafford, Retired Professor of Culinary Arts and Hospitality Management

Patrick Sullivan, Professor of English

Christopher Paulin, Professor of History

Maura O 'Connor, Professor of Graphic Design

Susan Classen-Sullivan, Professor of Fine Arts

Kevin Skee, Department of Information Technology

Meghan Finley, Associate Professor, Sociology

T.J. Barber, Director of Student Activities

Kimberly Hamilton Bobrow, Professor of English

N icole Simmons, Academic Associate, STEM




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   ESPOSITO - 11/10/21 RESPONSE - 000095                           ESPOSITO - FOIA 1 - 8/5/21 - 000189
           Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 97 of 177




Weaver, Ernestine Y

From:                              Lindo, Patricia 0
Sent:                              Tuesday, June 22, 2021 8:27 AM
To:                                Mazza, Diane; Carolina, Kimberly B
Subject                            RE: Petition Opposing the Dismissal of CEO Nicole Esposito    June 21 , 2021



Diane, you're welcome!

Responses are coming back from faculty in support of adding their signature.
Patricia


From: Mazza, Diane <DMazza@commnet.edu>
Sent: Tuesday, June 22, 2021 7:44 AM
To: Lindo, Patricia O <Plindo@commnet.edu>; Carolina, Kimberly B <KCarolina@commnet.edu>
Subject: RE: Petition Opposing the Dismissal of CEO Nicole Esposito June 21, 2021

Thanks Patricia for forwarding this.

Diane


From: Lindo, Patricia O <Plindo@commnet .edu>
Sent: Monday, June 21, 2021 5:12 PM
To: Carolina, Kimberly B <KCarolina@commnet.edu>; Mazza, Diane <DMazza@commnet.edu>
Subject: FW: Petition Opposing the Dismissal of CEO Nicole Esposito June 21, 2021




From: Messore, Angelo A <AMessore@mcc.commnet.edu>
Sent: Monday, June 21, 2021 5:08 PM
To: MA-Allpoints <Allpoints@mcc.commnet.edu>
Subject: Petit ion Opposing the Dismissal of CEO Nicole Esposito June 21, 2021




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repeatedly proven her deep concern for the welfare of our students, and for the academic success of our college.
She has asked probing questions about the consolidation of the 12 community colleges in order to ensure that
our students are well served by the new institution that is being constructed. Dr. Esposito has also demonstrated
a strong commitment to the procedures of shared governance that have long defined Manchester Community
College.




      ESPOSITO - 11/10/21 RESPONSE - 000096                               ESPOSITO - FOIA 1 - 8/5/21 - 000200
         Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 98 of 177




Last week, Dr. Rob Steinmetz, our Regional President, informed Dr. Nicole Esposito that she would not be re-
appointed to the position of Chief Executive Officer of Manchester Community College for the coming
academic year.



Without valid reasons and without an objective evaluation of her performance as CEO, Dr. Esposito is being
denied re-appointment. What kind of a system are we moving towards if one person can derail the career of
another without facts, without an objective evaluation, and without due process?



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Esposito. As Chair of the MCC Academic Senate, [ have started a petition to bring to the BOR this Thursday to
demand that Regional President Rob Steinmetz, CSCC President David Levinson, Chief Operating Officer
Alice Pritchard, and the members of the Board of Regents rescind this action against CEO Esposito.



I urge you to join me in signing this petition demanding that the Board of Regents renew for the coming
academic year Dr. Esposito's appointment as CEO of Manchester Community College.



Please reply to me by Wednesday June 23 rd at 5pm to add your name to this petition.



Sincerely,

Angelo Messore

Chair, Manchester Community College Academic Senate

Professor, Political Science and Economics



Signatories:

K. Umesh Vig, Director of Student Affairs Operations

Carl Stafford, Retired Professor of Culinary Arts and Hospitality Management

Patrick Sullivan, Professor of English

Christopher Paulin, Professor of History

Maura O'Connor, Professor of Graphic Design
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  ESPOSITO - 11/10/21 RESPONSE - 000097                            ESPOSITO - FOIA 1 - 8/5/21 - 000201
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Susan Classen-Sullivan, Professor of Fine Arts

Kevin Skee, Department of Information Technology

Meghan Finley, Associate Professor, Sociology

T.J. Barber, Director of Student Activities

Kimberly Hamilton Bobrow, Professor of English

Nicole Simmons, Academic Associate, STEM




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   ESPOSITO - 11/10/21 RESPONSE - 000098               ESPOSITO - FOIA 1 • 8/5/21 • 000202
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Weaver, Ernestine Y

From:                              Carolina, Kimberly B
Sent:                              Tuesday, June 22, 2021 9:31 AM
To:                                Mazza, Diane
Cc:                                Lindo, Patricia 0
Subject:                           Fw: firing of MCC CEO Nicole Esposito
Attachments:                       Petition SOR Esposito v5.docx (1).pdf



Good Morning,

Please see below and attached. Here is an email from 4Cs president (CCC) re: CEO Esposito.


Kimberly Carolina
CSCU Regional HR Manager - Capital East Region
Kcarolina@commnet.edu; 860-343·5757




From: Leon, Frances <Fleon@commnet.edu>
Sent: Tuesday, June 22, 20219:25 AM
To: Carolina, Kimberly B <KCarolina@commnet.edu>
Subject: FW: firing of MCC CEO Nicole Esposito

FYI


From: Freeman, Seth R<SFreeman@ccc.commnet.edu>
Sent: Tuesday, June 22, 20219:06 AM
To: Freeman, Seth R<SFreeman@ccc.commnet.edu>
Subject: Fw: firing of MCC CEO Nicole Esposito

CCC Colleagues,

Hope everyone is well.

Please see the attached statement that calls out the CSCU administration for their incompetence and
m ismanagement e><emplified by the recent firing of Manchester Community College CEO Nicole Esposito.

We need all of our college community to stand up and fight the BOR, CSCU and CSCC system administrators
for their continued colonization of our colleges. We must simply stop their plan to centralize power and take
all decision-making from our students, faculty, staff and local administration.

Please read through the statement and reply to me individually if you would like your name added.


thanks,

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      ESPOSITO - 11/10/21 RESPONSE - 000099                                ESPOSITO - FOIA 1 - 8/5/21 - 000205
        Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 101 of 177



Seth Freeman
Professor, Computer Information Systems
Capital Community College
(860) 906 5249
President
4Cs, SEIU 1973
seth@the4cs.org

From: Doninger, Lauren <LDoninger@gwcc.commnet.edu>
Sent: Monday, June 21, 202110:03 PM
To: Creech, Paul G <PCreech@ccc.commnet.edu>; Messore, Angelo A.<AMessore@mcc.commnet.edu>; Jones, Eva M
<EJones2@mxcc.cornmnet.edu>; Aime, Lois D <LAime@ncc.commnet.edu>; Maisfehlt, Lillian D
<LMaisfehlt@gwcc.commnet.edu>; Lewis, John <JLewis@qvcc.commnet.edu>; Army, William G
<WArmy@qvcc.commnet.edu>; Sheirer, John M <JSheirer@acc.commnet.edu>; Rempfer, Christopher
<CRempfer@nvcc.commnet.edu>; Holmberg, Tara J <THolmberg@nwcc.commnet.edu>; Sanders, Randy
<RSanders@hcc.commnet.edu>; Selvaggio, Joseph <JSelvaggio@trcc.commnet.edu>; Coan, Francis M
<FCoan@txcc.commnet.edu>
Subject: firing of MCC CEO Nico le Esposito


Dear Governance Leaders,

As you probably know, MCC CEO Nicole Esposito was fired last week. Please see the attached statement. If
you are inclined, please circulate to your colleagues. Anyone willing to sign the stat ement should send me
their name by 9 AM on Wednesday 6/23. It will be submitted for inclusion in the BOR minutes on Thursday.

Regards,
Lauren




Lauren Doninger, Ed.D., LPC, LADC
Professor of Psychology
Office Hours - Webex Room 645 079 468 (instructions)
Student Success Center Advising Appointments

"Rather fail with honor than succeed by fraud."~ Sophocles




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  ESPOSITO - 11/10/21 RESPONSE - 000100                           ESPOSITO - FOIA 1 - 8/5/21 - 000206
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Weaver, Ernestine Y

From:                               Mazza, Diane
Sent:                               Tuesday, June 22, 2021 9:32 AM
To:                                 Kripp, Andrew; Pritchard, Alice M; Weaver, Ernestine Y
Subject:                            FW: fi ring of MCC CEO Nicole Esposito
Attachments:                        Petit ion BOR Esposit o vS.docx (1) .pdf




From: Carolina, Kimberly B <KCarolina@comm net .edu>
Sent: Tuesday, June 22, 20219:31 AM
To: Mazza, Diane <DMazza@commnet.edu>
Cc: Lindo, Pat ricia O <Plindo@commnet.edu>
Subject: Fw: firi ng of MCC CEO Nicole Esposito

Good Morning,

Please see below and attached. Here is an email from 4Cs president (CCC) re: CEO Esposito.


Kimberly Carolina
CSCU Regional HR Manager - Capita l East Region
Kcarolina@commn et.edu; 860-343-5757




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Sent: Tuesday, June 22, 2021 9:25 AM
To: Carolina, Kimberly B <KCarolina@commnet.edu>
Subject: FW: firing of MCC CEO Nicole Esposito

FYI

From: Freeman, Seth R <5 Freeman@ccc.commnet.edu>
Sent: Tuesday, June 22, 2021 9:06 AM
To: Freeman, Seth R <SFreeman@ccc.cornmnet.ed u>
Subject: Fw: firing of MCC CEO Nicole Esposito

CCC Colleagues,

Hope everyone is well.

Please see the attached statement that calls out the CSCU administration for their incompetence and
mismanagement exemplified by the recent firing of Manchester Community College CEO Nicole Esposito.




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      ESPOSITO - 11/10/21 RESPONSE - 000101                                 ESPOSITO - FOIA 1 - 8/5/21 - 000207
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We need all of our college community to stand up and fight the BOR, CSCU and CSCC system administrators
for their continued colonization of our colleges. We must simply stop their plan to centralize power and take
air decision-making from our students, faculty, staff and local administration.

Please read through the statement and reply to me individually if you would like your name added .


thanks,


Seth Freeman
Professor, Computer Information Systems
Capital Community College
(860) 906 5249
President
4Cs, SEIU 1973
seth@the4cs.org

From: Doninger, Lauren <LDoninger@gwcc.commnet.edu>
Sent: Monday, June 21, 202110:03 PM
To: Creech, Paul G <PCreech@ccc.commnet.edu>; Messore, Angelo A <AMessore@mcc.commnet.edu>; Jones, Eva M
<EJones2@mxcc.commnet.edu>; Aime, Lois D <LAirne@ncc.commnet.edu>; Maisfehlt, Lillian D
<LMaisfehlt@gwcc.commnet..edu>; Lewis, John <Jlewis@qvcc.commnet.edu>; Army, William G
<WArmy@qvcc.commnet.edu>; Sheirer, John M <JSheirer@acc.commnet.edu>; Rempfer, Christopher
<CRempfer@nvcc.commnet.edu>; Holmberg, Tara J <THolmberg@nwcc.commnet.edu>; Sanders, Randy
<RSanders@hcc.commnet.edu>; Selvaggio, Joseph <JSelvaggio@trcc.commnet.edu>; Coan, Francis M
<F Coan@txcc.co:mm net.ed u>
Subject: firing of MCC CEO Nicole Esposito

Dear Governance Leaders,

As you probably know, MCC CEO Nicole Esposito was fired last week. Please see the attached statement. If
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Regards,
Lauren




Lauren Doninger, Ed.D., LPC, LADC
Prof essor of Psychology
Office Hours - Webex Room 645 079 468 (instructions)
Student Success Center Advising Appointments

"Rather fail with honor than succeed by fraud."~ Sophocles




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  ESPOSITO - 11/10/21 RESPONSE - 000102                            ESPOSITO - FOIA 1 - 8/5/21 - 000208
           Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 104 of 177




Weaver, Ernestine Y

From:                             Pritchard, Alice M
Sent:                             Tuesday, June 22, 2021 9:41 AM
To:                               Steinmetz Ill, Robert R
Subject:                          RE: firing of MCC CEO Nicole Esposito


In receipt. Thanks

Alice Pritchard, Ph.D.
Chief of Staff
CT State Colleges and Universities (CSCU)
61 Woodland Street
Hartford, CT 06105
(860) 723•0016
pritcharda@ct.edu
www.ct.edu




Icscu I
from: Steinmetz Ill, Robert R <RSteinmetz@commnet.edu>
Sent: Tuesday, June 22, 20219:40 AM
To: Pritchard, Alice M <APritchard@commnet.edu>
Subject: Fwd : firing of MCC CEO Nicole Esposito

FYI.

Sent from my iPhone

Begin forwarded message:

        From: "Freeman, Seth R" <SFreeman@ccc.commnet.edu>
        Date: June 22, 2021 at 9:06:57 AM EDT
        To: "Freeman, Seth R" <SFreeman@ccc.commnet.edu>
        Subject: Fw: firing ofMCC CEO Nicole Esposito


        CCC Colleagues,

        Hope everyone is well.

        Please see the attached statement that calls out the CSCU administration for their
        incompetence and mismanagement exemplified by the recent firing of Manchester Community
        College CEO Nicole Esposito.




    ESPOSITO - 11/10/21 RESPONSE - 000103                                 ESPOSITO - FOIA 1 - 8/5/21 - 000209
     Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 105 of 177



   We need all of our college community to stand up and fight the BOR, CSCU and CSCC system
   administrators for their continued colonization of our colleges. We must simply stop their plan
   to centralize power and t ake all decision-making from our students, faculty, staff and local
   administration.

   Please read through the statement and reply to me individually if you would like your name
   added.



   thanks,



   Seth Freeman
   Professor, Com puter Inform ation Systems
   Capital Community College
   (860) 906 5249
   President
   4Cs, SEIU 1973
   seth@the4cs.org

   From: Doninger, Lauren <LDoninger@gwcc.commnet.edu>
   Sent: Monday, June 21, 202110:03 PM
   To: Creech, Paul G <PCreech@ci::c.commnet.edu>; Messore, Angelo A <AMessore@mcc.commnet.edu>;
   Jones, Eva M <EJones2@mxcc.commnet.edu>; Aime, Lois D <LAime@ncc.commnet.edu>; Maisfehlt,
   Lillian D <LMaisfehlt@gwcc.commnet.edu>; Lewis, John <Jl ewis@gvcc.commnet.edu>; Army, William G
   <WArmy@gvcc.commnet.edu>; Sheirer, John M <JSheirer@acc.commnet .edu>; Rempfer, Christopher
   <CRempfer@nvcc.commnet .edu>; Holmberg, Tara J <THolmberg@nw cc.commnet.edu>; Sanders, Randy
   <RSande rs@hcc.commnet.edu>; Selvaggio, Joseph <JSelvaggio@trcc.comm net.edu>; Coan, Francis M
   <FCoan@txcc.commnet.edu>
   Subject: firing of MCC CEO Nicole Esposito

   Dear Governance Leaders,

   As you probably know, MCC CEO Nicole Esposito was fired last week. Please see the attached
   statement. If you are inclined, p lease circulate to your colleagues. Anyone willing to sign the
   statement should send me their name by 9 AM on Wednesday 6/23. It will be submitted for
   inclusion in the SOR minutes on Thursday.

   Regards,
   Lauren




   Lauren Doninger, Ed.O., LPC, LADC
   Profe ssor of Psychology
   Office Hours • Webex Room 645 079 468 (instructions)
   St ude nt Success Center Advising Appointments

   "Rather fall with honor than succeed by fraud."- Sophocles

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ESPOSITO - 11/10/21 RESPONSE - 000104                            ESPOSITO - FOIA 1 - 8/5/21 - 000210
           Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 106 of 177




Weaver, Ernestine Y

From:                              Gray, Jennifer L
Sent                               Tuesday, June 22, 2021 9:58 AM
To:                                Steinmetz Ill, Robert R
Subject:                           FW: firing of MCC CEO Nicole Esposito
Attachments:                       Petition SOR Esposito vS.docx (1).pdf


In case you haven't seen this...


From: Freeman, Seth R <SFreeman@ccc.commnet.edu>
Sent: Tuesday, June 22, 20219:06 AM
To: Freeman, Seth R <SFreeman@ccc.commnet.edu>
Subject: Fw: firing of MCC CEO Nicole Esposito

CCC Colleagues,

Hope everyone is well.

Please see the attached statement that calls out the CSCU administration for their incompetence and
mismanagement exemplified by the recent firing of Manchester Community College CEO Nicole Esposito.

We need all of our college community to stand up and fight the BOR, CSCU and CSCC system administrators
for their continued colonization of our colleges. We must simply stop their plan to centralize power and take
all decision-making from our students, faculty, staff and local administration.

Please read through the statement and reply to me individually if you would like your name added.



thanks,



Seth Freeman
Professor, Computer Information Systems
Capital Community College
(860) 906 5249
President
4Cs, SEIU 1973
seth@the4cs.org

From: Donlnger, Lauren <LDoninger@gwcc.commnet.edu>
Sent: Monday, June 21, 202110:03 PM
To: Creech, Paul G <PCreech@ccc.commnet.edu>; Messore, Angelo A <AMessore@mcc.commnet.edu>; Jones, Eva M
<EJones2@mxcc.commnet.edu>; Aime, Lois D <LAime@ncc.commnet.edu>; Maisfehlt, Lillian D
<LMaisfehlt@gwcc.commnet.edu>; Lewis, John <JLewis@gvcc.commnet.edu>; Army, William G
<WArmy@gvcc.commnet.edu>; Sheirer, John M <lSheirer@acc.commnet.edu>; Rempfer, Christopher
<CRempfer@nvcc.commnet.edu>; Holmberg, Tara J <THolmbe"rg@nwcc.commnet.edu>; Sanders, Randy
<RSanders@hcc.commnet.edu>; Selvaggio, Joseph <JSelvaggio@trcc.commnet.edu>; Coan, Francis M

                                                           1


      ESPOSITO - 11/10/21 RESPONSE - 000105                                ESPOSITO - FOIA 1 - 8/5/21 - 000211
           Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 107 of 177



<FCoan@txcc.commnet.edu>
Subject: firing of MCC CEO Nicole Esposito

Dear Governance leaders,

As you probably know, MCC CEO Nicole Esposito was fired last week. Please see the attached statement. If
you are inclined, please circulate to your colleagues. Anyone willing to sign the statement should send me
their name by 9 AM on Wednesday 6/23. It will be submitted for inclusion in the BOR minutes on Thursday.

Regards,
Lauren




Lauren Doninger, Ed.O., LPC, LADC
Professor of Psychology
Office Hours• Webex Room 645 079 468 (instructions)
Student Success Center Advising Appointments

"Rather fail with honor than succeed by fraud."~ Sophocles




                                                      2


   ESPOSITO - 11/10/21 RESPONSE - 000106                           ESPOSITO - FOIA 1 - 8/5/21 - 000212
     Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 108 of 177




      Statement on the Firing of MCC CEO Nicole Esposito

      On Thursday June 17th 2021, Manchester Community College CEO Nicole Esposito was fired. CEO
      Esposito's dismissal is strategic silencing because of her advocacy for MCC, her critical questioning of
      consolidation costs and processes, and for bringing her concerns to NECHE. The dismissal of CEO
      Esposito is an explicit warning to any other CEO who might deign to ask any questions or attempt to
      advocate for the college they are, at least on paper, charged to lead.

     Under the One College model, the twelve independently-accredited community colleges have no local
     autonomy and decision-making abillties. Currently, CEO/Presidents of independently accredited
     institutions are In the untenable position of being responsible for institutions over which they have
     insufficient authority.

     The firing of CEO Esposito is further proof that local administrators who do not bow to the mandates of
     CSCC Regional and College administrators will be silenced and punished. Her termination Is a clear
     demonstration of intimidation, bullying, coercion, retal iation, and demand for fealty, that characterizes
     this CSCU administration. It is reprehensible and inexcusable and the antithesis of what should be
     permitted in a system of higher learning.



     Signed

     Lois Alme, Norwalk Community College
     Francis Coan, Tunxis Community College
     Lauren Doninger, Gateway Community College
     Seth Freeman, Capital Community College
     Diba Khan-Bureau, Three Rivers Community College
     Colena Sesanker, Gateway Community College




ESPOSITO - 11/10/21 RESPONSE - 000107                                      ESPOSITO - FOIA 1 - 8/5/21 - 000213
           Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 109 of 177



Weaver, Ernestine Y

From:                              Bonilla, Sofia
Sent:                              Tuesday, June 22, 2021 10:18 AM
To:                                Kripp, Andrew; Delloiacono, Dean
Subject:                           FW: Petition Opposing the Dismissal of CEO Nicole Esposito            June 21, 2021



Andy - this is the original email that went out before Congress sent out their own email - I forward tha t text to you.


8ofia.

From: Messore, Angelo A <AMessore@mcc.commnet.edu>
Sent: Monday, June 21, 2021 5:08 PM
To: MA-Allpoints <Allpoints@mcc.commnet.edu>
Subject: Petition Opposing the Dismissal of CEO Nicole Esposito June 21, 2021




Dear Members of the Manchester Community College community:



After a nationwide search in the spring of 2020, Dr. Nicole Esposito was appointed Chief Executive Officer of
Manchester Community College by the Board of Regents of the Connecticut State Colleges and Universities.
Over the past year, Dr. Esposito has shown great skill in guiding MCC through difficult times. She has
repeatedly proven her deep concern for the welfare of our students, and for the academic success of our college.
She has asked probing questions about the consolidation of the 12 community colleges in order to ensure that
our students are well served by the new institution that is being constructed. Dr. Esposito has also demonstrated
a strong commitment to the procedures of shared governance that have long defined Manchester Community
College.



Last week, Dr. Rob Steinmetz, our Regional President, infonned Dr. Nicole Esposito that she would not be re-
appointed to the position of Chief Executive Officer of Manchester Community College for the coming
academic year.



Without valid reasons and without an objective evaluation of her performance as CEO, Dr. Esposito is being
denied re-appointment. What kind of a system are we moving towards if one person can derail the career of
another without facts, without an objective evaluation, and without due process?



At its meeting on Thursday, June 24, 2021, the Board of Regents (BOR) will vote on the dismissal of CEO
Esposito. As Chair of the MCC Academic Senate, I have started a petition to bring to the BOR this Thursday to
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    ESPOSITO - 11/10/21 RESPONSE - 000108                                   ESPOSITO - FOIA 1 - 8/5/21 - 000215
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demand that Regional President Rob Steinmetz, CSCC President David Levinson, Chief Operating Officer
Alice Pritchard, and the members of the Board of Regents rescind this action against CEO Esposito.



I urge you to join me in signing this petition demanding that the Board of Regents renew for the coming
academic year Dr. Esposito's appointment as CEO of Manchester Community College.



Please reply to me by Wednesday June 23 rd at 5pm to add your name to this petition.



Sincerely,

Angelo Messore

Chair, Manchester Community College Academic Senate

Professor, Political Science and Economics



Signatories:

K. Umesh Vig, Director of Student Affairs Operations

Carl Stafford, Retired Professor of Culinary Arts and Hospitality Management

Patrick Sullivan, Professor of English

Christopher Paulin, Professor of History

Maura O'Connor, Professor of Graphic Design

Susan Classen-Sullivan, Professor of Fine Arts

Kevin Skee, Department of Information Technology

Meghan Finley, Associate Professor, Sociology

T.J. Barber, Director of Student Activities

Kimberly Hamilton Bobrow, Professor of English

Nicole Simmons, Academic Associate, STEM




                                                       2



  ESPOSITO - 11/10/21 RESPONSE - 000109                            ESPOSITO - FOIA 1 - 8/5/21 - 000216
           Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 111 of 177




Weaver, Ernestine Y

From:                             Dupille Jr., Leonard
Sent:                             Tuesday, June 22, 2021 6:23 PM
To:                               Bradley, Linda L; Gutterman, Jennifer; Messore, Angelo A; MA-Allpoints
Subject:                          Re: Petrtion Opposing the Dismissal of CEO Nicole Esposito          June 21, 2021



Hi Angelo,

Please add my name to the petition. Supporting a campus leader who has done her best to be responsive to
the needs of faculty, staff, and students under very trying circumstances is the right thing to do. To dismiss
somebody after only a year, especially this previous year that we've had, seems unfair and suspect at best.

Take care,
Len


From: Bradley, Linda L <lBradley@mcc.commnet.edu>
Sent: Tuesday, June 22, 2021 4:11 PM
To: Gutterman, Jennifer <JGutterman@mcc.commnet.edu>; Messore, Angelo A <AMessore@mcc.commnet.edu>; MA-
Allpoints <Allpoints@mcc.commnet.edu>
Subject: Re: Petition Opposing the Dismissal of CEO Nicole Esposito June 21, 2021

Please add my name to the petition in support of Dr. Esposito. Thank you.

Linda Bradley
Drawing I Adjunct Instructor
Get Outlook for iOS

From: Gutterman, Jennifer <JGutterman@mcc.commnet.edu>
Sent: Tuesday, June 22, 20211:56:45 PM
To: Messore, Angelo A <AMessore@mcc.commnet.edu>; MA-Allpoints <Allpoints@mcc.commnet.edu>
Subject: Re: Petition Opposing the Dismissal of CEO Nicole Esposito June 21, 2021

Please add my name to this petition. I absolutely do not support this action against Dr. Esposito and agree
with this petition to stop it.




Jennifer Gutterman
Associate Professor
Program Coordinator - Game Design
Communication & Game Design Department
they/them



Schedule an Appointment

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    ESPOSITO - 11/10/21 RESPONSE - 000110                                 ESPOSITO - FOIA 1 - 8/5/21 - 000222
          Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 112 of 177




Manchester Community College
Great Path, MSit 19
P.O. Bo>< 1046
Manchester, CT 06045-1046

From: Messore, Angelo A <AMessore@mcc.commnet.edu>
Sent: Monday, June 21, 2021 5:07 PM
To: MA-Allpoints <Allpoints@mcc.commnet.edu>
Subject: Petition Opposing the Dismissal of CEO Nicole Esposito June 21, 2021



Dear Members of the Manchester Community College community:

After a nationwide search in the spring of 2020, Dr. Nicole Esposito was appointed Chief Executive Officer of
Manchester Community College by the Board of Regents of the Connecticut State Colleges and Universities.
Over the past year, Dr. Esposito has shown great skill in guiding MCC through difficult times. She has
repeatedly proven her deep concern for the welfare of our students, and for the academic success of our
college. She has asked probing questions about the consolidation of the 12 community colleges in order to
ensure that our students are well served by the new institution that is being constructed. Dr. Esposito has also
demonstrated a strong commitment to the procedures of shared governance that have long defined
Manchester Community College.

Last week, Dr. Rob Steinmetz, our Regional President, informed Dr. Nicole Esposito that she would not be re-
appointed to the position of Chief Executive Officer of Manchester Community College for the coming
academic year.

Without valid reasons and without an objective evaluation of her performance as CEO, Dr. Esposito is being
denied re-appointment. What kind of a system are we moving towards if one person can derail the career of
another without facts, without an objective evaluation, and without due process?

At its meeting on Thursday, June 24, 2021, the Board of Regents (BOR} will vote on the dismissal of CEO
Esposito. As Chair of the MCC Academic Senate, I have started a petition to bring to the BOR this Thursday to
demand that Regional President Rob Steinmetz, CSCC President David Levinson, Chief Operating Officer Alice
Pritchard, and the members of the Board of Regents rescind thjs action against CEO Esposito.

I urge you to join me in signing this petition demanding that the Board of Regents renew for the coming
academic year Dr. Esposito's appointment as CEO of Manchester Community College.

Please reply to me by Wednesday June 23rd at Spm to add your name to this petition.

Sincerely,
Angelo Messore
Chair, Manchester Community College Academic Senate
Professor, Political Science and Economics

Signatories:
K. Umesh Vig, Director of Student Affairs Operations

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   ESPOSITO - 11/10/21 RESPONSE - 000111                                 ESPOSITO - FOIA 1 - 8/5/21 - 000223
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Carl Stafford, Retired Professor of Culinary Arts and Hospitality Management
Patrick Sullivan, Professor of English
Christopher Paulin, Professor of History
Maura O'Connor, Professor of Graphic Design
Susan Classen-Sullivan, Professor of Fine Arts
Kevin Skee, Department of Information Technology
Meghan Finley, Associate Professor, Sociology
T.J. Barber, Director of Student Activities
Kimberly Hamilton Bobrow, Professor of English
Nicole Simmons, Academic Associate, STEM




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   ESPOSITO - 11/10/21 RESPONSE - 000112                           ESPOSITO - FOIA 1 - 8/5/21 - 000224
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      Case3:21-cv-01149-SRU
           3:21-cv-01149-SRU Document
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                                             Filed03/10/22
                                                   10/05/21 Page
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                                                                        177




Subject: Petition Opposing the Dismissal of CEO Nicole Esposito          June 21, 2021

Dear Members of the Manchester Community College community:

After a nationwide search in the spring of 2020, Dr. Nicole Esposito was appointed Chief
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students, and for the academic success of our college. She has asked probing questions about
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commitment to the procedures of shared governance that have long defined Manchester
Community College.

Last week, Dr. Rob Steinmetz, our Regional President, informed Dr. Nicole Esposito that she
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College for the coming academic year.

Without valid reasons and without an objective evaluation of her performance as CEO, Dr.
Esposito is being denied re-appointment. What kind of a system are we moving towards if one
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President David Levinson, Chief Operating Officer Alice Pritchard, and the members of the
Board of Regents rescind this action against CEO Esposito.

I urge you to join me in signing this petition demanding that the Board of Regents renew for the
coming academic year Dr. Esposito’s appointment as CEO of Manchester Community College.

Please reply to me by Wednesday June 23rd at 5pm to add your name to this petition.

Sincerely,

Angelo Messore
Chair, Manchester Community College Academic Senate
Professor, Political Science and Economics

Signatories:
K. Umesh Vig, Director of Student Affairs Operations
Carl Stafford, Retired Professor of Culinary Arts and Hospitality Management
Patrick Sullivan, Professor of English



ESPOSITO - 11/10/21 RESPONSE - 000113
     Case
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Christopher Paulin, Professor of History
Maura O’Connor, Professor of Graphic Design
Susan Classen-Sullivan, Professor of Fine Arts
Kevin Skee, Information Technology Technician, Department of Information Technology
Meghan Finley, Associate Professor of Sociology, Chair, Sociology Department
T.J. Barber, Director of Outreach & Student Life
Kimberly Hamilton Bobrow, Professor of English
Nicole Simmons, Academic Associate, STEM Division
Nora G. Uricchio, Program Coordinator, Radiation Therapy
Jonathan Morris, Professor of Biology
Jennifer Gutterman, Associate Professor of Game Design
Mehrdad Faezi, Professor of Manufacturing
Lisa Sandoval, Associate Professor of English
Paula Raum, Graphics Specialist, Marketing and Public Relations
Deborah Boyle, Associate Professor, Paralegal Program
Sherri Scudder, Office Assistant, Registrar’s Office
Mirriam X. Torres-Thorburn, Educational Counselor CONNTAC, Student Affairs
Debora Fitzgerald, Adjunct Faculty, STEM Division
Tippawan Markmaitree, Academic Associate, STEM Division (Physical Sciences Lab Manager)
Deborah L. Wood, Administrative Assistant, Registrar’s Office
Katherine Jones, Secretary, Admissions
Kathleen F. Peters, Professor of Mathematics
Ricardo Aragon, Associate Professor of Culinary Arts and Hospitality Management
Matthew J. Bonesteel Jr., Interim Enrollment Services Coordinator
Stephania Davis, Professor of Communications
Rachel Mintell, Professor of Biology
Amy I. Anderson, Disability Specialist, Disability Services
Timothy Boto, Assistant Director, Educational Technology and Distance Learning
Gail Anne Arroyo, Associate Registrar
Richard P. Gnall, Professor of Computer Science
Wanda I. Reyes-Dawes, Counselor, Advising and Counseling Services
Katherine Player, Financial Aid Assistant, Financial Aid Office
Michelle LaBelle, Veterans Services Associate
Linsey Muldoon, Assistant Professor of English
Diane C. Hillyer, Professor of Mathematics
Marcie J. Stock, Adjunct Faculty, STEM Division
Benjamin Breault, Program Coordinator GEAR UP
Brett Eberhardt, Assistant Professor of Visual Fine Arts
Matthew L. Brodeur, Adjunct Faculty, STEM Division
Nicole Brodeur, Adjunct Faculty, STEM Division
Carolina Flores, Professor of Music
Mary Holland, Associate Professor of Paralegal Studies
Brion van Over, Associate Professor of Communications
Gregg A. Brohinsky, Director, Child Development Center



ESPOSITO - 11/10/21 RESPONSE - 000114
     Case
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Georgette E. Hyman, Assistant Director, Disability Services and Testing
Brian Cleary, Director, Academic Support Center
Samantha Gonzalez, Associate Professor of Communications
Allison MacKenzie, Professor of Exercise Science
Anita Sparrow, Registrar
Guocun Yang, Professor of History
Negussie Tirfessa, Professor of Physics
Kate L. Bella, Professor of Mathematics
Julie L. Greene, Director of Career Services and Veterans Services
Daniel M. Long, Professor of Visual Fine Arts
Amy E. Shaw, Instructor of English
Carla E. Adams, Professor of Business Office Technology
Albert S. Kim, Professor of Communications
Myrta Groeneveld, Professor of Mathematics
Alina Ciscel, Associate Professor, Program Coordinator of ESL
Timothy A. Kussow, Professor of Fine Arts
Sandra Rimetz, Professor of Business
Christopher J. Hamelin, Associate Professor of Mathematics
Stacey Bottone, Professor of Business Office Technology
Heidi L. Michaud, Adjunct Faculty, Smart Start English
Pamela G. MacManus, Professor of Biology
Elaine Kotler, Adjunct Faculty, STEM Division
Sara M. Berry, Adjunct Faculty, Social Science, Business and Professional Careers Division
Nancy L. Bray, Professor of Psychology
Michael P. Pence, Assistant Professor of Chemistry
Robert A. Henderson, Director of Cooperative Education
Kathryn M. Kleis, Professor of Criminal Justice
Brittany L. Zavaski, Head Teacher, Child Development Center
Teresa J. Arnold, Development Associate, Institutional Advancement
Brian Lombardo, Media Associate, Marketing and Public Relations
Susan Morison, Associate Professor, Radiography Program Coordinator
Linda Bradley, Adjunct Faculty, Liberal & Creative Arts Division
Leonard Dupille, Professor of Psychology
Linda Armstrong, Excursions Youth Coordinator, Continuing Education
Robert A. Brandt, Associate Professor, Film, Screenwriting and Communication Arts
Gordon Plouffe, Educational Assistant, MCC Class of 2016
Gina Marchesani, Academic Advisor
Katherine A. Kern, Assistant Professor, Culinary Arts and Hospitality Management




ESPOSITO - 11/10/21 RESPONSE - 000115
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Subject: Petition Opposing the Dismissal of CEO Nicole Esposito          June 21, 2021

Dear Members of the Manchester Community College community:

After a nationwide search in the spring of 2020, Dr. Nicole Esposito was appointed Chief
Executive Officer of Manchester Community College by the Board of Regents of the Connecticut
State Colleges and Universities. Over the past year, Dr. Esposito has shown great skill in guiding
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students, and for the academic success of our college. She has asked probing questions about
the consolidation of the 12 community colleges in order to ensure that our students are well
served by the new institution that is being constructed. She has also demonstrated a strong
commitment to the procedures of shared governance that have long defined Manchester
Community College.

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would not be re-appointed to the position of Chief Executive Officer of Manchester Community
College for the coming academic year.

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Esposito is being denied re-appointment. What kind of a system are we moving towards if one
person can derail the career of another without facts, without an objective evaluation, and
without due process?

At its meeting on Thursday, June 24, 2021, the Board of Regents (BOR) will vote on the
dismissal of CEO Esposito. As Chair of the MCC Academic Senate, I have started a petition to
bring to the BOR this Thursday to demand that Regional President Rob Steinmetz, CSCC
President David Levinson, Chief Operating Officer Alice Pritchard, and the members of the
Board of Regents rescind this action against CEO Esposito.

I urge you to join me in signing this petition demanding that the Board of Regents renew for the
coming academic year Dr. Esposito’s appointment as CEO of Manchester Community College.

Please reply to me by Wednesday June 23rd at 5pm to add your name to this petition.

Sincerely,

Angelo Messore
Chair, Manchester Community College Academic Senate
Professor, Political Science and Economics

Signatories:
K. Umesh Vig, Director of Student Affairs Operations
Carl Stafford, Retired Professor of Culinary Arts and Hospitality Management
Patrick Sullivan, Professor of English



ESPOSITO - 11/10/21 RESPONSE - 000116
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Christopher Paulin, Professor of History
Maura O’Connor, Professor of Graphic Design
Susan Classen-Sullivan, Professor of Fine Arts
Kevin Skee, Information Technology Technician, Department of Information Technology
Meghan Finley, Associate Professor of Sociology, Chair, Sociology Department
T.J. Barber, Director of Outreach & Student Life
Kimberly Hamilton Bobrow, Professor of English
Nicole Simmons, Academic Associate, STEM Division
Nora G. Uricchio, Program Coordinator, Radiation Therapy
Jonathan Morris, Professor of Biology
Jennifer Gutterman, Associate Professor of Game Design
Mehrdad Faezi, Professor of Manufacturing
Lisa Sandoval, Associate Professor of English
Paula Raum, Graphics Specialist, Marketing and Public Relations
Deborah Boyle, Associate Professor, Paralegal Program
Sherri Scudder, Office Assistant, Registrar’s Office
Mirriam X. Torres-Thorburn, Educational Counselor CONNTAC, Student Affairs
Debora Fitzgerald, Adjunct Faculty, STEM Division
Tippawan Markmaitree, Academic Associate, STEM Division (Physical Sciences Lab Manager)
Deborah L. Wood, Administrative Assistant, Registrar’s Office
Katherine Jones, Secretary, Admissions
Kathleen F. Peters, Professor of Mathematics
Ricardo Aragon, Associate Professor of Culinary Arts and Hospitality Management
Matthew J. Bonesteel Jr., Interim Enrollment Services Coordinator
Stephania Davis, Professor of Communications
Rachel Mintell, Professor of Biology
Amy I. Anderson, Disability Specialist, Disability Services
Timothy Boto, Assistant Director, Educational Technology and Distance Learning
Gail Anne Arroyo, Associate Registrar
Richard P. Gnall, Professor of Computer Science
Wanda I. Reyes-Dawes, Counselor, Advising and Counseling Services
Katherine Player, Financial Aid Assistant, Financial Aid Office
Michelle LaBelle, Veterans Services Associate
Linsey Muldoon, Assistant Professor of English
Diane C. Hillyer, Professor of Mathematics
Marcie J. Stock, Adjunct Faculty, STEM Division
Benjamin Breault, Program Coordinator GEAR UP
Brett Eberhardt, Assistant Professor of Visual Fine Arts
Matthew L. Brodeur, Adjunct Faculty, STEM Division
Nicole Brodeur, Adjunct Faculty, STEM Division
Carolina Flores, Professor of Music
Mary Holland, Associate Professor of Paralegal Studies
Brion van Over, Associate Professor of Communications
Gregg A. Brohinsky, Director, Child Development Center



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Georgette E. Hyman, Assistant Director, Disability Services and Testing
Brian Cleary, Director, Academic Support Center
Samantha Gonzalez, Associate Professor of Communications
Allison MacKenzie, Professor of Exercise Science
Anita Sparrow, Registrar
Guocun Yang, Professor of History
Negussie Tirfessa, Professor of Physics
Kate L. Bella, Professor of Mathematics
Julie L. Greene, Director of Career Services and Veterans Services
Daniel M. Long, Professor of Visual Fine Arts
Amy E. Shaw, Instructor of English
Carla E. Adams, Professor of Business Office Technology
Albert S. Kim, Professor of Communications
Myrta Groeneveld, Professor of Mathematics
Alina Ciscel, Associate Professor, Program Coordinator of ESL
Timothy A. Kussow, Professor of Fine Arts
Sandra Rimetz, Professor of Business
Christopher J. Hamelin, Associate Professor of Mathematics
Stacey Bottone, Professor of Business Office Technology
Heidi L. Michaud, Adjunct Faculty, Smart Start English
Pamela G. MacManus, Professor of Biology
Elaine Kotler, Adjunct Faculty, STEM Division
Sara M. Berry, Adjunct Faculty, Social Science, Business and Professional Careers Division
Nancy L. Bray, Professor of Psychology
Michael P. Pence, Assistant Professor of Chemistry
Robert A. Henderson, Director of Cooperative Education
Kathryn M. Kleis, Professor of Criminal Justice
Brittany L. Zavaski, Head Teacher, Child Development Center
Teresa J. Arnold, Development Associate, Institutional Advancement
Brian Lombardo, Media Associate, Marketing and Public Relations
Susan Morison, Associate Professor, Radiography Program Coordinator
Linda Bradley, Adjunct Faculty, Liberal & Creative Arts Division
Leonard Dupille, Professor of Psychology
Linda Armstrong, Excursions Youth Coordinator, Continuing Education
Robert A. Brandt, Associate Professor, Film, Screenwriting and Communication Arts
Gordon Plouffe, Educational Assistant, MCC Class of 2016
Gina Marchesani, Academic Advisor
Katherine A. Kern, Assistant Professor, Culinary Arts and Hospitality Management




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 From:           Peter Grose
 To:             Gates, Jane; Levinson, David; Pritchard, Alice M; Steinmetz III, Robert R; Heleen, Pamela
 Subject:        Regarding the MCC CEO
 Date:           Wednesday, June 23, 2021 3:12:42 PM




 To the Board of Regents and CSCU Leadership -


 I am the President-Elect of the Manchester Community College Foundation. I am writing this
 message personally, and my opinions do not necessarily reflect those of the MCC Foundation
 Board of Directors.

 I am asking you to continue/renew Dr. Nicole Esposito's contract as Campus CEO of MCC. I
 can't think of an action that would more profoundly and negatively impact the ability of the
 MCC Foundation to raise funds for and support the students and programs at MCC than the
 abrupt removal of its CEO.

 I served on the Campus Advisory Committee for the CEO search process for MCC that
 selected Dr. Esposito for this position. Her ties to MCC and energy and enthusiasm for
 improving this institution for its students, faculty and staff were key reasons why she stood out
 from the pool of candidates for this position. I believe she has brought those characteristics to
 bear in her role as CEO, resulting in positive interactions and community-building at the
 college.

 Dr. Esposito has communicated regularly and effectively with the MCC Foundation,
 particularly with its leadership team. We have made positive strides in seeking to better align
 the Foundation's budgeting and disbursement processes with the college's top priorities. We
 have also been planning ways in which we can work together with Dr. Esposito to broaden the
 financial support for MCC, including strengthening community relationships, cultivating
 major donor giving and identifying new directors to augment the current Foundation Board.
 Particularly as we break out of Covid-pandemic constraints, we are excited about
 collaborating with Dr. Esposito to grow support for MCC.

 To abruptly end Dr. Esposito's role as Campus CEO will strike a blow to these works-in-
 progress, and throwing MCC into the limbo of another interim CEO era will set back efforts to
 strengthen support for the college. The statewide consolidation of community colleges has
 already eroded the important connections between donors and the local colleges, and this new
 development would further shake the public's confidence in, and support for, our community
 college. For these reasons, I ask that you continue Dr. Esposito's tenure as Campus CEO at
 MCC.

 Peter H. Grose
 President-Elect, Manchester Community College Foundation
 pgrose53@gmail.com




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Statement on the Firing of MCC CEO Nicole Esposito

On Thursday June 17th 2021, Manchester Community College CEO Nicole Esposito was fired. CEO Esposito’s dismissal is
strategic silencing because of her advocacy for MCC, her critical questioning of consolidation costs and processes, and
for bringing her concerns to NECHE. The dismissal of CEO Esposito is an explicit warning to any other CEO who might
deign to ask any questions or attempt to advocate for the college they are, at least on paper, charged to lead.

Under the One College model, the twelve independently-accredited community colleges have no local autonomy and
decision-making abilities. Currently, CEO/Presidents of independently accredited institutions are in the untenable
position of being responsible for institutions over which they have insufficient authority.

The firing of CEO Esposito is further proof that local administrators who do not bow to the mandates of CSCC Regional
and College administrators will be silenced and punished. Her termination is a clear demonstration of intimidation,
bullying, coercion, retaliation, and demand for fealty, that characterizes this CSCU administration. It is reprehensible and
inexcusable and the antithesis of what should be permitted in a system of higher learning.

Signed

Lois Aime, Norwalk Community College                             Brian Lynch, Quinebaug Valley Community College
John Alvord, Norwalk Community College                           Lillian Maisfehlt, Gateway Community College
Paul Barrow, Manchester Community College                        Phil Mayer, Three Rivers Community College
Todd Barry, Three Rivers Community College                       Jill McDowell, Gateway Community College
Melissa Behney, Middlesex Community College                      Kathleen H. Murphy, Gateway Community College
Andre Blaszczynski, Tunxis Community College                     William O’Connell, Norwalk Community College
Dennis Bogusky, Norwalk Community College                        Lauren O’Leary, Gateway Community College
Michael Butcaris, Norwalk Community College                      James O’Shea, Three Rivers Community College
Mike Carta, Three Rivers Community College                       Alissa Parlante, Capital Community College
Cindy Casper, Norwalk Community College                          Jane Perry, Norwalk Community College
John Christie, Capital Community College                         Laurel Peterson, Norwalk Community College
Francis Coan, Tunxis Community College                           Melissa Philion, Quinebaug Valley Community College
Jean Daniels, Norwalk Community College                          Dale Sartor, Norwalk Community College
June Decker, Three Rivers Community College                      Althea Seaborn, Norwalk Community College
Terry Delaney, Three Rivers Community College                    Joe Selveggio, Three Rivers Community College
Michele A. DeLucia, Gateway Community College                    Colena Sesanker, Gateway Community College
Lauren Doninger, Gateway Community College                       John Shafer, Middlesex Community College
Kathryn Dowden, Three Rivers Community College                   Jim Sherrard, Three Rivers Community College
David England, Middlesex Community College                       Sheila Skahan, Three Rivers Community College
Seth Freeman, Capital Community College                          Melissa Slattery, Norwalk Community College
Joe Fucigna, Norwalk Community College                           Michael Spry, Asnuntuck Community College
Charles Gabor, Norwalk Community College                         Susan Steiz, Norwalk Community College
Mytra Groeneveld, Manchester Community College                   Patrick Sullivan Manchester Community College
Janet Hagan, Three Rivers Community College                      Daniel Tauber, Capital Community College
Arthur Hernandez, Gateway Community College                      Warren Towler, Capital Community College
Robert Howard, Norwalk Community College                         Robert Tremblay, Gateway Community College
Rebecca Hussey, Norwalk Community College                        Elle Van Dermark, Asnuntuck Community College
William Key, Norwalk Community College                           Deborah Weiss, Southern Connecticut State University
Karen Kessler, Gateway Community College                         Ernest Wiegand, Norwalk Community College
Diba Khan-Bureau, Three Rivers Community College                 Jennifer Wood, Norwalk Community College
Dennis Korchinski, Norwalk Community College                     Carmen Yiamouyiannis, Capital Community College
Kevin Lamkin, Capital Community College                          Kudzai Zvoma, Quinebaug Valley Community College
Mary Lawrence, Gateway Community College



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                EXHIBIT 6




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 From:           Peter Grose
 To:             Gates, Jane; Levinson, David; Pritchard, Alice M; Steinmetz III, Robert R; Heleen, Pamela
 Subject:        Regarding the MCC CEO
 Date:           Wednesday, June 23, 2021 3:12:42 PM




 To the Board of Regents and CSCU Leadership -


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 MCC Foundation to raise funds for and support the students and programs at MCC than the
 abrupt removal of its CEO.

 I served on the Campus Advisory Committee for the CEO search process for MCC that
 selected Dr. Esposito for this position. Her ties to MCC and energy and enthusiasm for
 improving this institution for its students, faculty and staff were key reasons why she stood out
 from the pool of candidates for this position. I believe she has brought those characteristics to
 bear in her role as CEO, resulting in positive interactions and community-building at the
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 particularly with its leadership team. We have made positive strides in seeking to better align
 the Foundation's budgeting and disbursement processes with the college's top priorities. We
 have also been planning ways in which we can work together with Dr. Esposito to broaden the
 financial support for MCC, including strengthening community relationships, cultivating
 major donor giving and identifying new directors to augment the current Foundation Board.
 Particularly as we break out of Covid-pandemic constraints, we are excited about
 collaborating with Dr. Esposito to grow support for MCC.

 To abruptly end Dr. Esposito's role as Campus CEO will strike a blow to these works-in-
 progress, and throwing MCC into the limbo of another interim CEO era will set back efforts to
 strengthen support for the college. The statewide consolidation of community colleges has
 already eroded the important connections between donors and the local colleges, and this new
 development would further shake the public's confidence in, and support for, our community
 college. For these reasons, I ask that you continue Dr. Esposito's tenure as Campus CEO at
 MCC.

 Peter H. Grose
 President-Elect, Manchester Community College Foundation
 pgrose53@gmail.com




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                EXHIBIT 7




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                                Stipulated Agreement Between
                                       Dr. Nicole Esposito
                                              And
                  Connecticut State Colleges and Universities on behalf of
                               Manchester Community College


This Stipulated Agreement ("Agreement") is entered into by the Connecticut State Colleges
and Universities ("CSCU") on behalf of its constituent unit Manchester Community College
("the College") and Dr. Nicole Esposito.


WHEREAS, Dr. Nicole Esposito, was appointed as Chief Executive Officer of Manchester
Community College on June 5, 2020; and


WHEREAS, Dr. Nicole Esposito wishes to resign as CEO of the College, yet continue her
employment with the CSCU; and


WHEREAS, the CSCU wishes to engage Dr. Esposito and use her expertise in the field of
psychology to provide resources to support a CSCU Mental Health Initiative; and


WHEREAS, the College and Dr. Esposito seek a smooth transition to this new employment
arrangement;


NOW, THEREFORE, the parties agree:


1. Dr. Esposito shall upon execution ofthis Agreement submit her letter of resignation as CEO
   of Manchester Community College effective June 30, 2021. All rights, privileges and notice
   requirements associated with such position will terminate upon resignation.


2. Dr. Esposito shall begin work on the CSCU Mental Health Initiative as its Project Director.
   Duties and responsibilities of this position are, attached and incorporated hereto as Exhibit
   A.

3. The assignment shall begin on July 1, 2021 and end on June 30, 2022. This assignment is not
   subject to notice requirements under the section 8.1 of the Management Confidential
   Personnel Manual. Dr. Esposito shall not be entitled to receive notice of non-continuation.
   CSCU shall not terminate its financial obligation to compensate Dr. Esposito prior to June
   30, 2022.




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4. Dr. Esposito's duties will be specifically limited to mutually agreed upon assignments she
      receives from the Director of Workforce Development, Strategic Partnerships and
      Sponsored Programs. Dr. Esposito will perform any such assignments from a remote duty
      station jointly selected. Dr. Esposito will report directly to the Director of Workforce
      Development, Strategic Partnerships and Sponsored Programs, in accordance with this
      paragraph.


 5.   Dr. Esposito's compensation shall continue with full benefits and at her current rate of pay,
      paid bi-weekly and will be governed by applicable HR Polices.


 6. The Dr. Esposito and CSCU recognize the sensitive nature of this matter and agree to handle
      the aforementioned transition with the highest degree of professionalism and prudence.
      Nothing herein shall prohibit either the CSCU or Dr. Esposito from responding to inquiries or
      comments by third parties relevant to Dr. Esposito's past employment and/or the terms of this
      Stipulated Agreement. CSCU and Dr. Esposito agree to refrain from public or private disparaging
      remarks.


 7. This Agreement shall not be construed as an admission of liability or wrongdoing on the part
                                                                                        .,
      of Dr. Esposito, CSCU, the College or its agents.


 8. Dr. Esposito is not, by signing this Stipulated Agreement, releasing or waiving any right,
      interest, or entitlement to payment from any benefits to which she is entitled or otherwise
      owed by virtue of her employment with the CSCU, including but not limited to employer
      contributions to her State of Connecticut pension plan, health benefits and the accrual of
      vacation leave.


 9.   In consideration of the terms and conditions described in this Agreement, Dr. Esposito for
      herself, her heirs, representatives, and assigns hereby irrevocably, voluntarily, and knowingly
      covenants not to sue, and releases and forever discharges the College/CSCU and its agents,
      and employees, any other former officers, servants, agents or employees of the State of
      Connecticut, both in their official and individual capacities, and the State of Connecticut
      itself, from any and all claims, grievances, demands, obligations, actions, causes of action,
      lawsuits, administrative proceedings, rights, damages, costs, loss of services, expenses and
      compensation of any nature whatsoever in any forum, whether based on tort, contract or
      other theory of recovery, for any matter from the beginning of time to the date of her
      signature on this Agreement, arising out of her employment with CSCU and/or the College,
      including without limitations, any and all damages to Dr. Esposito which have resulted or may

                                                                                             Initialed   /

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    result from any acts or omissions of the CSCU and/or the College.


10. CSCU and the College in consideration of the terms and conditions described in this
    Agreement, hereby irrevocably, voluntarily, and knowingly, covenants not to sue, and
    release and forever discharges Dr. Esposito and her agents and attorneys, from any and all
    claims, grievances, demands, obligations, actions, causes of action, lawsuits, administrative
    proceedings, rights, damages, costs, loss of services, expenses and compensation of any
    nature whatsoever in any forum, whether based on tort, contract or other theory of
    recovery, for any matter from the beginning oftime to the date of her signature on this
    Agreement, arising out of Dr. Esposito's acts or omissions within the scope of her
    employment as CEO of Manchester Community College not wanton, reckless or
    malicious.


11. The parties expressly acknowledge that this Agreement is intended to, and will,
    constitute full and final settlement of all claims and/or rights of action which Dr. Esposito
    has or may in the future have, arising out of any of the facts and circumstances which
    are the subject of or related to Dr. Esposito's employment as CEO of Manchester
    Community College, including but not limited to, such claims as may be cognizable
    under Title VII, ADEA, federal law, the United States Constitution, the Connecticut
    Constitution, and state law and common law claims, including negligent and intentional
    infliction of emotional distress, as more fully reflected in the release of liability
    contained above.


12. Dr. Esposito acknowledges that she freely and voluntarily enters into this Agreement
    without duress, intimidation, undue influence, or any threatened loss of benefit. Dr.
    Esposito acknowledges the she has read the Agreement carefully and fully understands
    its content, meaning, intent, and implications.


13. This Stipulated Agreement constitutes the entire agreement of the parties. This
   Stipulated Agreement may be modified or amended only by a writing signed by Dr.
    Esposito and an authorized official of the CSCU. Dr. Esposito acknowledges that the CSCU
   has made no representation or promises to her other than those encompassed in this
   Stipulated Agreement.


14. The Stipulated Agreement may be executed in multiple counterparts, each of which will
    be regarded for all purposes as an original constitution one and the same instrument.



                                                                                        Initialed   /

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 15. lfa court of competent jurisdiction holds any provision of the Agreement unlawful,
     the remainder of the agreement shall continue in force.


 16. The laws of the State of Connecticut will govern this Stipulated Agreement.


 17. The parties acknowledge that his document is not exempt from disclosure
     under the Freedom of Information Act.




                         [THIS SECTION INTENTIONALLY LEFT BLANK]




                                                                                Initialed   /


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DR. NICOLE ESPOSITO




                          Date



On this the _ _ _ day of June 2021 before me, the undersigned officer, personally

appeared NICOLE ESPOSITO, known to me (or satisfactorily proven) to be the person

whose name is subscribed to the within instrument and acknowledged that she executed

the same as her free act and deed.

IN WITNESS WHEREOF, I have hereto set my hand and official seal.




                                     Notary Public/Commissioner of the Superior Court




                                                                                  Initialed   /

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CONNECTICUT STATE COLLEGES AND UNIVERSITIES




Alice Pritchard                           Date
Chief of Staff, Chief Operating Officer




On this the _ _ _ day of June 2021 before me, the undersigned officer, personally

appeared ALICE PRITCHARD, known to me (or satisfactorily proven) to be the person

whose name is subscribed to the within instrument and acknowledged that she executed

the same as her free act and deed.

IN WITNESS WHEREOF, I have hereto set my hand and official seal.




                                      Notary Public/Commissioner ofthe Superior Court




                                                                                  Initialed   /

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                                                   EXHIBIT A

                                       CSCU Mental Health Initiative

                                               Project Director

                                                Scope of Work

The following scope of work has been developed to support new legislative and system office priorities
related to supporting students' mental health, particularly post-pandemic. The project director will be
responsible for supporting the implementation of the requirements of three specific sections of HB 6402
as detailed below including the establishment of a mental health coalition at 16 CSCU campuses
(Charter Oak not required). The CSCU Mental Health Initiative Project Director reports to Lesley Mara,
Director, CSCU Strategic Initiatives, Sponsored Research and Outreach. This scope of work covers the
period of July 1, 2021-June 30, 2022.

CAMPUS MENTAL HEALTH COALITIONS

Requires certain higher education institutions, by January 1, 2022, to establish a mental health coalition
to assess the presence of mental health services and programs

Membership

The bill requires each higher education institution in Connecticut, excluding Charter Oak State College or
on line institutions, by January 1, 2022, to establish a mental health coalition to assess the presence of
mental health services and programs offered by the institution. The assessment requirement does not
apply to a school accredited by the International Accreditation of Counseling Services or another
nationally or regionally recognized accrediting body for mental health services.

Under the bill, the president of each institution must appoint individuals to the coalition that reflect
their institution's student body demographics, including, at least one member from their institution's (1)
administration; (2) counseling services office, if any; (3) health services office, if any; (4) senior and mid-
level staff; (5) student body; (6) residential life office, if any; (7) faculty; and (8) any other individuals the
president designates, including a community provider of mental health services.

Duties

The bill requires each higher education institution to ensure that coalition members are educated on the
(1) mental health services and programs offered at each institution's campus; (2) the coalition's role and
function at the institution; and {3) protocols and techniques to respond to student mental illness that
have been developed with consideration given to the students' race, cultural background, sexual
orientation, gender identity, religion, socio-economic status, or status as a veteran or service member of
the U.S. armed forces.

The bill requires each mental health coalition to do the following:

1. conduct an assessment of the presence of mental health services and programs offered by the
institution of higher education (unless exempt from this requirement, see above);

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 2. review the results and develop a plan to address weaknesses in the institution's services and
 programs (presumably this requirement does not apply to exempt institutions); and

 3. review and recommend improvements to (a) the variety of mental health services available to the
 institution's students, including on-campus services, telehealth services, or a community-based provider
 arranged through an agreement; (b) the comprehensiveness of mental health services available to
 students, including recommendations for obtaining accreditation from a nationally or regionally
 recognized accrediting body for mental health services; and (c) the campus-wide policies and
 procedures adopted under this bill (see § 6).

 The bill defines (1) mental health services as counseling, therapy, rehabilitation, crisis intervention, or
 emergency services for the screening, diagnosis, or treatment of mental illness and (2) mental health
 programs such as education, outreach, research or training initiatives aimed at students for the
 prevention of mental illness. Examples of programs include poster and flyer campaigns, electronic
 communications, films, guest speakers, conferences, or other campus events.

 EVALUATION OF THE EFFECTIVENESS OF HIGHER EDUCATION INSTITUTION MENTAL HEALTH SERVICES
 AND PROGRAMS

 Requires the OHE executive director and DMHAS commissioner, in consultation with an epidemiologist
 or other student mental health specialist, to jointly offer training workshops for assessment best
 practices in order for each higher education institution to evaluate the effectiveness of mental health
 services and programs offered at each of its campuses; requires certain institutions to maintain a
 memorandum of understanding with at least one community-based mental health care provider;
 requires each institution's governing board to adopt, and update as necessary, a student mental health
 policy by January 1, 2021

 Provider Partnerships

 The bill requires, by January 1, 2022, a higher education institution that lacks campus resources for
 providing mental health services to students to enter into and maintain a memorandum of
 understanding with at least one community-based mental health care provider or, in consultation with
 DMHAS, with an emergency mobile psychiatric service provider to (1) provide students access to mental
 health services on or off campus and (2) assist institutions in developing mental health programming.
 Institutional Student Mental Health Policy(§ 6) The bill requires each higher education institution's
 governing board to adopt, and update as necessary, a student mental health policy by January 1, 2021.
 The policy must include (1) the mental health services and programming provided to students each
 academic year, (2) the availability of, and eligibility requirements for, student mental health leave, and
 (3) the resources available for crisis response, imminent danger, and psychiatric hospitalization.

 GRANT WRITER FOR MENTAL HEALTH FUNDING

 Requires BOR to employ a grant writer to apply for grant funding to improve mental health services at
 community-technical colleges The bill also requires, by January 1, 2022, the Board of Regents for Higher
 Education to employ a grant writer to identify and apply for available grant funding to implement or
 improve mental health services and programs offered by the regional community-technical colleges to
 address student mental illness.

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                EXHIBIT 8




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Weaver, Ernestine Y

From:                              Pritchard, Alice M
Sent:                              Tuesday, June 15, 2021 2:44 PM
To:                                Kripp, Andrew; Weaver, Ernestine Y; Steinmetz Ill, Robert R
Cc:                                Gates, Jane
Subject:                           RE: stipulated agreement NE.docx
Attachments:                       stipulated agreement NE.docx


Few thoughts

Alice Pritchard, Ph.D.
Chief of Staff
CT State Colleges and Universities (CSCU)
61 Woodland Street
Hartford, CT 06105
(860) 723-0016
pritcharda@ct.edu
www.ct.edu




jcscu j
From : Kripp, Andrew <AKripp@commnet.edu>
Sent: Tuesday, June 15, 2021 2:37 PM
To: Weaver, Ernestine Y <EWeaver@commnet.edu>; Pritchard, Alice M <APritchard@commnet.edu>; Steinmetz Ill,
Robert R <RSteinmetz@commnet.edu>
Cc: Gates, Jane <JGates@commnet.edu>
Subject: RE: stipulated agreement NE.docx

I have not changes but suggest re the JD something less specific and very sim ple and I think potentially actually valuable:

The assignment to support CSCU Mental Healt h Initiative will focused on assessing the menta l health challenges faced
by the Comm unity College Students in the transition back to fulltime on ground classes. The objective will be to quickly
assess potential student mental health issues arising out to the transition from virtual leaning to in person learning.
Make near term and longer term recommendations to support student mental health issues during this t ransition
period.

Prior to the 7 th week of the first semester 2021 provide short term mental hea lth support and mitigation strategies.
Options should focus on low cost near term solutions that can be implemented and communicated prior to end of the
fall semester 202 1.

In addition develop longer term mental hea lth support recommendations that can be implemented during the course of
the second semester AY 21/22.

For each set of recommendations KPl's and efficacy measures should be identified and tools and process for assessing
success of recommendations implemented.




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                                   Stipulated Agreement Between
                                          Dr. Nicole Esposito
                                                 And
                     Connecticut State Colleges and Universities on behalf of
                                  Manchester Community College


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  Community College on June 5, 2020; and


   WHEREAS, Dr. Nicole Esposito wishes to resign as CEO of the College, yet continue her
  employment with the CSCU; and


   WHEREAS, the CSCU wishes to engage Dr. Esposit o and use her expertise in the field of
  psychology to provide resources to support a CSCU Mental Health Initiative; and


   WHEREAS, the College and Dr. Esposito seek a smooth transition to this new employment
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  2. Dr. Esposito shall begin work on the CSCU Mental Health Initiative as its Project Director.
      Duties and responsibilities of this position are, attached and incorporated hereto as Exhibit
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  3. The assignment shall begin on -July 1, 2021 and end on June 30, 2022. This assignment is not
      subject to notice requirements under the section 8.1 of the Management Confidential
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   4. Dr. Esposito's duties will be specifically limited to mutually agreed upon assignments she
       receives from the Director of Workforce Development, Strategic Partnerships and
       Sponsored Programs. Or. Esposito will perform any such assignments from a remote duty
       station jointly selected. Dr. Esposito will report directly to the Director of Workforce
       Development, Strategic Partnerships and Sponsored Programs, in accordance with this
       paragraph.


   5. Or. Esposito's compensation shall continue with full benefits and at her current rate of pay,
       paid bi-weekly and will be governed by applicable HR Polices.


   6. The Dr. Esposito and CSCU recognize the sensitive nature of this matter and agree to handle
      the aforementioned transition with the highest degree of professionalism and prudence.
       Nothing herein shall prohibit either the CSCU or Dr. Esposito from responding to inquiries or
      comments by third parties relevant to Dr. Esposito's past employment and/or the terms of this
      Stipulated Agreement. CSCU and Dr. Esposito agree to refrain from public or private disparaging
      remarks.


   7. This Agreement shall not be construed as an admission of liability or wrongdoing on the part
      of Dr. Esposito, CSCU, the College or its agents.


   8. Dr. Esposito is not, by signing this Stipulated Agreement, releasing or waiving any right,
      interest, or entitlement to payment from any benefits to which she is entitled or otherwise
      owed by virtue of her employment with the CSCU, including but not limited to employer
      contributions to her State of Connecticut pension plan, health benefits and the accrual of
      vacation leave.


   9. In consideration of the terms and conditions described in this Agreement, Dr. Esposito for
      herself, her heirs, representatives, and assigns hereby irrevocably, voluntarily, and knowingly
      covenants not to sue, and releases and forever discharges the College/CSCU and its agents,
      and employees, any other former officers, servants, agents or employees of the State of
      Connecticut, both in their official and individual capacities, and the State of Connecticut
      itself, from any and all claims, grievances, demands, obligations, actions, causes of action,
      lawsuits, administrative proceedings, rights, damages, costs, loss of services, expenses and
      compensation of any nature whatsoever in any forum, whether based on tort, contract or
      other theory of recovery, for any matter from the beginning of time to the date of her
      signature on this Agreement, arising out of her employment with CSCU and/or the College,
      including without limitations, any and all damages to Dr. Esposito which have resulted or may




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      result from any acts or omissions of the CSCU and/or the College.


  10. CSCU and the College in consideration of the terms and conditions described in this
     Agreement, hereby irrevocably, voluntarily, and knowingly, covenants not to sue, and
      release and forever discharges Dr. Esposlto and her agents and attorneys, from any and all
      claims, grievances, demands, obligations, actions, causes of action, lawsuits, administrative
      proceedings, rights, damages, costs, loss of services, expenses and compensation of any
      nature whatsoever in any forum, whether based on tort, contract or other theory of
      recovery, for any matter from the beginning of time to the date of her signature on this
     Agreement, arising out of Dr. Esposito's acts or omissions within the scope of her
      employment as CEO of Manchester Community College not wanton, reckless or
      malicious.


  11. The parties expressly acknowledge that this Agreement is intended to, and will,
     constitute full and final settlement of all claims and/or rights of action which Dr. Esposit o
      has or may in the future have, arising out of any of the facts and circumstances which
     are the subject of or related to Dr. Esposito   's employment as CEO of Manchester
     Community College, including but not limited to, such claims as may be cognizable
     under Title VII, ADEA, federal law, the United States Constitution, the Connecticut
     Constitution, and state law and common law claims, including negligent and intentional
     infliction of emotional distress, as more fully reflected in the release of liability
     contained above.


  12. Dr. Esposito acknowledges that she freely and voluntarily enters into this Agreement
     without duress, intimidation, undue influence, or any threatened loss of benefit. Dr.
     Esposito acknowledges the she has read the Agreement carefully and fully understands
     its content, meaning, intent, and implications.


  13. This Stipulated Agreement constitutes the entire agreement of the parties. This
     Stipulated Agreement may be modified or amended only by a writing signed by Dr.
     Esposito and an authorized official of the CSCU. Dr. Esposito acknowledges that the CSCU
     has made no representation or promises to her other than those encompassed in this
     Stipulated Agreement.


  14. The Stipulated Agreement may be executed in multiple counterparts, each of which will
     be regarded for all purposes as an original constitution one and the same instrument.




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   15. lfa court of competent jurisdiction holds any provision of the Agreement unlawful,
       the remainder of the agreement shall continue in force.

   16. The laws of the State of Connecticut will govern this Stipulated Agreement.

   17. The parties acknowledge that his document is not exempt from disclosure
       under the Freedom of Information Act.




                           Date                                         Date




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                                                     EXHIBIT A

                                         CSCU Mental Health Initiative

                                                  Project Director

                                                  Scope of Work

   The following scope of work has been developed to support new legislative and system office priorities
   related to supporting students' mental health, particularly post-pandemic. The project director will be
   responsible for supporting the implementation of the requirements of three specific sections of HB 6402
   as detailed below including the establishment of a mental health coalition at 16 CSCU campuses
   (Charter Oak not required). The CSCU Mental Health Initiative Project Director reports to Lesley Mara,
   Director, CSCU Strategic Initiatives, Sponsored Research and Outreach. This scope of work covers the
   period of July 1, 2021-June 30, 2022.

   CAMPUS MENTAL HEALTH COALITIONS

   Requires certain higher education institutions, by January 1, 2022, to establish a mental health coalition
   to assess the presence of mental health services and programs

  Membership

  The bill requires each higher education institution in Connecticut, excluding Charter Oak State College or
  online institutions, by January 1, 2022, to establish a mental health coalition to assess the presence of
  mental health services and programs offered by the institution. The assessment requirement does not
  apply to a school accredited by the International Accreditation of Counseling Services or another
  nationally or regionally recognized accrediting body for mental health services.

  Under the bill, the president of each institution must appoint individuals to the coalition that reflect
  their institution's student body demographics, including, at least one member from their institution's (1)
  administration; (2) counseling services office, if any; (3) health services office, if any; (4) senior and mid-
  level staff; (5) student body; (6) residential life office, if any; (7) faculty; and (8) any other individuals the
  president designates, including a community provider of mental health services.

  Duties

  The bill requires each higher education institution to ensure that coalition members are educated on the
  {1) mental health services and programs offered at each institution's campus; (2) the coalition's role and
  function at the institution; and (3) protocols and techniques to respond to student mental illness that
  have been developed with consideration given to the students' race, cultural background, sexual
  orientation, gender identity, religion, socio-economic status, or status as a veteran or service member of
  the U.S. armed forces.

  The bill requires each mental health coalition to do the following:

  1. conduct an assessment of the presence of menta I health services and programs offered by the
  institution of higher education (unless exempt from this requirement, see above);




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   2. review the results and develop a plan to address weaknesses in the institution's services and
   programs (presumably this requirement does not apply to exempt institutions); and

   3. review and recommend improvements to {a) the variety of mental health services available to the
   institution's students, including on-campus services, telehealth services, or a community-based provider
   arranged through an agreement; (b) the comprehensiveness of mental health services available to
   students, including recommendations for obtaining accreditation from a nationally or regionally
   recognized accrediting body for mental health services; and (c) the campus-wide policies and
   procedures adopted under this bill (see § 6}.

   The bill defines (1) mental health services as counseling, therapy, rehabilitation, crisis intervention, or
   emergency services for the screening, diagnosis, or treatment of mental illness and (2) mental health
   programs such as education, outreach, research or t raining initiatives aimed at students for the
   prevention of mental illness. Examples of programs include poster and flyer campaigns, electronic
   communications, films, guest speakers, conferences, or other campus events.

   EVALUATION OF THE EFFECTIVENESS OF HIGHER EDUCATION INSTITUTION MENTAL HEALTH SERVICES
   AND PROGRAMS

  Requires the OHE executive director and DMHAS commissioner, in consultation with an epidemiologist
  or other student mental health specialist, to jointly offer training workshops for assessment best
  practices in order for each higher education institution to evaluate the effectiveness of mental health
  services and programs offered at each of its campuses; requires certain institutions to maintain a
  memorandum of understanding with at least one community-based mental health care provider;
  requires each institution's governing board to adopt, and update as necessary, a student mental health
  policy by January 1, 2021

  Provider Partnerships

  The bill requires, by January 1, 2022, a higher education institution that lacks campus resources for
  providing mental health services to students to enter into and maintain a memorandum of
  understanding with at least one community-based mental health care provider or, in consultation with
  DMHAS, with an emergency mobile psychiatric service provider to (1) provide students access to mental
  health services on or off cam pus and (2) assist institutions in developing mental health programming.
  Institutional Student Mental Health Policy(§ 6) The bill requires each higher education institution's
  governing board to adopt, and update as necessary, a student mental health policy by January 1, 2021.
  The policy must include (1) the mental health services and programming provided to students each
  academic year, (2) the availability of, and eligibility requirements for, student mental health leave, and
  (3) the resources available for crisis response, imminent danger, and psychiatric hospitalization.

  GRANT WRITER FOR MENTAL HEALTH FUNDING

  Requires BOR to employ a grant writer to apply for grant funding to improve menta l health services at
  community-technical colleges The bill also requires, by January 1, 2022, the Board of Regents for Higher
  Education to employ a grant writer to identify and apply for available grant funding to implement or
  improve mental health services and programs offered by the regional community-technical colleges to
  address student mental illness.




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                EXHIBIT 9




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Weaver, Ernestine Y

From:                             Steinmetz Ill, Robert R
Sent                              Monday, June 21, 2021 2:22 PM
To:                               Czarnota, Kathleen
Subject:                          Confidential MCC Communications Plan
Attachments:                      Manchester Communications and Follow.docx



Hi Kathy,

Attached you will find he document I want to walk through. I'll call you in the next 10-15 minutes.

Thanks,

Rob


Rob Steinmetz, Ed.D.
Pronouns: he, him, his
Regional President
Capital-East Region
Connecticut Community C,Olleges
Phone:860-723-0624
Email: stc in mc t:r.r @ct.edu




      cscu I




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               Manchester CEO Communications and Follow-Up Plan
  If the agreement is signed

  Friday, June 25, 2021

  11:00am - Meeting with Foundation Outgoing and Incoming Presidents (Rosemarie
  Papa - rnpapa@hotmail.com and Peter Grose - pgrose53@gmail.com}

   11:15am - Meeting with Regional Leadership Team
                                              ,
  11:30am - Meeting with MCC Cabinet (Patricia Lindo, Fatma Salman, Angelo Simoni,
  Thomas Reynolds, Jim McDowell, Karyn Case) NOTE: When the timing is correct, check
  with Karyn to determine if anyone else should be added to this list

  11:45am - Email sent to campus community

  Messaging for meetings and email communication

  Greetings, MCC Community.

  Effective July 2, 2021, Dr. Nicole Esposito will no longer serve as the Manchester
  Community College CEO. At that time, we are excited that she will transition to a role
  leading a system-wide mental health initiative to enhance mental health support for
  students throughout CSCU. We want to thank Dr. Esposito for her service to MCC and
  wish her well on this exciting initiative.

  In the short-term, I will provide direct leadership to the campus. I will update you with a
  more long-term interim plan in the coming weeks.

  Thank you,

  If the agreement is not signed

  Thursday, June 24, 2021

  By 12:00pm - Vote occurs

  12:15pm - Meeting with Foundation Outgoing and Incoming Presidents (Rosemarie
  Papa -rnpapa@hotmail.com and Peter Grose -pgrose 53@gmail. com)

  12:30am - Meeting with Regional Leadership Team?

  12:45am - Meeting with MCC Cabinet (Patricia Lindo, Fatma Salman, Angelo Simoni,
  Thomas Reynolds, Jim McDowell, Karyn Case) NOTE: When the timing is correct, check
  with Karyn to determine if anyone else should be added to this list




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   Messaging for meetings and email communication

   Greetings, MCC Community.

   Effective July 2, 2021, Dr. Nicole Esposito will no longer serve as the Manchester
   Community College CEO. (NOTE: may still add language about ongoing position at
   system office}. In the short-term, I will provide direct leadership to the campus. I will
   update you with a more long-term interim plan in the coming weeks.

   Thank you,



   Updated email language

   Call Jason or others legislators?



   Items for future follow-up (do not necessarily need to discuss now)

      •   Are there any steps necessary for me to have signatory authority as the MCC
          leader?
      •   Request information from the Registry on options for an interim leader. Begin in
          August with a two-year interim plan.
      •   Work with executive assistants to add meetings to calendar. Arrange meetings
          with cabinet, accreditation leaders, and other pertinent individuals/groups.
      •   Seek immediate updates on: reopening plans, enrollment and course schedule,
          accreditation, budget, open positions and RTFs, etc.




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             EXHIBIT 10




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Pritchard, Alice M

From:                                Kripp, Andrew
Sent:                                Wednesday, August 18, 2021 3:58 PM
To:                                  Pritchard, Alice M; Weaver, Ernestine Y
Subject:                             RE: Investigation outcomes



I did reach out to her on her cell. I told her I wanted to be sure she got the email I had sent at around 1:00pm today.

She did confirm getting the email and said she was referring it to her attorneys and needed to read it herself.

I believe what she did was click the button that eliminates the read notice back to sender.


From: Kripp, Andrew
Sent: Wednesday, August 18, 2021 2:16 PM
To: Pritchard, Alice M <APritchard@commnet.edu>; Weaver, Ernestine Y <EWeaver@commne t.edu>
Subject: RE: Investigation outcomes

I did not get any 000 message either.

I would suggest if I don't see she has opened it I call her to draw her attention to the important email.

W hat do you think?


From: Kripp, Andrew
Sent: Wednesday, August 18, 2021 2:14 PM
To: Pritchard, Alice M <.LI.PritchJrct .-a1co rn111n et. edu>; Weaver, Ernestine Y <EWeaver ;?:ic0rn mnet.edu>
Subject: RE: Investigation outcomes

Just an update no answer yet


From: Kripp, Andrew
Sent: Wednesday, August 18, 20211 :09 PM
To: Pritchard, Alice M <APritchard@commn et.edu>; Weaver, Ernestine Y <EWe aver@corn mnet.edu>
Subject: FW: Investigation outcomes
Importance: High


Sent with delivery confirmation and read confirmation,

Email to Rob next within 5 min will copy you Alice.


From: Kripp, Andrew
Sent: Wednesday, August 18, 20211:07 PM
To: Esposito, Nicole C <NEsposito@mcc.com rnnet.edu>
Subject: Investigation outcomes
Importance: High

Dr. Esposito;




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Attached please find the results of the investigation completed by Peter Murphy of Shipman and Goodwin.

You will note that none of the allegations were substantiated.

In addition to the investigation report t have also included a final offer to assist in your transition from CSCU.

You have until 12:00pm Tuesday August 24, 2021, to accept and sign the attached agreement.

If you elect not to sign the agreement by the above date and time the CSCU BOR will be convened to consider your non-
renewal as previously communicated.

If you have any questions you may contact me using the information below.




Andrew J. Kripp
Vice President Human Resources, CSCU

Email: o.Kripp,:?i)comnrnet edu
Office: (860) 723 0604
Cell: (860) 372 6054




                                                              2



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             EXHIBIT 11




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MADSEN, PRESTLEY & PARENTEAU, LLC
Representing Individuals in Employment Law and Related Litigation

                                                                                     Attorneys At Law
                                                                               Hartford ● New London



October 28, 2021
                                                                                     402 Asylum Street
                                                                           Hartford, Connecticut 06103
                                                                            Telephone: (860) 246-2466
                                                                             Facsimile: (860) 246-1794
Via E-mail:
Inez.Diaz-Galloza@ct.gov
Sarah.Bold@ct.gov

Inez Diaz-Galloza
Sarah Bold
Office of the Attorney General
165 Capitol Avenue
Hartford, CT 06106

                       Re: Dr. Nicole Esposito/CSCU & Board of Regents
Dear Inez and Sarah,
         We are writing to demand that CSCU and the Board of Regents immediately reinstate
Dr. Esposito to full active status as Campus CEO of Manchester Community College. Since a
three person committee appointed by the Chair of the Board of Regents has not held a hearing on
Dr. Esposito’s appeal and affirmed the decision to suspend Dr. Esposito within the deadlines
established by Article 8.5 of CSCU’s HR Manual, CSCU and the Board of Regents must
immediately reinstate Dr. Esposito.
       As part of the “position statement” provided by CSCU on October 26, 2021 detailing
“Employer’s Reasons for Terminating Dr. Esposito’s employment,” CSCU stated that “On
August 24, 2021 she [Dr. Esposito] was placed on administrative leave with pay effective August
24, 2021. Exhibit C. Administrative leave is allowable under Article 8.4 of the Connecticut
State Colleges and Universities Human Resources Policies for Management & Confidential
Professional Personnel (“HR Manual”) attached hereto as Exhibit D.”
       Article 8.4 of the HR Manual, which CSCU invoked as the authority for its action against
Dr. Esposito on August 24, 2021, refers to “Suspension,” and Article 8.2 of the HR Manual
makes clear that a suspension under Article 8.4 is an example of discipline for which cause is
required. “No employee shall be disciplined except for cause. Discipline is defined as
reprimand, suspension, or termination.” (HR Manual, Article 8.2)(emphasis added).
        Since CSCU has now confirmed that it invoked its authority under Article 8.4 of the HR
Manual when it suspended Dr. Esposito on August 24, 2021, it must adhere to the limits on that
authority established by Article 8.5 of the HR Manual. Article 8.5 of the HR Manual requires, in



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mandatory language, that “[t]o discipline an employee (per 8.2) the following steps shall be
followed:
       A.      Before any disciplinary action is taken a meeting shall be arranged with the
               employee and the designee of the employer to discuss the situation. The
               employee shall have the opportunity to present relevant information. Upon the
               agreement of both parties discussion may be continued to a mutually agreed time.
       B.      After the employer has issued discipline the employee may request a formal
               hearing by presenting said request not later than five (5) days after the receipt of
               the disciplinary notice. Said hearing shall be scheduled within thirty (30) days
               following a timely request by the employee.

               ....
       D.      Hearings for Presidential/Campus CEO Staff shall be held by a committee of
               three appointed by the Chairman of the Board of Regents or his/her designee.
               Such hearings shall not be governed by formal rules or procedures. The
               committee appointed by the Chairman of the Board or his/her designee shall make
               a good faith effort to be fair and impartial while eliciting relevant information on
               the matter in question.
       E.      In either a Presidential/Campus CEO or non-Presidential/non-Campus CEO
               hearing the hearings officers have ten (10) days from the conclusion of the
               hearing to notify the employee of his/her final and binding decision. Said
               decision(s) shall be without appeal.


(HR Manual, Article 8.5)(emphasis added).
        CSCU suspended Dr. Esposito on August 24, 2021 even though it never provided her
with any of the pre-disciplinary process required by Article 8.5(A) before taking that disciplinary
action against her.
        On August 27, 2021, Dr. Esposito submitted a timely request for a formal hearing
relating to her suspension in accordance with Article 8.5(B). Consequently, Article 8.5(B) and
Article 8.5(D) required that the Chairman of the Board of Regents appoint a committee of three
to preside over a formal hearing for Dr. Esposito’s appeal of her suspension within thirty (30)
days of August 27, 2021. Under Article 8.5(E) of the HR Manual, the three hearing officers
appointed by the Chairman of the Board of Regents were required to issue a final and binding
decision within ten days of the hearing.
        Since CSCU and the Board of Regents never scheduled a hearing on Dr. Esposito’s
appeal relating to her suspension, and the Chairman of the Board of Regents never appointed
three hearing officers to decide Dr. Esposito’s appeal from her suspension, and since no hearing
officers appointed by the Chairman of the Board of Regents issued a final decision upholding the
decision to suspend Dr. Esposito for cause within the deadlines established by Article 8.5, CSCU
and the Board of Regents are required to immediately reinstate Dr. Esposito to full and active
status as Campus CEO of Manchester Community College.



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        CSCU and the Board of Regents lack the authority to indefinitely suspend an employee
without due process. When CSCU suspends an employee under Article 8.4 and the employee
appeals that discipline under Article 8.5, CSCU cannot simultaneously maintain an employee on
an indefinite suspension and fail to provide the employee with an appeal within the deadlines
established by Article 8.5. In addition, when a Campus CEO submits a timely appeal from a
suspension under the HR Manual, CSCU and the Board of Regents must reinstate her unless a
committee of three appointed by the Chairman of the Board of Regents holds a hearing and
issues a decision denying the appeal and upholding the suspension within the deadlines
mandated by Article 8.5 of the HR Manual.
        Since CSCU’s suspension of Dr. Esposito was not upheld by a committee of three
appointed by the Chairman of the Board of Regents within the deadlines established by Article
8.5 of the HR Manual, CSCU and the Board of Regents must immediately end Dr. Esposito’s
suspension and reinstate her to full and active status as Campus CEO of Manchester Community
College. Potkay v. Ament, 34 F. Supp. 3d 937 (E.D. Wis. 2014)(granting temporary restraining
order and preliminary injunction in favor of employee where employer acted in bad faith and
mischaracterized a termination as a reduction in force in order to deprive plaintiff of her due
process rights).


                                    Very truly yours,


                                    /s/Todd Steigman




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               EXHIBIT 12




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                                        From: "Levinson, David" <DLevinson@commnet.edu>
                                        Date: October 7, 2020 at 12:52:41 PM EDT
                                        To: "Esposito, Nicole C" <NEsposito@mcc.commnet.edu>
                                        Subject: RE: Students First Plan


                                        Great!


                                        From: Esposito, Nicole C <NEsposito@mcc.commnet.edu>
                                        Sent: Wednesday, October 7, 2020 12:22 PM
                                        To: Levinson, David <DLevinson@commnet.edu>
                                        Subject: Re: Students First Plan

                                        Will do! Let me reach out to some of the CEO's and see ifwe can find a good day and time.

                                        Thank you again for the opportunity.

                                        Kindly,
                                        Nicole

                                        Nicole Esposito, Ed.D

                                        Chief Executive Officer
                                        Manchester Community College
                                        SSCL201
                                                                                                 z
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                                        Great Path, MS #01
                                        PO Box 1046
ESPOSITO - 11/10/21 RESPONSE - 000154




                                        Manchester, CT 06045-1046
                                        P: 860-512-31031 F: 860-512-3101

                                        Get Outlook for iOS


                                        From: Levinson, David <DLevinson@commnet.edu>
                                        Sent: Wednesday, October 7, 2020 12:18:18 PM
                                        To: Esposito, Nicole C <NEsposito@mcc.<:ommnet.edu>
                                        Subject: RE: Students First Plan

                                        Thanks, Nicole. That would be fine. Would you want to set it up? Please let me know some dates/times that would be
                                        convenient for all.

                                        Best,
                                        David


                                        From: Esposito, Nicole C <NEsposito@mcc.commnet.edu>
                                        Sent: Wednesday, October 7, 2020 12:17 PM
                                        To: Levinson, David <DLevinson@comrnnet.edu>
                                        Subject: Re: Students First Plan

                                        Dear David,

                                        I would appreciate your time. I think it would be helpful to have a preliminary meeting with a few of the CEO's in our
                                        region.

                                        Kindly,
                                        Nicole

                                        Nicole Esposito, Ed.D

                                        Chief Executive Officer
                                        Manchester Community College
                                        SSCL201
                                        Great Path, MS #01
                                                                                                     3
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                                        PO Box 1046
                                        Manchester, CT 06045-1046
ESPOSITO - 11/10/21 RESPONSE - 000155




                                        P: 860-512-3103 IF: 860-512-3101

                                        Get Outlook for iOS


                                        From: Levinson, David <DLevinson@commnet.edu>
                                        Sent: Wednesday, October 7, 2020 12:12:55 PM
                                        To: Esposito, Nicole C <NEsposito@mcc.commnet.edu>; Pritchard, Alice M <APritchard@commnet.edu>; Ojakian, Mark
                                        <M0iakian@commnet.edu>
                                        Cc: Ellis, Rose R <REllis@qvcc.commnet.ecJu>
                                        Subject: RE: Students First Plan

                                        Thanks, Nicole. I would welcome such an opportunity. I will be at your monthly meeting on Monday, providing an update of a
                                        new matters concerning Connecticut State Community College. Perhaps we can have a preliminary discussion at that
                                        time? However, I wantto be respectful of the agenda.
                                        Thus, I am copying Rose for her thoughts.

                                        Best,
                                        David

                                        David L. Levinson, Ph.D.
                                        Interim President
                                        Connecticut State Community College
                                        levinsond_@ct.edu




                                        I cscu I
                                        From: Esposito, Nicole C <NEsposito@mcc.commnet.edu>
                                        Sent: Wednesday, October 7, 2020 12:08 PM
                                        To: Pritchard, Alice M <APritchard@commnet.edu>; Levinson, David <DLevinson@commnet.edu>; Ojakian, Mark

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                                        <M0jakian@commnet.edu>
                                        Subject: Students First Plan
ESPOSITO - 11/10/21 RESPONSE - 000156




                                        Good Afternoon,

                                        I am reaching out to respectfully request an opportunity for the CEO's to be more routinely involved in the
                                        Students First planning. Personally, I am eager to be more directly involved and believe the CEO's can offer
                                        valuable input to keep us moving forward. As you know, the campus CEO's bring unique perspectives and
                                        valuable vantage points. I think several of us would like to be active participants and serve as change agents
                                        during this time. We can offer input regarding what is working well, where we can reduce cost, and what we
                                        are finding to be challenges. We can also offer solutions to ensure the Students First plan is as successful as
                                        possible.

                                        Our current financial position has created a unique opportunity for the CEO's to weigh in and be more
                                        helpful.

                                        Perhaps we can create a small CEO sub-group dedicated to Students First planning? This group can meet with
                                        you periodically, and directly, to provide our input and assistance.

                                        Thank you for your consideration. I do hope we can be more helpful.

                                        Kindly,
                                        Nicole



                                        Nicole Esposito, Ed.D

                                        Chief Executive Officer
                                        Manchester Conununity College
                                        SSCL201
                                        Great Path, MS #01
                                        PO Box 1046
                                        Manchester, CT 06045-1046
                                        P: 860-512-3103 IF: 860-512-3101

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               EXHIBIT 13




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   11.I                            I
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ESPOSITO - 11/10/21 RESPONSE - 000161                  Case 3:21-cv-01149-SRU Document 64-5 Filed 03/10/22 Page 162 of 177




                                        From: Dresdner, Lisa <LDresdner@nvcc.commnet.edu>
                                        Sent: Thursday, April 8, 2021 8:53 PM
                                        To: Pritchard, Alice M <APritchard@commnet.edu>
                                        Cc: Lombella, James P <JLombella@commnet.edu>; Buckley, Alison <ABuckley@commnet.edu>
                                        Subject: Re: Authority/Responsibility with Financial Aid

                                        Good evening, all --

                                        To be clear, I am quite capable of thinking on my own. I have the education, experience, and training to know how to
                                        ask critical questions. To imply otherwise, to suggest that I am "being fed" information that I would simply parrot, is
                                        highly insulting and, in fact, misogynistic.

                                        Am I genuinely concerned? Yes, and for the reasons I state in my e-mail.

                                        I look forward to finding a solution that protects the colleges as well as all the CEOs.
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                                        Lisa
ESPOSITO - 11/10/21 RESPONSE - 000162




                                        From: Pritchard, Alice M <APritchard@commnet.edu>
                                        Sent: Thursday, April 8, 2021 6:38 PM
                                        To: Lombella, James P <JLombella@commnet.edu>; Buckley, Alison <ABuckley@commnet.edu>; Dresdner, Lisa
                                        <LDresdner@nvcc.commnet.edu>
                                        Subject: RE: Authority/Responsibility with Financial Aid

                                        Looping in Rob too since he is dealing with this as well.

                                        Alice Pritchard, Ph.D.
                                        CT State Colleges and Universities (CSCU)
                                        Chief of Staff/COO
                                        61 Woodland Street
                                        Hartford, CT 06105
                                        860-723-0016
                                        pritcharda@ct.e<:lu
                                        www.ct.edu


                                        From: Lombella, James P <JLombella@commnet.edu>
                                        Sent: Thursday, April 8, 2021 5:21 PM
                                        To: Pritchard, Alice M <APritchard@commnet.edu>; Buckley, Alison <ABuckley@commnet.edu>
                                        Subject: FW: Authority/Responsibility with Finanial Aid

                                        Ok, I need your input and thoughts on this? See below ...
                                        (also just to clarify both Gennaro and I agreed that much of what NECHE is requiring us to do seems like the cart before the
                                        horse. Just wanted you to have the context around that statement below). I definitely know she is being fed this from
                                        somewhere. When we talked yesterday she seemed genuinely concerned as if someone just put a big scare in her. Just my
                                        observations. Is a letter even possible?

                                        James Lombella, Ed.D.
                                        Regional President
                                        North-West Region; Connecticut Community Colleges
                                        Connecticut State Colleges and Universities
                                        Phone: 860. 723.0625
                                        lombellal@.et:,_edu

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                                        lcsctil
ESPOSITO - 11/10/21 RESPONSE - 000163




                                        This email and any attached documents may contain confidential information. Such information is intended solely for the use of
                                        the individual(s) to whom this email was intended to be sent. Any printing, disclosure, reproduction, distribution of the
                                        information herein by other than the intended recipient(s) is strictly prohibited. Do not distribute this email without careful
                                        consideration. If you believe that you have received this email in error, please notify the sender by telephone at the number
                                        listed above. Any material that is not confidential may constitute a public record under the laws of the State of Connecticut.



                                        From: Dresdner, Lisa <LDresdner@nvcc.commnet.edu>
                                        Sent: Thursday, April 8, 20214:15 PM
                                        To: Lombella, James P <Jlombella@commnet.edu>
                                        Subject: Authority/Responsibility with Finanial Aid

                                        Dear Jim,

                                        Thank you for your time yesterday in talking through my concerns about signing the E-App update form that deals with Title IV
                                        Federal Funding. I also appreciate you getting Gennaro on the call to give me his perspective.

                                        I still have grave concerns about signing this document because it puts me in a highly vulnerable position. Signing it requires me
                                        to take full responsibility for all information in the document at the risk of a "fine of not more than $58,328 or imprisonment of
                                        not more than five years, or both, for misinformation that is material to receipt and stewardship of federal student financial aid
                                        funds." However, the new reporting structure removes my authority over NVCC's Financial Aid Services and places that authority
                                        with the Associate Vice President for Financial Aid Services and Title IV Compliance, Steve McDowell.

                                        I very much appreciate your belief in my authority with a dotted line and your genuine support of me. But dotted line
                                        management has been explained in our organization as primarily task-based or project management. The absolute authority
                                        goes hand-in-hand with the solid line. I think that this structure has been put into place without fully comprehending the
                                        consequences of the implementation, as even Gennaro agreed that it was a bit of the cart before the horse. Leaders of the
                                        individual colleges, in spite of our current independent accreditation, do not have the authority in this structure to execute--in
                                        this instance--their legally mandated responsibilities for the federal government.

                                        Additionally, I understand that we are to look at the Shared Services model as a third-party vendor that, with thirty days' notice,
                                        we could effectively "fire." Yet that is simply not feasible: unlike with an actual third-party vendor, we have no possibility of an
                                        alternative supplier or some method to directly take corrective action. If a shared service fails or disappoints, the only option we
                                        appear to have is to nag them. That doesn't seem like a good strategy given, in this case, the severity of the potential penalties.


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                                        Transitions certainly add difficulty, and that makes them a time for extra attention; yet we put ourselves in a critical time bind
                                        right at the start. The document was sent to me for signature on the doy it was due, April 6, but Steve McDowell I requested on
ESPOSITO - 11/10/21 RESPONSE - 000164




                                        February 8 that the Directors of Financial Aid make the required changes. With inadequate follow-up, the result was an
                                        extremely tight deadline for a signature, which does not indicate effective stewardship over the process nor give me, the
                                        apparent but not legitimate responsible party, reasonable time to approve it.

                                        I recognize the additional challenges faced in moving toward one college, one accreditation, and one OPEID number to ensure
                                        students in the Connecticut State Community College are eligible for Title IV funding. I trust that you know that I am completely
                                        dedicated to shepherding NVCC's movement in that direction. Insofar as my responsibilities, I am glad to project-manage this
                                        work, and to do the tracking, cajoling, and, if necessary, the nagging. But I don't feel safe signing a document without the
                                        commensurate authority. I would feel much safer if there were concrete evidence that the organization was committed to
                                        effective execution. One solution could be a letter from Steve McDowell, who has solid line authority, stating that he takes
                                        ultimate responsibility for ensuring proper compliance with what I will need to be signing now and until we are one college. In
                                        short, I want to be indemnified for signing the Title IV documents when I do not have solid line authority.

                                        Thank you for your understanding. I am hopeful that we can work out a reasonable solution.

                                        Al I the best,



                                         gda
                                        Lisa Dresdner, Ph.D.
                                        CEO, Naugatuck Valley Community College
                                        750 Chase Parkway
                                        Waterbury, CT 06708
                                        203-575-8004
                                        Ldresdner~nv.edu

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               EXHIBIT 14




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                                        From: Esposito, Nicole C <NEsposito@mcc.commnet.edu>
                                        Sent: Tuesday, April 6, 20214:48:59 PM
                                        To: Weaver, Ernestine Y <EWeaver@commnet.edu>
                                        Subject: Fwd: Financial Aid Documents

                                        Ernestine,
                                                                                               2
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                                        I want to notify our legal team about the concern I express below. The federal documents I am asked to sign indicate a very specific
ESPOSITO - 11/10/21 RESPONSE - 000168




                                        (and, frankly, concerning and scary) fine for any mismanagement of these federal dollars that are no longer (really) under my
                                        authority. It states that I would pay more than a 58k fme and spend up to 5 years in prison. However, all reporting lines in financial aid
                                        departments have moved and are now under direct authority of system office/one college staff. I am asking if legal has vetted this
                                        already(?), and if not, I hope the CEO's can be provided some reasonable legal protections (or explanation ofrisk) should anything
                                        present itself as problematic down the road.

                                        Thank you in advance for your assistance and clarification.

                                        Kindly,
                                        Nicole

                                        Nicole Esposito, Ed.D

                                        Chief Executive Officer
                                        Manchester Community College
                                        SSC L201
                                        Great Path, MS #01
                                        PO Box 1046
                                        Manchester, CT 06045-1046
                                        P: 860-512-3103 IF: 860-512-3101

                                        Get Outlook for iOS


                                        From: Esposito, Nicole C <NEsposito@mcc.commnet.edu>
                                        Sent: Tuesday, April 6, 2021 4:38 PM
                                        To: Steinmetz 111, Robert R; Gray, Jennifer L
                                        Subject: Re: Financial Aid Documents

                                        Hi Rob,
                                        Thanks for the response. I am familiar with other financial aid models that allow for an external "vendor" (for a lack of better words)
                                        to serve the campus. However, what we have here in CT seems a bit different. For example, if I find that something is not managed
                                        correctly etc ... would I have the authority to dissolve the contract with the vendor (currently our system office and one college
                                        staff)?My understanding is that in other outsourced models, the independently accredited college would have the ability to do so.
                                        However, in our structure, this would not be allowed. This seems to be a different model than what you are familiar with.

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                                        With that being said, I completely understand all of the benefits of having this managed centrally, and I know that colleges have had
                                        hiccups with financial aid (MCC included), but I am asking a broader legal question here. Specifically, if I am expected to still be
ESPOSITO - 11/10/21 RESPONSE - 000169




                                        signing these federal documents, but ultimately the reporting lines of all my financial aid staff report to those "above" me in the newly
                                        created leadership structure, then will I be held accountable/responsible for anything that could happen at that higher level? Are we
                                        able to confirm that Steve McDowell (VP of Financial Aid) would assume responsibility for his financial aid staff housed on my
                                        campus? Including any possibility of mismanagement or mistakes etc ... I know this is unlikely as he is helping to clean up the process,
                                        but I want to cover my bases here as this has some serious legal implications per the federal financial aid document language.

                                        Ifl am understanding you correctly, it sounds like the CEO's are still accountable for all federal financial aid money, functions, etc ...
                                        but will have no direct reports from financial aid departments? I know we have created "dotted communication lines" to the CEO's
                                        but, as you point out, this last correction for the PPA was never brought to my attention until just the other day. This is potentially a
                                        staff issue in financial aid and I was unaware that a correction needed to be made. I worry that if this was to occur again, but with the
                                        additional challenge of these individuals not reporting to me, it puts the CEO in a vulnerable position.

                                        As my direct supervisor, I ask that you provide me a written directive to sign these documents now that the department reporting lines
                                        have officially moved to the one college structure.

                                        To add, I think it would be very helpful to have a broad conversation with all CEO' s in our region (or perhaps statewide) rather than
                                        just with me. Others have very clearly expressed similar concerns/questions but we haven't received clarification yet. Perhaps I am
                                        just the first one to run into this since the reporting lines changed? Not sure ...

                                        Again, thanks for getting back to me and helping all of the CEO's navigate this sensitive, but important, issue.

                                        Best,
                                        Nicole

                                        Nicole Esposito, Ed.D

                                        Chief Executive Officer
                                        Manchester Community College
                                        SSCL201
                                        Great Path, MS #01
                                        PO Box 1046
                                        Manchester, CT 06045-1046
                                        P: 860-512-3103 IF: 860-512-3101

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                                        From: Steinmetz Ill, Robert R <RSteinmetz@commnet.edu>
ESPOSITO - 11/10/21 RESPONSE - 000170




                                        Sent: Tuesday, April 6, 2021 3:36 PM
                                        To: Esposito, Nicole C; Gray, Jennifer L
                                        Subject: RE: Financial Aid Documents

                                        Hi Nicole,

                                        Below are a few of my thoughts:
                                            While independently accredited, the CEO does remain ultimately responsible for Title IV at the college.
                                            As has been discussed, we should think of the CT State financial aid office as a third party providing the financial aid service to the campus.
                                                    There are many examples of this type of relationship occurring, including similar relationships in large college systems and third
                                                        party companies providing the service. My most recent example is QVCC using Financial Aid Services (FAS) to act as the college's
                                                        financial aid director. We are relying on FAS to appropriately manage all aspects of financial aid, and the campus CEO still has
                                                         ultimate responsibility and signs off on required documents.
                                            If you have concerns about the integrity, accuracy or compliance of CT State financial aid, I think we should call a meeting with appropriate
                                                parties to discuss these specific concerns.
                                            I have continued to receive examples where, in fact, campus-based financial aid offices have continued to have compliance issues and
                                                moving to a statewide approach would actually improve compliance with Title IV requirements.
                                                    The specific request that spurred your email is a great example. The update to the PPA should have been completed by the end of
                                                         February, before the reporting lines transitioned. I'm not sure why it did not happen, but we are now working on signing the PPA
                                                           past the required timeframe.
                                              Ultimately, failure to sign the documents will result in MCC losing eligibility to provide federal financial aid to students.

                                        If your concerns continue, I would suggest the next step is to have a meeting with Steve, Alison, David and Alice to discuss the matter and
                                        determine how to move forward.

                                        Please let me know if you'd like me to coordinate a conversation.

                                        Best,


                                        Rob



                                        Rob Steinmetz, Ed.D.
                                        Pronouns: he, him, his
                                        Regional President
                                        Capital-East Region
                                        Connecticut Community Colleges
                                                                                                                      5
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                                        Phone: 860-723-0624
                                        Email: steinmetzr(wct.edu
ESPOSITO - 11/10/21 RESPONSE - 000171




                                        rlml

                                        I cscu I
                                        From: Esposito, Nicole C <NEsposito@mcc.commnet.edu>
                                        Sent: Thursday, April 1, 202111:10 AM
                                        To: Steinmetz Ill, Robert R <RSteinmetz@commnet.edu>; Gray, Jennifer L <JGray@commnet.edu>
                                        Subject: Financial Aid Documents

                                        Rob and Jenn,
                                        Now that Financial Aid has moved into the one-college structure with only a communication line to MCC, I am growing more concerned about
                                        signing the federal financial aid documents that state "I can personally be fined up to $58,000 and sent to prison for up to 5 years" if this is
                                        mismanaged (intentionally or unintentionally) in some way. This is a difficult situation to be put in as the CEO of MCC, but I no longer have the
                                        control/authority over financial aid staff or department as this is reported and essentially now managed by that centralized team. Please
                                        understand that I am not attempting to be difficult here, but I really hope to avoid any possibility of being personally fined or spending time in
                                        prison. I have spent a lot of time conducting research in prison setting during my years of clinical work .... and I can assure you, it's not a pleasant
                                        place to spend your time .... lol

                                        Please provide me direction on this.

                                        -Nicole

                                        Nicole Esposito, Ed.D
                                        Chief Executive Officer
                                        She, her, hers

                                        Manchester Community College
                                        SSCL201
                                        Great Path, MS #01
                                        PO Box 1064
                                        Manchester, CT06045-1046
                                        P: 860-512-3103 IF: 860-512-3101
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             EXHIBIT 15




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Vig, Umesh Kunwar

From:                          Reyes-Dawes, Wanda I
Sent:                          Friday, August 6, 2021 9:37 AM
To:                            Vig, Umesh Kunwar; Pence, Michael P; Kleis, Kathryn M;
                               Leonard; Ariel, Tracy
Subject:                       Re: Strengths & Weaknesses



Thank you, Umesh.

From: Vig, Umesh Kunwar <UVig@mcc.commnet.edu>
Sent: Thursday, August 5, 2021 4:16 PM
To: Reyes-Dawes, Wanda I <WReyes-Dawes@mcc.commnet.edu>; Pence, Michael P <MPence@mcc.commnetedu>;
Kleis, Kathryn M <KKleis@mcc.commnet.edu>; Stafford, Carl <CStafford@mcc.commnet.edu>; Dupille Jr., Leonard
<LDupille@mcc.commnet.edu>; Ariel, Tracy <TAriel@mcc.commnet.edu>
Subject: Strengths & Weaknesses

Dear l\fike and Everyone,

Please see below some of my feedback regarding today's Interview with

      • ~ e s c r i b e d the community college as a learning-centered community committed
        to access, excellence and relevance. She emphasized that the mission of the community college
        is to provide affordable access to each individual desirous of advancing their academic and
        professional growth along with maintaining academic rigor. She referred to the fact that
        J'v!anchester Community College community has spent a lot of time on revising the institution's
        mission. -talked about her egalitarian philosophy while working with a diverse student
        body, which clearly resonates with the mission of Manchester Community College.
      • ~ a s a very calm demeanor, and she delivered a ve1y engaging presentation with .
        excellent presentation skills.
      • . . . . . h a s a very clear and comprehensive understanding of the role of a Program
        ~in a diverse setting and believes that diversity is orte of the biggest assets at
        l\1anchester Community College and that she herself represents diversity. She has an excellent
        understanding of the concept of diversity and inclusion in reference to the Americans with
        Disabilities Act (ADA) while working with the student population with physical and learning
        disabilities.
      • She handled some of the situational questions with great finesse and exhibited great courage,
        patience, comprehensive understanding of various rules, regulations and protocols as are
        appropriate in dealing with situations of conflict between faculty and students on a College
        Campus. . . .answered all the questions ve1y appropriately and exhibited a unique balance
        of extensive details and being succinct when needed.               ·
      • ~hibited that she is very current on the National Trends in regards to the pedagogy of
        the DARC Program and Counseling.
      • She talked extensively about the need for having strong Transfer Articulations with other
        institutions which will benefit our students.
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  In summary,~te1viewed extremely well and wa,; very articulate and able to respond '
  very effectively to follow-up or clarifying questions and addressed crucial issues relating to the Dil.RC
  Program and Counseling with great finesse. She was very relaxed, used humor appropriately, and
 demonstrated her ability to think on her feet and handled herself with great aplomb. She seems to
 have exceptional leadership skills, a great personality, a very calm demeanor and very effective
 comro_i.u:up!1;op and_piesi]11tiltion skills and would be an excellent role model for our students as well
 as the facuJty:she,would supervise as the Program Coordinator--"6as a very clear understanding
 o (the C?_ll~al culture which exists at l'vfanchester Community College and will serve to diversifj• the
 Facultyc at MCC. .                _

 I hope this helps or do you want me to add more                  @.
 Have a wonderful evening.

 Umesh

 K Umesh Vig
 Director ofS t11dent Affairs Operations
 Principal Designated School Ojftdal (PDSO)
 1\1anrbester Commtmi{y College
 Mail St&tion #9, Great P~th (Room SSC L 287)
 1vfanchester, CT 06045-1046
 Tel.· 860-512-3204 &Fax: 860-512-3201
 Email: UVigfij).manchestem:edu
 "I Think Therefore I An," Re/IC Descmtes

 From: Reyes-Dawes, Wanda I <WReyes-Dawes@mcc.commnet.edu>
 Sent: Thursday, August 5, 2021 3:31 PM
 To: Pence, Michael P <MPence@mcc.commnet.edu>; Kleis, Kathryn M <KKleis@mcc.commnet.edu>; Stafford, Carl
 <CStafford@mcc.commnet.edu>; Dupille Jr., Leonard <LDupille@mcc.commnet.edu>; Ariel, Tracy
 <TAriel@f'cc.comm~<predu>; Vig, Umesh Kunwar <UVig@mcc.commnet.edu>
 Subject: Re: Strengths & Weaknesses

Thank you, Michael.

From: Pence, Michael P <MPence@mcc.commnet.edu>
Sent: Thursday, August 5, 2021 3:19 PM
To: Kleis, Kathryn M <KKleis@mcc.commnet.edu>; Stafford, Carl <CStafford@mcc.commnet.edu>; Dupille Jr., Leonard
<LDupille@mcc.commnet.edu>; Ariel, Tracy <TAriel@mcc.commnet.edu>; Vig, Umesh Kunwar
<UVig@mcc.commnet.edu>; Reyes-Dawes, Wanda I <WReyes-Dawes@mcc.commnet.edu> .
Subject: Strengths & Weaknesses
                     •:;    _.-..,,
                     ;
Wanda sent me a fantastic list to get us started. I have edited and added a few and here is what we currently have
below . .,
Please feel free to make suggestions for additions and edits. I would like to send this off first thing tomorrow.
Thank you all again for your work and patience with this search.
Mike

         ESPOSITO -11/10/21 RESPONSE -000175                  2
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    DT - Strengt hs
     • Stated no discomfort level w ith diversity, ~ .hough not listing any specifics discussed the large cultural
       diversity he worke<;I with while counselling for the Prison s·ystem & Ex-offender population
     • •Would handle student complaint by getting both sides of the story from instructor and student


    DT Weaknesses
    ·•        Technology acumen; no online teaching experience and limited knowledge of platforms, i.e. only Zoom
     •        Did not really answer posed questions; rambled
     •         No formal presentation shared and started at 3:57 p.m. from the original starting time of 3:30 p.m. Didn't
              inform committ~e there was not a visual component to the teaching demo during the 25 minutes of
              attempting to fix screen sharing and audio issues
      •        Made cont radictory statements during presentation, frequent topie switches, lacked f_ocus, said at leasts
              times "but that is a topic for the future" for 5 different topics within a 15 minute presentation
         •     No assessment experience, per candidate
         •     During question about integrating diversity in classroom did not discuss classroom teaching at all and at one
               point used the phrase "Those people" to indicate a racial group
         •     No Certification (CIT} or atleast doesn't remember if he did the CIT or not; shared "he's an old person,
               doesn't know what he had for breakfast"
         •      Not a good fit for the requirements of the position


     NP - Str engths
         •     Presentation was a relevant topic, phenomenal, and engaging; would want to be one of her students
          o    Prim.u m Non Nocere - First, Do No Harm
          o    Peterson's 5 Ethical Principles
          o    Comfortable pace                                                                                                ..
          o    Grea't tone
         •    Questions answered professionally and succinctly
         •     Previous experience as DARC Program Coordinator
         •     Innovative ideas, i.e., textbooks costs, etc.
         •     Importance of building of relationships with other sister colleges and relevant agencies (had in the past and
              would like to continue}
                                    "'      \                 '                                        .
      •        1rnportance of internship experiences for ou r students that can potentially turn .into permanent job offers
     ·• ·      DARC Self-Study - reviewed and worked on ir:r,J?lementing recommendations
      •        Ethics at core of program and embedded throughout stud~nts' DARC program courses: Uses the CCB Code of
              Ethics, the professional standard here in CT, as the basis for all of these discussions and assignments.
         •     Empowerment Theory - Worked under Bobbi Fox and learned; encou rages others to be who they are as she
              serves as the navigator
         •     Diversity in Thought/Diversity in Action thought process
         •     Discussed importance of Cultural competency in DARC clinical practice and gave examples of how teaching
              this is integrated into the classroom and program
         •    Taught DARC Internship \.curse (Ex: had 11 students in class and all 11 were hired at internship sites)
         •    Passion for DARC students and their future opportunities exuded throughout interview.
         •    Great fit for the position requirements '


     NP Weaknesses
      • During two questions went off topic to discuss her ideas for programs and course changes. Even this was after
      the main points of the questiollJ)ad been addressed. (Yeah I know I'm reaching here.}
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                 /
     Michael Pence
     Assistant Professor of Chemistry
     Chair, Dept . of Physical Scie~ces


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